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                                                       Page 1                                                  Page 2
             IN THE UNITED STATES DISTRICT COURT                 1   APPEARANCES:
              FOR THE NORTHERN DISTRICT OF OHIO                  2
                  EASTERN DIVISION                               3    SKIKOS, CRAWFORD, SKIKOS & JOSEPH, LLP
                    - - -                                             BY: MARK G CRAWFORD, ESQUIRE
                                                                 4    BY: P DYLAN JENSEN, ESQUIRE
                                                                      One Sansome Street
         IN RE: NATIONAL                      : MDL NO. 2804     5    Suite 2830
         PRESCRIPTION OPIATE                       :                  San Francisco, California 94104
         LITIGATION                       :                      6    (415) 546-7300
                               :                                      mcrawford@skikos com
         ------------------------------------------------        7    djensen@skikos com
         THIS DOCUMENT RELATES TO : CASE NO.                          Representing the Plaintiffs
         ALL CASES                       : 1:17-MD-2804          8
                               :                                 9
                                                                      ROBBINS GELLER RUDMAN & DOWD LLP
                               : Hon. Dan A.                    10    BY: JULIE T HOUGH, ESQUIRE
                               : Polster                              655 West Broadway
                         - - -                                  11    Suite 1900
                       March 15, 2019                                 San Diego, California 92101
                         - - -                                  12    (619) 231-1058
            HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER                  Representing the Plaintiffs
                   CONFIDENTIALITY REVIEW                       13
                                                                14
                   Videotaped deposition of SCOTT D.                  BRANSTETTER, STRANCH & JENNINGS, PLLC
                                                                15    BY: BENJAMIN A GASTEL, ESQUIRE
         TOMSKY taken pursuant to notice, was held at the             223 Rosa L Parks Avenue Suite 200
         offices of Golkow Litigation Services, One             16    Nashville, Tennessee 37203
         Liberty Place, 51st Floor, 1650 Market Street,               (615) 254-8801
         Philadelphia, Pennsylvania, beginning at 9:31          17    beng@bsjfirm com
         a.m , on the above date, before Ann Marie                    Representing the Tennessee Plaintiffs
         Mitchell, a Federally Approved Certified Realtime      18
         Reporter, Registered Diplomate Reporter,               19
         Registered Merit Reporter and Notary Public.                 MORGAN, LEWIS & BOCKIUS LLP
                                                                20    BY: REBECCA J HILLYER, ESQUIRE
                                                                      1701 Market Street
                     - - -                                      21    Philadelphia, Pennsylvania 19103
                                                                      (215) 963-5000
               GOLKOW LITIGATION SERVICES                       22    rebecca hillyer@morganlewis com
             877.370.3377 ph | 917.591.5672 fax                       Representing Teva
                  deps@golkow.com                               23
                                                                24


                                                       Page 3                                                  Page 4
     1   APPEARANCES (cont.'d):                                  1    APPEARANCES VIA TELEPHONE/STREAM (cont.'d):
     2                                                           2
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    13
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    15                                                                  Corporation
                                                                13
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            BY: HEATHER A. HOSMER, ESQUIRE                      14
    17      601 Massachusetts Avenue, NW                                VIDEOGRAPHER:
            Washington, DC 20001                                15        WILLIAM GEIGERT
    18      (202) 942-5000                                      16      ALSO PRESENT:
            heather.hosmer@arnoldporter.com                               JOSEPH WILLS
    19      Representing Endo Health Solutions Inc.,            17        Precision Trial Services
            Endo Pharmaceuticals Inc., Par                      18
    20      Pharmaceutical, Inc. and Par Pharmaceutical         19
            Companies, Inc.                                     20                - - -
    21                                                          21
    22                                                          22
    23                                                          23
    24                                                          24


                                                                                          1 (Pages 1 to 4)
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                                                           Page 5                                                   Page 6
     1                  - - -                                        1   Teva-    Email dated 7/27/2017, 130
     2                  INDEX                                            Tomsky-5 Bates stamped
     3                  - - -                                        2         TEVA_MDL_A_09019329
     4                                                                         through
                                                                     3         TEVA_MDL_A_09019333 and
     5    Testimony of: SCOTT D. TOMSKY                                        TEVA_MDL_A_09019546
     6    By Mr. Crawford           11                               4         through
          By Ms. Hillyer           245, 284                                    TEVA_MDL_A_09019551
     7    By Mr. Gasteel           246                               5
     8                                                                   Teva-    Transmittal of         130
                         - - -                                       6   Tomsky-6 Advertisements and
     9                                                                         Promotional Labeling for
                      EXHIBITS                                       7         Drugs and Biologics for
    10                                                                         Human Use, Bates stamped
                         - - -                                       8         TEVA_MDL_A_04342838
                                                                               through
    11                                                               9         TEVA_MDL_A_04342849
    12     NO.          DESCRIPTION                 PAGE            10   Teva-    Approval Package for:      144
    13     Teva-   Scott Tomsky LinkedIn             18                  Tomsky-7 Application Number:
           Tomsky-1 Profile, 2 pages                                11         76-168, 171 pages
    14                                                              12   Teva-    Code of Federal         159
           Teva-    Teva Opioid Market Share 59                          Tomsky-8 Regulations Title 21,
    15     Tomsky-2 Calculation: All Opioids,                       13         Section 314 80, 6 pages
                 Bates stamped                                      14   Teva-    Code of Federal         159
    16           TEVA_MDL_A_00455086                                     Tomsky-9 Regulations Title 21,
                                                                    15         Section 314 81, 8 pages
                 through                                            16   Teva-    Code of Federal         159
    17           TEVA_MDL_A_00455094                                     Tomsky-10 Regulations Title 21,
    18     Teva-    Organization Charts, Bates 70                   17         Section 314 98, 4 pages
           Tomsky-3 stamped                                         18   Teva-    Letter dated December 6, 207
    19           TEVA_MDL_A_03486562                                     Tomsky-11 2005, 4 pages
                 through                                            19
    20           TEVA_MDL_A_03486593                                     Teva-    ANDA Approval and email     209
    21     Teva-    Email dated 10/28/2015,    102                  20   Tomsky-12 dated June 03, 2016, Bates
           Tomsky-4 Bates stamped                                              stamped
                                                                    21         TEVA_MDL_A_02922022
    22           TEVA_MDL_A_04344415, plus
                                                                               through
                 attachment, 50 pages                               22         TEVA_MDL_A_02922025
    23                                                              23
    24                                                              24


                                                           Page 7                                                   Page 8
     1   Teva-   Letter dated February 6,   213                      1   Teva-    Industry Meeting to       238
         Tomsky-13 2004, 2 pages                                         Tomsky-21 Discuss Opioid Analgesics
     2                                                               2         REMS, 7 pages
         Teva-    Letter dated June 25, 215
     3   Tomsky-14 2007, Bates stamped
                                                                     3   Teva-    Email chain, top one dated 240
               TEVA_MDL_A_10604467                                       Tomsky-22 1/9/2017, Bates stamped
     4         through                                               4         TEVA_MDL_A_09655240
               TEVA_MDL_A_10604633                                             through
     5                                                               5         TEVA_MDL_A_09655244
         Teva-    Supplement History    220                          6   Teva-    Email chain, top one dated 253
     6   Tomsky-15 Oxycodone Hydrochloride                               Tomsky-23 September 11, 2013, Bates
               Tablets USP, 5 mg, 15 mg                              7         stamped
     7         and 30 mg,
               TEVA_MDL_A_10602657
                                                                               TEVA_MDL_A_11584417
     8         through                                               8         through
               TEVA_MDL_A_10602670                                             TEVA_MDL_A_11584419
     9                                                               9
         Teva-    Periodic Adverse Drug       224                        Teva-    Email chain, top one dated 259
    10   Tomsky-16 Experience Report, ANDA:                         10   Tomsky-24 11/1/2013, Bates stamped
               076636,                                                         TEVA_MDL_A_03487762
    11         TEVA_MDL_A_11065997                                  11         through
               through
    12         TEVA_MDL_A_11066038
                                                                               TEVA_MDL_A_03487773
    13   Teva-    Letter dated 07/11/2013, 233                      12
         Tomsky-17 Bates stamped                                         Teva-    Email chain, top one dated 270
    14         Acquired_Actavis_00677901                            13   Tomsky-25 1/14/2014, Bates stamped
               through                                                         TEVA_MDL_A_10197053 and
    15         Acquired_Actavis_00677905                            14         TEVA_MDL_A_10197054
    16   Teva-    Letter dated August 17,    234                    15   Teva-    Email dated November 21, 274
         Tomsky-18 2011, Bates stamped                                   Tomsky-26 2017, Bates stamped
    17         TEVA_MDL_A_10662653
               through
                                                                    16         TEVA_MDL_A_11731225
    18         TEVA_MDL_A_10662655                                             through
    19   Teva-    Letter dated 11/17/2017, 235                      17         TEVA_MDL_A_11731228
         Tomsky-19 Bates stamped                                    18
    20         TEVA_MDL_A_08981645                                  19
               through                                              20
    21         TEVA_MDL_A_08981651                                  21
    22   Teva-    Letter dated 2014 12 29, 4 236                    22
         Tomsky-20 pages
    23                                                              23
    24                                                              24



                                                                                              2 (Pages 5 to 8)
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                                                 Page 9                                                 Page 10
     1               - - -                                     1           THE VIDEOGRAPHER: Good morning.
     2            DEPOSITION SUPPORT INDEX                     2      We are now on the record. My name is
     3               - - -                                     3      Bill Geigert. I'm a videographer for
     4
               Direction to Witness Not to Answer              4      Golkow Litigation Services. Today's date
     5                                                         5      is March 5, 2019 --
                       Line                                    6           MS. HILLYER: 15.
     6
                                                               7           THE VIDEOGRAPHER: Yeah, sorry.
     7
     8                                                         8      March 15, 2019, and the time is 9:31 a m.
     9        Request for Production of Documents              9           This video deposition is being
    10               Page Line                                10      held in Philadelphia, Pennsylvania, in
    11
                                                              11      the matter of National Prescription
    12
    13                                                        12      Opioid Litigation, for the United States
                      Stipulations                            13      District Court, Northern District of
    14                                                        14      Ohio, Eastern Division. The deponent is
                       Line                                   15      Scott Tomsky. Counsel will be noted on
    15
    16                                                        16      the stenographic record.
    17                                                        17           The court reporter is Ann Marie
    18                                                        18      Mitchell, and she will now swear in the
                     Question Marked                          19      witness.
    19
                       Line                                   20               - - -
    20                                                        21           SCOTT D. TOMSKY, after having
    21                                                        22      been duly sworn, was examined and
    22
                                                              23      testified as follows:
    23
    24                                                        24               - - -


                                               Page 11                                                  Page 12
     1                   - - -                                 1   answer so we're not talking over each other?
     2                  EXAMINATION                            2        A. Yes.
     3                   - - -                                 3        Q. And if you don't understand a
     4    BY MR. CRAWFORD:                                     4   question, please feel free to ask me to clarify.
     5          Q. Good morning.                               5        A. Yes.
     6          A. Good morning.                               6        Q. And you're welcome to take a
     7          Q. My name is Mark Crawford, I                 7   break. If you need to take one, just let me
     8    represent the plaintiffs in the opioid               8   know.
     9    litigation.                                          9        A. Okay.
    10              Can you please state your full            10        Q. Can you please give me your home
    11    name?                                               11   address?
    12          A. Scott David Tomsky.                        12        A. Sure.
    13          Q. And have you ever been deposed             13
    14    before?                                             14        Q. And who is your current employer?
    15          A. Yes.                                       15        A. Teva.
    16          Q. How many times?                            16        Q. What's the full name of your
    17          A. About a dozen.                             17   employer?
    18          Q. And so you know the rules pretty           18        A. Teva USA.
    19    much.                                               19        Q. Is it -- is that the legal name
    20              It's you're under oath. Correct?          20   of the company?
    21          A. Correct.                                   21        A. I'm not exactly sure or certain
    22          Q. And you know, because we have to           22   what the legal name of the company is.
    23    create a clean record, for me to finish my          23        Q. And what's your work address?
    24    question and I should wait for you to finish your   24        A. 425 Privet Road, Horsham,


                                                                                 3 (Pages 9 to 12)
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                                              Page 13                                                Page 14
     1    Pennsylvania.                                       1                  - - -
     2         Q. And did you have any meetings to            2              (A discussion off the record
     3    prepare for this deposition today?                  3         occurred.)
     4         A. Yes.                                        4                  - - -
     5         Q. And who did you meet with?                  5   BY MR. CRAWFORD:
     6         A. Teva counsel, Becca Hillyer.                6         Q. Did you have any other meetings
     7         Q. And was anyone else present?                7   with anybody about the deposition?
     8         A. There was another attorney. I               8         A. No. There may have been a phone
     9    don't remember her name.                            9   call, just asking me about my availability and
    10         Q. Was that at their offices here in          10   the fact that I'd be asked to be deposed.
    11    Philly?                                            11         Q. And did you review any documents
    12         A. Yes.                                       12   for this deposition?
    13         Q. And how long did the meet -- how           13         A. Yes.
    14    many meetings did you have?                        14         Q. About how many?
    15         A. Just one yesterday.                        15         A. I don't know. A couple dozen.
    16         Q. And how long?                              16         Q. And generally what were they?
    17         A. It was from 9:30 in the morning            17              MS. HILLYER: I'll just -- I
    18    until roughly 3:00, 3:30 in the afternoon.         18         don't want him to get into the details of
    19         Q. And that was yesterday, you said?          19         what they were. He can answer
    20         A. Correct.                                   20         categorically so that doesn't get into
    21              PHONE SPEAKER: I'm sorry to              21         the privilege.
    22    interrupt.                                         22   BY MR. CRAWFORD:
    23              Would it be possible to move the         23         Q. Go ahead.
    24    microphone closer to the witness, please?          24         A. Generally some emails, internal


                                              Page 15                                                Page 16
     1   reports and documents, presentations.                1        A. He is in charge of global
     2        Q. How about, did you review any                2   regulatory affairs.
     3   annual reports?                                      3        Q. And who is his employer?
     4        A. What kind of annual reports are              4        A. I'm not sure. I believe it's
     5   you asking?                                          5   Teva UK.
     6        Q. To the FDA about your drugs.                 6        Q. And is he based in the UK?
     7        A. No.                                          7        A. That's correct.
     8        Q. How about approval letters or                8        Q. And why are you reporting to
     9   approval packets?                                    9   somebody in the UK?
    10        A. Approval letters.                           10             MS. HILLYER: Objection, calls
    11        Q. And for which drugs?                        11        for speculation.
    12        A. The buprenorphine/naloxone,                 12             THE WITNESS: I don't know.
    13   primarily that product.                             13        That's my boss when I joined the company,
    14        Q. And how -- general in your                  14        and it's who I've been reporting to since
    15   department, what's your current position at Teva?   15        I joined.
    16        A. So I'm vice president of North              16   BY MR. CRAWFORD:
    17   American generic regulatory affairs.                17        Q. And he's -- he works for a
    18        Q. And what's the name of your                 18   different company than your company, though.
    19   department at Teva?                                 19             MS. HILLYER: Objection to form.
    20        A. Regulatory affairs.                         20   BY MR. CRAWFORD:
    21        Q. And who is your immediate                   21        Q. Is that correct?
    22   superior?                                           22        A. I believe so.
    23        A. Michael Banks.                              23        Q. You think it's Teva UK.
    24        Q. And what is his position?                   24             Is there a full name for -- of


                                                                             4 (Pages 13 to 16)
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                                              Page 17                                                 Page 18
     1    the company he works for?                           1   as far as maybe the past month, what have your
     2          A. I'm not certain.                           2   meetings been about with Ms. Fridriksdottir?
     3          Q. And who does Mr. Banks report to           3        A. Status of applications.
     4    right now?                                          4        Q. And do you have any
     5          A. He reports to the global head of           5   responsibility -- first of all, let's go back.
     6    research and development.                           6             Let's mark the first exhibit,
     7          Q. And who is that?                           7   which will be a LinkedIn profile.
     8          A. Her name is Hafrun. And her last           8                 - - -
     9    name is Fridriksdottir.                             9             (Deposition Exhibit No.
    10          Q. And where is Ms. Fridriksdottir           10        Teva-Tomsky-1, Scott Tomsky LinkedIn
    11    located?                                           11        Profile, 2 pages, was marked for
    12          A. In Parsippany, New Jersey.                12        identification.)
    13          Q. And who is her employer?                  13                 - - -
    14          A. I'm not certain.                          14   BY MR. CRAWFORD:
    15          Q. And do you have any opportunity           15        Q. We're going to flash the
    16    to interact with Ms. Fridriksdottir?               16   documents on the screen up here, and also I'll
    17          A. Yes.                                      17   provide you with a copy.
    18          Q. On a pretty regular basis, I mean         18        A. Okay.
    19    like at least once a week?                         19             MS. HILLYER: This is LinkedIn?
    20               MS. HILLYER: Objection to form.         20             MR. CRAWFORD: Yeah.
    21               THE WITNESS: Yes. Regularly,            21             MS. HILLYER: Doesn't look like
    22         once a week.                                  22        it.
    23    BY MR. CRAWFORD:                                   23             MR. CRAWFORD: I actually figured
    24          Q. And generally what comes to mind          24        out how to print a LinkedIn profile so it


                                              Page 19                                                 Page 20
     1         doesn't look like it's from a web page.        1         A. Yes.
     2         So you have to go to the little three          2         Q. And what is the base salary right
     3         dots next to the name, and that gives you      3   now?
     4         an option.                                     4         A. Roughly $315,000.
     5              MS. HILLYER: Good to know.                5         Q. And do you also get stock options
     6              MR. CRAWFORD: Much cleaner.               6   or bonuses, stock as bonuses?
     7    BY MR. CRAWFORD:                                    7         A. Occasionally, yes.
     8         Q. Does this look like generally               8         Q. And is there a cash type of bonus
     9    what's on your LinkedIn page?                       9   that you can get -- achieve?
    10         A. Generally, yes.                            10         A. Yes.
    11         Q. And did you prepare this?                  11         Q. And what is the basis for -- or
    12         A. Yes.                                       12   criteria the company uses to provide you with
    13         Q. All right. And this is your                13   stock or cash bonuses?
    14    current position here, July 2013 to the present,   14         A. It's based on individual
    15    Teva Pharmaceuticals, VP regulatory affairs,       15   performance, regulatory affairs group goals and
    16    generics, North America?                           16   key performance indices, as well as company
    17         A. Correct.                                   17   performance.
    18         Q. And is the rest of this                    18         Q. And generally what are the
    19    information, just scanning it, does that look      19   regulatory affairs goals that achieve or count
    20    accurate to you?                                   20   towards a bonus?
    21         A. Yes.                                       21         A. Generally, new submissions that
    22         Q. Let me ask you briefly about your          22   are being made to the FDA. The number of
    23    compensation, current compensation.                23   first-to-file submissions that are made to FDA
    24              Do you have a salary?                    24   and posted on the FDA website in a particular


                                                                              5 (Pages 17 to 20)
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                                              Page 21                                                  Page 22
     1   year. Approvals. Maintaining compliance with         1   of $100,000 of stock.
     2   FDA regulations with respect to filing of annual     2         Q. And that would be of Teva Limited
     3   reports. And as well as, you know, development       3   stock?
     4   of staff.                                            4         A. It is of Teva stock in the US,
     5         Q. And who conducts a review for you           5   whatever stock is on the stock exchange in the
     6   for this bonus?                                      6   US.
     7         A. My boss in the UK, Michael Banks.           7         Q. That would be Teva Pharmaceutical
     8         Q. And is there generally a                    8   Industries Limited?
     9   performance review that you receive, a written       9         A. I'm not certain of the legal
    10   one?                                                10   entity.
    11         A. Yes.                                       11         Q. Do you know who your parent
    12         Q. And just last year, what was your          12   company is, of your employer?
    13   bonus that you received, the last bonus you         13         A. I mean, I don't get into the
    14   received?                                           14   legal entities. There's so many type of legal
    15         A. Roughly the -- I guess the payout          15   entities, so I'm honestly not certain.
    16   before taxes was roughly $137,000.                  16         Q. Do you interface with any
    17         Q. And any stock?                             17   regulatory personnel in Israel for the company?
    18         A. Yes.                                       18         A. Yes, occasionally.
    19         Q. And how much was that?                     19         Q. And who is that?
    20         A. I honestly don't remember.                 20         A. It would be -- Osnat is her first
    21   Roughly -- I don't -- I'm not certain.              21   name.
    22         Q. Can you take a rough guess,                22         Q. How do you spell that?
    23   please?                                             23         A. O-S-N-A-T. Cohen is her last
    24         A. I believe somewhere in the range           24   name, C-O-H-E-N.


                                              Page 23                                                  Page 24
     1          Q. And what's her position?                   1         mean, I'll list everybody's name who I
     2          A. I believe she's a director in              2         worked in Israel with?
     3   regulatory affairs.                                  3   BY MR. CRAWFORD:
     4          Q. Is it for Israel or global or --           4         Q. Yes, please. That you've
     5          A. So she manages the regulatory              5   interfaced with.
     6   team that is in Israel. So any submissions           6         A. Everybody that I spoke to in
     7   coming out of Israel her team would work on. And     7   Israel.
     8   if it's a submission coming to the US, they would    8         Q. Right. Of any substance.
     9   coordinate documents for the US team for the         9             MS. HILLYER: Since 2013.
    10   filings.                                            10             MR. CRAWFORD: Yeah.
    11          Q. So what do you mean by a                  11   BY MR. CRAWFORD:
    12   submission from Israel? A drug that they want       12         Q. Maybe moving backwards, just who
    13   approved in the US?                                 13   you can remember.
    14          A. So any product that is being              14             MS. HILLYER: In regulatory? Do
    15   manufactured in Israel, if that product was going   15        you want to narrow it at all?
    16   to be submitted to the FDA, her team would manage   16             MR. CRAWFORD: Let's start with
    17   the documents and send them to my team here in      17         regulatory, yeah.
    18   the US.                                             18             THE WITNESS: So Sigal Molgan is
    19          Q. Is there anyone else in Israel            19         someone.
    20   you've interfaced with, you know, personally        20   BY MR. CRAWFORD:
    21   spoken with since you've arrived at the company     21         Q. How do you spell their name?
    22   that you can recall?                                22        A. S-I-G-A-L. I believe her last
    23               MS. HILLYER: Objection to form.         23   name is spelled M-O-L-G-A-N, but I'm not certain.
    24               THE WITNESS: Sure, I do. I              24         Q. What's her position?


                                                                              6 (Pages 21 to 24)
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     1          A. She is just a part of the                  1   names, but there would have been several members
     2    regulatory affairs team in Israel.                  2   of the regulatory affairs team there that would
     3          Q. And what were the discussions              3   have supported submissions in some way.
     4    about that you recall?                              4         Q. How about other departments in --
     5          A. Nothing of substance. It was               5   I don't mean just small chitchat, anyone that
     6    about products. So I can't specifically recall      6   you've had, you know, kind of, you know, more
     7    what product we spoke about, but...                 7   than a passing conversation, that you interfaced
     8          Q. Anyone else?                               8   with in Israel?
     9          A. Sure. Who else? Daniella                   9              MS. HILLYER: Objection to form.
    10    Gutman.                                            10              THE WITNESS: Yeah. I mean, I
    11          Q. And what's her position?                  11         can't -- any conversations with anybody
    12          A. She is in charge of research and          12         in Israel would have been related to
    13    development in Israel.                             13         product filings that were being prepared
    14          Q. And Gutman, how do you spell              14         for the US.
    15    that?                                              15   BY MR. CRAWFORD:
    16          A. G-U-T-M-A-N, I believe.                   16         Q. That helps. Thank you.
    17          Q. Do you recall the substance of            17              Okay. Prior to -- let me ask you
    18    those conversations?                               18   this: So at Teva, do you have any responsibility
    19          A. Again, they would have been               19   for opioid products currently?
    20    product related, about a product that they were    20         A. Can you clarify what you mean by
    21    working on for submission to the US.               21   responsibility?
    22          Q. Anyone else come to mind in               22         Q. Well, let's go back to this
    23    regulatory?                                        23   question.
    24          A. I'm having a hard time recalling          24              What -- can you generally


                                              Page 27                                                   Page 28
     1   describe your duties at Teva?                        1   those products. From a high level, that's what
     2         A. Sure. So the regulatory affairs             2   the regulatory affairs team does.
     3   team is the main liaison between FDA and the         3        Q. So basically, as far as
     4   company. So the regulatory affairs teams             4   interfacing directly with the FDA on issues, it's
     5   coordinate ANDA, my team in the generic space        5   primarily run through your department. Right?
     6   coordinates ANDA submissions to the FDA. So it       6             MS. HILLYER: Objection to form.
     7   collects documents from the manufacturing sites      7             THE WITNESS: So the regulatory
     8   where a product is to be manufactured. It puts       8        affairs team manages the approval process
     9   that information together into the ANDA format       9        for new ANDAs and then maintaining
    10   that FDA expects. It makes the submissions to       10        compliance in terms of submissions of
    11   the FDA and works with FDA. If FDA has any          11        annual reports and keeping those
    12   follow-up questions, the regulatory affairs team    12        submissions up to date.
    13   would receive that information from the FDA, it     13   BY MR. CRAWFORD:
    14   would coordinate a call with internal               14        Q. How about communications with the
    15   stakeholders who are responsible for that product   15   FDA? If the FDA wants to talk about a drug or
    16   and coordinate a response back to FDA.              16   some issue, is it your department that generally
    17              So it's getting products                 17   interfaces directly with them, or --
    18   approved. It's maintaining compliance of            18        A. It would depend.
    19   approved products in terms of filing annual         19        Q. Okay.
    20   reports each year. If there are any changes to      20        A. It would depend. If it was
    21   an application, any document that's been            21   related to an application we filed and a specific
    22   previously submitted to FDA, the regulatory         22   question about that application, it would be us.
    23   affairs team will coordinate the updates and make   23   But it could also be the quality team. If it was
    24   possibly supplemental submissions to the FDA for    24   related to a product complaint, it would go


                                                                              7 (Pages 25 to 28)
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                                               Page 29                                                  Page 30
     1   through the quality group. If it was related to      1         A. There is a group located in
     2   an adverse event, it would go through the            2   Horsham, Pennsylvania. There is a group located
     3   pharmacovigilance group.                             3   in Parsippany. And then there's also some
     4        Q. But any written submission to the            4   individuals in India as well.
     5   FDA generally runs through your department as far    5         Q. And then pharmacovigilance -- let
     6   as maybe final looking at it or approval or          6   me go back.
     7   signing it?                                          7             So regulatory operations, that's
     8        A. Not necessarily --                           8   currently.
     9             MS. HILLYER: Objection to form.            9             How about in the beginning when
    10             THE WITNESS: Sorry.                       10   you arrived, where was regulatory operations run
    11             MS. HILLYER: That's okay.                 11   out of?
    12             THE WITNESS: Not necessarily.             12         A. So I would say when I began at
    13        So, for example, for pharmacovigilance         13   Teva in July of 2013, the regulatory -- so
    14        activities, the pharmacovigilance team         14   regulatory operations was transitioning away from
    15        would prepare all reports. And then            15   the regulatory group and starting a shared
    16        before it goes to FDA, there is a              16   services group, how they are set up now.
    17        regulatory operations group, which is not      17         Q. And did that occur with the
    18        under my responsibility. And they simply       18   Actavis acquisition or prior?
    19        take the content from the                      19         A. No. That was prior to the
    20        pharmacovigilance team and submit it to        20   Actavis.
    21        FDA via the FDA electronic gateway.            21         Q. And then pharmacovigilance, where
    22   BY MR. CRAWFORD:                                    22   are those reports kind of managed or collected
    23        Q. Where is the regulatory                     23   up?
    24   operations group located?                           24             MS. HILLYER: Objection to form.


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     1             THE WITNESS: Yeah, I'm not sure.           1             But who else is involved from
     2         Can you clarify your question?                 2   pharmacovigilance outside of those two sites,
     3   BY MR. CRAWFORD:                                     3   there are several, but I'm not certain where they
     4         Q. So there's a pharmacovigilance              4   are all based.
     5   aspect to -- they have to collect -- your company    5        Q. Are any of them potentially
     6   has to collect the reports of adverse events.        6   overseas?
     7   Right?                                               7        A. Yes.
     8         A. Correct.                                    8        Q. And do you know where?
     9         Q. And report them to the FDA,                 9        A. I believe in Croatia and in
    10   potentially. Right?                                 10   Israel.
    11         A. Yes.                                       11        Q. What are their functions in
    12         Q. And so what departments are                12   Croatia and Israel, do you know?
    13   involved in pharmacovigilance and where are they    13             MS. HILLYER: Objection, calls
    14   located?                                            14        for speculation.
    15             MS. HILLYER: Objection to the             15             THE WITNESS: I'm not certain.
    16         extent it calls for speculation.              16   BY MR. CRAWFORD:
    17   BY MR. CRAWFORD:                                    17        Q. So as far as preparing or putting
    18         Q. Currently?                                 18   together an application for a generic drug, an
    19         A. The pharmacovigilance team is              19   ANDA, is your department involved in preparing or
    20   responsible for those activities. There are         20   drafting any sections or parts of that for the
    21   pharmacovigilance personnel. They were in the       21   FDA?
    22   Horsham site.                                       22        A. So can you repeat your question?
    23             Actually they've recently moved           23   Sorry.
    24   to the Parsippany, New Jersey site.                 24        Q. Yeah. Just -- your company



                                                                               8 (Pages 29 to 32)
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                                              Page 33                                                  Page 34
     1   prepares applications for generic drugs that are     1          and consistent from one part of the
     2   called ANDAs, abbreviated new drug applications.     2          application to the next.
     3   Correct?                                             3               And then certain sections of the
     4        A. Yes.                                         4          ANDA my team would draft.
     5        Q. And they're in writing,                      5   BY MR. CRAWFORD:
     6   presumably, and submitted to the FDA. Correct?       6          Q. And then for -- once a drug is
     7        A. Correct. Electronically.                     7   approved, a generic drug, the company is required
     8        Q. And there are written portions of            8   at certain points to submit the annual reports.
     9   it.                                                  9   Right?
    10             And I'm trying to find out if             10          A. Yes.
    11   your department is involved in preparing the        11          Q. And who prepares those annual
    12   written portions of the ANDA?                       12   reports? What's the process for putting one
    13        A. Yes.                                        13   together?
    14        Q. Does your department draft it or            14          A. Current process?
    15   review it or is it a multi-department function?     15          Q. Yeah.
    16             MS. HILLYER: Objection to form.           16          A. So current process is much of
    17             THE WITNESS: Yeah, it's a                 17   this activity has been moved overseas to India.
    18        combination. So my team works with the         18          Q. And is it -- what company does it
    19        R&D team, the research and development         19   in India?
    20        team that's working on that product.           20          A. I'm not certain of the legal
    21        Certain sections will come in drafted          21   entity name.
    22        from the R&D department. My team will          22          Q. Is it a Teva-related company or
    23        edit those documents to make sure that         23   is it a third-party company?
    24        the documents flow and are easy to read        24          A. It's Teva.


                                              Page 35                                                  Page 36
     1         Q. So that department or -- in                 1   in India or --
     2   India, they're putting together the annual           2        A. Yes.
     3   reports from various departments that are needed     3        Q. Okay. So who's the person in
     4   to provide content for it. Right?                    4   India that's responsible for that?
     5         A. Yes.                                        5        A. Her name is Ulka, U-L-K-A. I
     6         Q. Okay. And then once that annual             6   believe her last name is Chorge, C-H-O-R-G-E.
     7   report is prepared, do they send a copy -- and it    7        Q. And is she actually located in
     8   has to be submitted in the US, do they send a        8   Mumbai?
     9   copy to your department?                             9        A. Yes.
    10         A. Occasionally, yes. If they have            10        Q. And do you know what company she
    11   any questions. But for anything that's              11   works for?
    12   straightforward and they don't have any             12        A. I'm not certain of the legal
    13   questions, then it would just be sent to the        13   entity.
    14   regulatory operations team to be submitted to the   14        Q. So the annual reports she
    15   FDA.                                                15   prepares, are those ultimately reviewed by Ms.
    16         Q. Is there a person now in charge            16   Pastore or her team before they're submitted or
    17   of annual reports being submitted to the FDA for    17   can they be submitted direct?
    18   US-approved generic drugs?                          18        A. So no, again, it wouldn't be Jill
    19         A. Yes.                                       19   who would review them. If there were any
    20         Q. And who is that?                           20   questions specific to an annual report that the
    21         A. Jill Pastore.                              21   team in Mumbai was working on, they would go to
    22         Q. And she is in your location?               22   the US regulatory person who was assigned that
    23         A. Yes.                                       23   project for questions.
    24         Q. And does she oversee the people            24             But they can be submitted


                                                                              9 (Pages 33 to 36)
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                                                Page 37                                                 Page 38
      1   directly if there are no questions.                  1         Q. And that's generally the name
      2        Q. And the generic drug labels, the             2   brand drug. Right?
      3   package insert, is it your understanding that        3         A. Yes.
      4   they generally have to be the same or                4         Q. But if it's withdrawn, it can be
      5   substantively the same as the name-brand labels?     5   another generic that the FDA designates. Right?
      6        A. Yes.                                         6         A. That's correct.
      7        Q. And if there's a change to the               7         Q. Go ahead.
      8   name-brand label, is it your understanding that      8         A. So they'll monitor the FDA
      9   your company needs to change the generic label to    9   website for any products that we have approved
     10   substantively match the name-brand drug label?      10   and even pending which are under review at FDA,
     11        A. Yes.                                        11   to ensure that the labeling is kept up to date.
     12        Q. And is there a process right now            12   And they'll make the changes and revisions to our
     13   to monitor those changes and to update the          13   label. And then they would make a -- if it's an
     14   generic labels for submission to the FDA?           14   approved product, they would make a CBE
     15        A. Yes.                                        15   supplement submission to the FDA. And if it's a
     16        Q. And can you explain that process            16   pending product, they would prepare the label and
     17   now?                                                17   work with the regulatory associate who's
     18        A. Yes. So the labeling team is a              18   responsible for that product to coordinate the
     19   part of my responsibility. They're currently        19   submission to the FDA for that pending product.
     20   based in North Wales, Pennsylvania and              20         Q. Right. And by CBE, you mean
     21   Parsippany, New Jersey. But they monitor the        21   changes being effected, meaning that you could do
     22   FDA's website for any RLD updates to labels.        22   it automatically without FDA preapproval. Right?
     23        Q. RLD being reference listed drug?            23         A. That's correct.
     24        A. Yes.                                        24         Q. Generally is there a target


                                                Page 39                                                 Page 40
      1   turnaround time between the RLD change and when      1          A. I believe so. I'm not certain if
      2   you would like to have the Teva change to the        2   it's a standard operating procedure or a work
      3   generic label to the FDA?                            3   instruction.
      4         A. It varies. So it's really                   4          Q. But it is in writing?
      5   dependent on the types of changes that are made      5          A. Yes.
      6   for the RLD product. If it's safety or labeling      6          Q. Have you seen that before?
      7   changes, we try to do those more quickly in          7          A. Yes.
      8   accordance with a procedure. But if it's             8          Q. This process for updating the
      9   administrative changes, then, you know, those        9   label when the RLD does, has that always been
     10   would take a little bit longer and less priority.   10   that way since you got there? And if not, what
     11         Q. If it's safety, what -- is there           11   was it before?
     12   a target time that you have for that?               12          A. I'm sorry, can you repeat your
     13         A. To turn it around within 30 days.          13   question?
     14         Q. And is there a standard operating          14          Q. Yeah.
     15   procedure or guideline, written one, the company    15              So there's a process for updating
     16   has on that process?                                16   your label if there's a change by the brand or
     17         A. I believe so, yes.                         17   the RLD. And you just described it.
     18         Q. Is there a standard operating              18              Has that process changed over the
     19   procedure written guideline for preparing annual    19   time since you've been there, and if so, how has
     20   reports on those generic drugs?                     20   it?
     21         A. There would be a work                      21          A. It may have. I'm not certain.
     22   instruction, I believe.                             22   When I first joined the company, labeling wasn't
     23         Q. Is that what it's officially               23   part of my team's responsibility. And it became
     24   called in the company, a work instruction?          24   part of my team's responsibility with the Actavis


                                                                             10 (Pages 37 to 40)
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                                               Page 41                                                       Page 42
      1   acquisition. So I'm not certain if it's changed      1   patients and dispensed by legal pharmacists.
      2   since that time or not.                              2         Q. And the REMS process was a
      3         Q. So that responsibility landed               3   process that was codified back in 2007 by
      4   with your department in about 2016 or '17?           4   Congress. Right?
      5         A. Roughly, yes.                               5         A. That's correct.
      6         Q. Because Actavis was acquired --             6         Q. And it gave the FDA authority to
      7   the generic Actavis company was acquired in 2016     7   require a plan of some sort for -- for supporting
      8   by Teva. Right?                                      8   the safety of the drugs on the market. Right?
      9         A. That's correct.                             9         A. To ensure that the benefits of
     10         Q. And you're not sure what the               10   the drug still outweigh the risks. And that the
     11   process was before it arrived at your department?   11   drugs that have been approved by FDA are still,
     12         A. No, I'm not certain.                       12   you know, prescribed and used as directed and as
     13         Q. What about -- you're familiar              13   according to the approved labeling by the FDA.
     14   with the term "REMS." Right?                        14         Q. And currently there are REMS in
     15         A. Yes.                                       15   place for opioid products, at least some opioid
     16         Q. What does that stand for?                  16   products manufactured and distributed by Teva.
     17         A. Risk evaluation and mitigation             17   Right?
     18   strategies.                                         18         A. There's REMS in place for several
     19         Q. Can you briefly describe what a            19   different kinds of products, but opioids being
     20   REMS is?                                            20   one, yes.
     21         A. Sure. So REMS are put in place             21         Q. Is part of the REMS process is
     22   to ensure that the benefits of the drug still       22   for those opioids, if you know, deal with kind of
     23   outweigh the risk when used -- when they're         23   educating doctors about the proper use and risks
     24   prescribed by doctors, when they're used by         24   associated with those opioid products?


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      1         A. I'm not certain of the specifics            1   past several years. The coordination efforts
      2   of the opioid REMS. I mean, I haven't been           2   between FDA and many of the manufacturers who are
      3   closely involved in that process.                    3   involved in these REMS has really impacted
      4         Q. Have you reviewed them before?              4   approval times. So in order to better align and
      5         A. I have not reviewed it.                     5   ensure communications within the regulatory team
      6         Q. What department is responsible              6   and the REMS team, it was moved to regulatory
      7   for making sure Teva's obligations under those       7   affairs.
      8   plans are --                                         8        Q.     And that's your department.
      9         A. So there's a REMS --                        9   Right?
     10         Q. Go ahead.                                  10        A.     That's correct.
     11         A. Sorry. So there is a REMS group.           11        Q.     And explain to me how it was a
     12   It's actually -- it was actually a part of the      12   roadblock to regulatory approval, the REMS.
     13   commercial organization until October of 2018, of   13        A.     Generally speaking --
     14   which time it moved to my responsibility.           14              MS. HILLYER: I'm sorry.
     15         Q. So "commercial," you mean the              15        Objection to form.
     16   marketing department?                               16              Go ahead.
     17         A. That's correct. Sales and                  17              THE WITNESS: Generally speaking,
     18   marketing.                                          18        these REMS require coordination between
     19         Q. And why was it moved to your               19        the brand company and a generic, and
     20   department in October of 2018?                      20        sometimes several generic companies. And
     21         A. Because I think it's pretty well           21        just negotiating that single shared REMS
     22   known that a single shared REMS, which we're        22        has taken, you know, months, very long,
     23   talking about here, has been -- become a -- kind    23        longer to -- which -- longer to occur and
     24   of a roadblock to regulatory approvals within the   24        happen than a typical goal date which the



                                                                                11 (Pages 41 to 44)
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                                                         Page 45                                              Page 46
      1        FDA assigns to an application. So if                 1   FDA gives to you and says, follow this directly.
      2        it's taking the REMS process an extremely            2              It's something that you prepare
      3        long time, if a goal date when FDA plans             3   to submit that the FDA will approve and is
      4        to take an action on an application comes            4   acceptable to them. Right?
      5        up, the FDA will issue a deficiency                  5              MS. HILLYER: Objection to form.
      6        letter because the REMS is not yet                   6              THE WITNESS: So it's something
      7        approved.                                            7         that a generic applicant would have to
      8   BY MR. CRAWFORD:                                          8         work with the reference listed drug
      9        Q.      So it was the interfacing with               9         holder and any other manufacturers.
     10   the other manufacturers to get an acceptable REMS        10   BY MR. CRAWFORD:
     11   that you could submit to the FDA that was holding        11         Q. And so the delay was really when
     12   things up?                                               12   you submitted -- there is a deadline, right, from
     13        A.      That's part of it. It's also                13   the time that the application for the generic
     14   coordination from FDA and within FDA of the REMS         14   drug is submitted that the FDA is to take some
     15   group at FDA and then the reviewing groups in the        15   kind of action, either approving it or not
     16   Office of Generic Drugs.                                 16   approving it. Right?
     17        Q.      So when you get approval of a               17         A. That's correct.
     18   generic drug that has to have a REMS, a risk             18         Q. If one of the conditions of
     19   evaluation and mitigation strategy, you have to          19   approval was having an acceptable REMS, and you
     20   submit with your approval package a version of it        20   didn't submit that, they would -- they would --
     21   that -- if it's a class-wide REMS, that's -- that        21   that deadline would come and they would just
     22   is consistent with the class-wide REMS. Right?           22   simply not approve it and say it was deficient
     23        A.      That's correct.                             23   because it didn't have a REMS.
     24        Q.      But it's not something that the             24              Is that the concern?


                                                         Page 47                                              Page 48
      1         A. Not necessarily that it wasn't                   1         other manufacturers to have agreements in
      2   submitted. It could be that it was submitted but          2         place establishing the single shared
      3   FDA still hasn't had an opportunity to complete           3         REMS. So it's working with not only the
      4   its review of it, or FDA may have further changes         4         companies, it's working with vendors to
      5   that it would like to it. So it could be a                5         ensure that all the elements of the REMS
      6   number of variables.                                      6         are in place.
      7         Q. Got it. Okay. Thank you.                         7   BY MR. CRAWFORD:
      8             So before the function was moved                8         Q. Okay. But the company either --
      9   to regulatory in October 2018 and it was in the           9   I mean, somehow the company has obligations, but
     10   hands of the commercial department or marketing          10   they're coordinating with other companies to
     11   department, what was the process for assuring            11   fulfill them. Right?
     12   adherence to the REMS, do you know?                      12         A. That's correct.
     13             MS. HILLYER: Objection to form.                13         Q. And I'm just asking what was the
     14             THE WITNESS: I'm not clear of                  14   process prior to coming to you within the
     15         your question.                                     15   commercial or marketing department to make sure
     16   BY MR. CRAWFORD:                                         16   Teva's obligations in coordination with the other
     17         Q. Okay. So what did that -- part                  17   manufacturers were being complied with?
     18   of the department's function currently with              18              MS. HILLYER: Objection to form.
     19   regard to the REMS is to make sure that the              19              THE WITNESS: So again, prior to
     20   company's compliant with the REMS provisions.            20         it coming to my organization, I'm not
     21   Right?                                                   21         entirely clear what the processes were.
     22             MS. HILLYER: Objection to form.                22         My team would just work with the REMS
     23             THE WITNESS: So no. The REMS                   23         associate that was responsible for a
     24         team's responsibility is to work with the          24         product to make sure that we had the


                                                                                  12 (Pages 45 to 48)
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                                                   Page 49                                             Page 50
      1        proper documents in our application.           1        Q. All right. And Kishore is
      2   BY MR. CRAWFORD:                                    2   K-I-S-H-O-R-E?
      3        Q.    So who was in charge with the            3        A. That's correct.
      4   commercial or marketing department over the REMS    4        Q. So he's head of the REMS team for
      5   programs prior to coming to your department? Is     5   the opioid REMS?
      6   there a person or individual who kind of was in     6        A. He's head of the REMS team for
      7   charge?                                             7   all REMS.
      8        A.    So you're asking who the REMS            8        Q. And how long has he been in that
      9   team reported to, which person?                     9   position, do you know?
     10        Q.    Who was head of the REMS team           10        A. I'm not certain how many years.
     11   back then?                                         11        Q. At least since you've been there?
     12        A.    It's the same person who's head         12        A. Yes.
     13   of the REMS team now, his name is Kishore          13        Q. And who does he report to now?
     14   Durgen -- sorry, Kishore Gopu.                     14        A. He reports to me.
     15        Q.    How do you spell that?                  15        Q. And who did he report to prior to
     16        A.    G-O-P-U is his last name.               16   you?
     17        Q.    Is he based in Mumbai?                  17        A. Tim McFadden.
     18        A.    No.                                     18        Q. And where is Mr. McFadden
     19        Q.    Where is he?                            19   located?
     20        A.    He's in Parsippany.                     20        A. Parsippany.
     21        Q.    Does he work -- do you know who         21        Q. And what is his position?
     22   he works for?                                      22        A. I'm not sure what his title is.
     23        A.    He works for Teva. I'm not sure         23        Q. But he's with the commercial or
     24   of the legal entity name.                          24   marketing department?


                                                   Page 51                                             Page 52
      1         A. Yes.                                       1   the data from these third-party vendors who
      2         Q. And so now you're really                   2   manage the REMS components and we would -- and
      3   responsible at least ultimately for the REMS        3   actually, they put together even the reports and
      4   compliance. Right?                                  4   send it to each of the companies participating in
      5              MS. HILLYER: Objection to form.          5   that REMS. And then my team would put a cover
      6              THE WITNESS: So not for REMS             6   letter on it and make that submission to the FDA.
      7         compliance. I'm responsible for ensuring      7         Q. And what are these companies?
      8         that the components of the REMS and           8   What --
      9         what's required to be submitted to the        9              MS. HILLYER: Objection to form.
     10         FDA has been submitted to the FDA. But       10   BY MR. CRAWFORD:
     11         maintaining compliance, again, these REMS    11         Q. Can you identify them?
     12         programs are quite complicated, they're      12         A. I'm sorry, can you repeat your
     13         managed by third parties outside of Teva.    13   question?
     14         So they're the ones who would track and      14         Q. What are the third-party vendors
     15         do any of the, you know, compliance          15   who are doing this REMS function for you?
     16         checks. But we would coordinate the data     16         A. I mean, I believe UBC is one.
     17         from those companies and then submit         17   McKesson is another.
     18         regular reports to FDA about that            18         Q. McKesson?
     19         compliance.                                  19         A. Yes.
     20   BY MR. CRAWFORD:                                   20         Q. Okay.
     21         Q. So your department is responsible         21         A. But I'm not certain of any of the
     22   for the regular -- any regular reporting           22   other names.
     23   requirements under REMS to the FDA?                23         Q. So your department, if there's a
     24         A. So again, yes. We would collect           24   regular reporting requirement under the REMS,



                                                                            13 (Pages 49 to 52)
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                                               Page 53                                                 Page 54
      1   that comes through your department ultimately       1         A. It was in Philadelphia.
      2   then and now?                                       2         Q. At Golkow or where?
      3         A. So again, it wouldn't come from            3         A. No. Traurig. I don't remember
      4   my department.                                      4   the firm name, actually.
      5         Q. Through.                                   5         Q. Was it the questioning attorney's
      6         A. My department -- right. My                 6   firm?
      7   department would receive the reports from these     7         A. I believe -- no, I believe it was
      8   vendors and make the submissions to the FDA.        8   a Teva firm.
      9         Q. Have you ever been deposed in an           9         Q. Do you remember the name of the
     10   opioid-related case?                               10   lawyer who took the deposition?
     11         A. I mean, I've been deposed on              11         A. No, I do not.
     12   products that were of the subclass of opioids.     12         Q. Any other opioid cases or
     13         Q. And can you generally tell me             13   opioid-related cases that you were deposed in?
     14   what those cases were? I mean, who was the         14         A. None that come to mind.
     15   plaintiff and, you know, what were they about?     15         Q. Going back to Exhibit 1, which is
     16         A. I mean, the plaintiff was a               16   your LinkedIn page, you write in the summary,
     17   patient who allegedly took an opioid product and   17   "aggressively identifying opportunities," "proven
     18   had an event.                                      18   record."
     19         Q. And where was that case based out         19             What is that? What opportunities
     20   of? Do you know what court or state?               20   are you referring to?
     21         A. I'm not certain.                          21         A. I think it's talking about
     22         Q. And when was that deposition?             22   regulatory strategy.
     23         A. Last week, actually.                      23         Q. What kind of strategies?
     24         Q. And where was that deposition?            24         A. When to make a submission, what


                                               Page 55                                                 Page 56
      1   should be included in the application, things       1   responsibilities in that position?
      2   like that.                                          2         A. Similar to my current
      3         Q. Okay. And then it says, "proven            3   responsibilities now. Again, it was overseeing
      4   record of...driving profitable growth."             4   the regulatory -- US generics regulatory affairs
      5              What do you do that drives               5   team and the Canadian regulatory affairs team for
      6   profitable growth?                                  6   submissions to the FDA and as well as maintaining
      7         A. It's just trying to find                   7   compliance in terms of filing annual reports and
      8   efficiencies in the work that we're doing. It's     8   post-approval change supplements to the FDA.
      9   utilizing, you know, teams such as a team in        9         Q. And does Ranbaxy manufacture,
     10   India to help with more administrative tasks in    10   sell or distribute any opioid products?
     11   terms of data entry and things like that,          11         A. Ranbaxy's no longer in business.
     12   lowering cost bases in the US.                     12   They were bought by Sun Pharmaceuticals. So I
     13         Q. And going down, you worked --             13   believe when I was there they had some opioid
     14   prior to Teva, you joined -- you were with         14   products, but I'm not certain if they still have
     15   Ranbaxy. Right?                                    15   them or not.
     16         A. Yes.                                      16         Q. What were those opioid products,
     17         Q. And Ranbaxy manufactures generic          17   if you recall?
     18   drugs, too?                                        18         A. I believe it was oxycodone as
     19         A. Yes, they did.                            19   well. I'm not certain of any others.
     20         Q. And your position was a vice              20         Q. Did you have any responsibilities
     21   president, regulatory affairs, North America.      21   with regard to that product, either submitting
     22   Correct?                                           22   for approval or regular filings?
     23         A. Yes.                                      23         A. Again, the team that I'm
     24         Q. And what was your                         24   responsible for would have managed those filings


                                                                            14 (Pages 53 to 56)
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                                                         Page 57                                             Page 58
      1   and submissions to the FDA.                               1   sell or distribute opioid products?
      2        Q. And when were they bought out by                  2         A. No. McNeil Consumer Healthcare
      3   Sun?                                                      3   is the over-the-counter division of Johnson &
      4        A. I'd say roughly 2015.                             4   Johnson.
      5        Q. And you left in June of 2013.                     5         Q. And before that, you were with
      6             Why did you leave for Teva?                     6   Ranbaxy again as director of regulatory.
      7        A. It was really a growth                            7   Correct?
      8   opportunity for my career.                                8         A. Yes.
      9        Q. And were you recruited by Teva?                   9         Q. Any responsibility during this
     10        A. A headhunter had called me.                      10   period for opioid products?
     11        Q. Do you have any plans of leaving                 11         A. I'm not certain when those
     12   Teva right now?                                          12   submissions were done. It's possible.
     13        A. No.                                              13         Q. And your background, educational
     14        Q. And then it looks like you were                  14   background, is you went to Temple.
     15   senior director of regulatory at Ranbaxy from            15              Is MS a master's of science,
     16   December of '09 to February 2011. Correct?               16   QA/RA?
     17        A. Yes.                                             17         A. Yes, that's correct.
     18        Q. And before that, you were with                   18         Q. So you actually had a three-year
     19   McNeil Consumer Healthcare. Right?                       19   stint in quality assurance/regulatory affairs as
     20        A. Yes.                                             20   your educational background. Right?
     21        Q. Is that a J&J-related company?                   21         A. So the program at Temple is a
     22        A. Yes.                                             22   master's of science in quality and regulatory
     23        Q. And did you have -- did they,                    23   affairs.
     24   McNeil Consumer Healthcare, manufacture, market,         24         Q. And then your bachelor's degree


                                                         Page 59                                             Page 60
      1   was bio and chemistry. Correct?                           1   the documents that I saw yesterday.
      2        A.    Yes.                                           2        Q. And are you able to -- have you
      3        Q.    Let's go back to a question, now               3   ever seen one before yesterday?
      4   that I have a better understanding of the                 4        A. No.
      5   structure of your department.                             5        Q. Are you able to or have you ever
      6             You know, certainly -- well, let                6   had occasion where you wanted to see a listing of
      7   me -- let's do 306. We'll mark the next exhibit.          7   products in a certain class, say, opioids, and
      8                  - - -                                      8   have a list run for you of those products?
      9             (Deposition Exhibit No.                         9        A. No.
     10        Teva-Tomsky-2, Teva Opioid Market Share             10        Q. And then you see here a list of
     11        Calculation: All Opioids, Bates stamped             11   various products, some being brand products.
     12        TEVA_MDL_A_00455086 through                         12   Right? Actiq and Fentora are brand products of
     13        TEVA_MDL_A_00455094, was marked for                 13   Teva. Right?
     14        identification.)                                    14        A. Yes.
     15                  - - -                                     15        Q. And then the rest would be
     16   BY MR. CRAWFORD:                                         16   generic products on this list. Correct?
     17        Q.    So we've marked what is here                  17             MS. HILLYER: You want him to
     18   TEVA_MDL_A_00455086, which is some charts. The           18        look through the list on what page?
     19   first page, "Teva Opioid Market Share                    19   BY MR. CRAWFORD:
     20   Calculation: All Opioids," and then it goes on           20        Q. If you recall or if you want to
     21   to list opioid products on the following pages.          21   take some time and look, you're welcome to.
     22             Have you ever seen a chart like                22             MS. HILLYER: I'm just going to
     23   this before?                                             23        object to lack of foundation. He
     24        A.    I believe this is probably one of             24        testified he has no foundation for this


                                                                                  15 (Pages 57 to 60)
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                                               Page 61                                                   Page 62
      1        document.                                       1        I'm not sure what that is.
      2             MR. CRAWFORD: Other than you saw           2   BY MR. CRAWFORD:
      3        it yesterday, so...                             3        Q. Well, I'll just focus on actually
      4             MS. HILLYER: But he's never seen           4   what are in the -- listed in the chart starting
      5        it before.                                      5   at page 3 of the document.
      6             MR. CRAWFORD: He did yesterday.            6        A. Page 3 appear to be generic names
      7   BY MR. CRAWFORD:                                     7   other than Actiq.
      8        Q. You did yesterday. Right?                    8        Q. Yeah. And Actiq, Fentora and you
      9        A. I believe so.                                9   mentioned Fioricet, which is on page 5, that's --
     10             MS. HILLYER: That doesn't                 10   those are brands. Right?
     11        establish foundation.                          11             MS. HILLYER: Objection to form.
     12             THE WITNESS: Can you repeat your          12             THE WITNESS: It appears so.
     13        question, please?                              13   BY MR. CRAWFORD:
     14   BY MR. CRAWFORD:                                    14        Q. And so for these generic drugs --
     15        Q. Just wondering if that's -- these           15   some are -- some actually came over from Actavis,
     16   are generic opioid products, other than Actiq and   16   right, when they were acquired by the company in
     17   Fentora, listed on this page?                       17   2016?
     18             MS. HILLYER: On the first page?           18        A. Again, I would assume so. I'm
     19             MR. CRAWFORD: On all of the               19   not certain. Again, yesterday was the first time
     20        pages.                                         20   I saw this document. I've never seen it before
     21             MS. HILLYER: Take your time and           21   other than that.
     22        look through it.                               22        Q. But your understanding is Teva
     23             THE WITNESS: I'm not sure if --           23   had some of its own generic opioid products prior
     24        Fioricet looks like a brand product, too.      24   to Actavis' acquisition. Right?


                                               Page 63                                                   Page 64
      1        A. I believe so, yes.                           1              MS. HILLYER: Objection to form.
      2        Q. And then when Actavis was                    2              THE WITNESS: So the way my team
      3   purchased, the generic Actavis/Watson entities,      3         is set up, it's set up by manufacturing
      4   Teva then now had some new generic opioid            4         site or location and also by dosage form.
      5   products in its portfolio. Correct?                  5   BY MR. CRAWFORD:
      6        A. Yes.                                         6         Q. So if a generic is coming out --
      7        Q. So those new products were                   7   a generic product is coming out of a certain
      8   basically -- came within the purview of your         8   manufacturing site, how is that responsibility
      9   department to ensure that the proper submissions     9   allocated? Is one of the sites Salt Lake City?
     10   were made at some point. Right?                     10   Is that a manufacturing site for the company?
     11        A. Yes.                                        11         A. Yes.
     12        Q. To the FDA?                                 12         Q. So, for example, if a product is
     13        A. Yes.                                        13   coming out of Salt Lake City, being manufactured
     14        Q. And what I want to know is -- so            14   there, how is the responsibility for submitting
     15   there are ongoing submissions required for all      15   ongoing reports and information to the FDA, how
     16   your generic products to the FDA, annual reports    16   is that allocated or assigned?
     17   and the like. Right?                                17         A. So I have a team in Salt Lake
     18        A. Yes.                                        18   City that manufactures products that are
     19        Q. And is there any -- how is that             19   developed there and -- that manages products that
     20   responsibility divided up within your regulatory    20   are developed there and manufactured there.
     21   department? Are certain individuals given kind      21         Q. And is there somebody in Salt
     22   of responsibility for making sure those             22   Lake City responsible for putting together the
     23   submissions are made for individual drugs? Or is    23   reports and making sure they're submitted to the
     24   it one person or how does that work?                24   FDA?


                                                                             16 (Pages 61 to 64)
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                                              Page 65                                                  Page 66
      1         A. Yes.                                       1   That's a team member that's been assigned that
      2         Q. And is this a person that is               2   product.
      3   physically based in that location?                  3         Q. Does Teva have a manufacturing
      4         A. Yes.                                       4   facility in Irvine, California?
      5         Q. And is it somebody who's part of           5         A. Yes.
      6   your regulatory department?                         6         Q. Is there a regulatory team there
      7         A. Yes.                                       7   as well?
      8         Q. And who is that for Salt Lake              8         A. Yes. There's two people there.
      9   City?                                               9         Q. Who are they?
     10         A. The person who reports to me in           10         A. Eric Sullivan and Joshua Childs.
     11   Salt Lake City, her name is Cherri Petrie, it's    11         Q. And do they do the same thing,
     12   C-H-E-R-R-I.                                       12   same process you described for Salt Lake City?
     13         Q. And then when she prepares or --          13         A. Yes.
     14   I don't want to say it that way, strike that.      14         Q. And do they report to you?
     15             Is she the one who signs the             15         A. So they report to a person on my
     16   annual reports for the drugs out of that           16   team.
     17   facility?                                          17         Q. And who is that?
     18         A. So no. Again, as we had covered           18         A. Anil Sachdeva.
     19   earlier, many of the annual reports now are done   19         Q. How do you spell that?
     20   by a team in Mumbai.                               20         A. Last name is S-A-C-H-D-E-V-A.
     21         Q. Right.                                    21         Q. And he's located in Horsham?
     22         A. So for annual reports, the team           22         A. He's in Parsippany.
     23   in Mumbai would work on those. If they had any     23         Q. Is there any plan to move the
     24   question, they would go to Cherri or her team.     24   Horsham folks to Parsippany?


                                              Page 67                                                  Page 68
      1        A. Yes.                                        1         Q. Prior to the break, you were
      2        Q. And when is that supposed to be             2   talking about personnel that were located in Salt
      3   completed?                                          3   Lake City and Irvine, regulatory personnel who
      4        A. August 2019.                                4   were responsible for some aspect of the FDA
      5        Q. Is that where you're going to be            5   reporting regarding products manufactured at
      6   located?                                            6   those sites. Right?
      7        A. I'll be located in Parsippany.              7         A. Yes.
      8        Q. Any plans to move physically your           8         Q. And also too you talked prior to
      9   residence?                                          9   that about a manufacturing site in Israel that
     10        A. No.                                        10   you interface with some people with. Right?
     11             MS. HILLYER: We've been going            11         A. Yes.
     12        about an hour.                                12         Q. Was it the same type of function,
     13             MR. CRAWFORD: Take a little              13   where they were in charge of certain submissions
     14        break if you want.                            14   that would be made to the FDA with regard to
     15             MS. HILLYER: Yeah.                       15   products manufactured at those sites?
     16             THE VIDEOGRAPHER: Off the                16         A. Yes. They would help coordinate
     17        record, 10:28.                                17   documents from those sites related to those
     18                 - - -                                18   products that were manufactured at those
     19             (A recess was taken from                 19   locations.
     20        10:28 a m. to 10:44 a m.)                     20         Q. And do you know where the
     21                 - - -                                21   locations are in Israel?
     22             THE VIDEOGRAPHER: We are back on         22         A. Kfar Sava, Israel, and Jerusalem.
     23        the record at 10:44.                          23         Q. How do you spell Kfar Sava?
     24   BY MR. CRAWFORD:                                   24         A. It's K-F-A-R, S-A-V-A.


                                                                            17 (Pages 65 to 68)
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                                               Page 69                                                Page 70
      1         Q. And are those -- do you know what          1         A. TAPI will sell API to many
      2   company owns those sites?                           2   companies.
      3         A. I'm not sure of the legal entity.          3         Q. Including Teva?
      4         Q. Have you ever heard of the name            4         A. Yes.
      5   TAPI, T-A-P-I?                                      5             MR. CRAWFORD: We'll mark the
      6         A. Yes.                                       6         next document here.
      7         Q. Is that one of the manufacturing           7                  - - -
      8   sites?                                              8             (Deposition Exhibit No.
      9         A. No, that's an API division of              9         Teva-Tomsky-3, Organization Charts, Bates
     10   Teva. It's -- T is Teva, API is active             10         stamped TEVA_MDL_A_03486562 through
     11   pharmaceutical ingredient. So it's called TAPI.    11         TEVA_MDL_A_03486593, was marked for
     12         Q. And just for the jury here, what          12         identification.)
     13   is an active pharmaceutical ingredient? What are   13                  - - -
     14   they making?                                       14   BY MR. CRAWFORD:
     15         A. So an active pharmaceutical               15         Q. So we've marked a series of org
     16   ingredient is the drug substance. So it's the      16   charts here.
     17   active ingredient in a product formulation.        17             Have you ever seen this document?
     18         Q. And so then -- and that's a Teva          18         A. Yes.
     19   entity, TAPI. Right?                               19         Q. And when did you last see it?
     20         A. Yes.                                      20         A. I don't recall.
     21         Q. And then that ingredient is               21         Q. And this is dated July 8, 2013.
     22   supplied to the other Teva manufacturing           22             That's about the time you arrived
     23   facilities that then formulate the actual          23   at the company. Right?
     24   product?                                           24         A. Yes.


                                               Page 71                                                Page 72
      1        Q. And does this look like,                    1        Q. And he's no longer with the
      2   scanning, to you generally what the structure of    2   company. Right?
      3   the regulatory -- various regulatory affairs        3        A. That's correct.
      4   departments were at Teva at the time?               4        Q. Who replaced him?
      5        A. Yes.                                        5        A. Michael Banks.
      6        Q. And the first page references               6        Q. And you still report directly to
      7   James G. Ottinger, a senior vice president of       7   Michael Banks then?
      8   regulatory affairs, and under him is Michael        8        A. Yes.
      9   Banks, vice president, global generics and OTC.     9        Q. Did anyone fill Michael Banks'
     10             Mr. Banks, you had testified, is         10   position?
     11   your current direct boss. Right?                   11        A. No.
     12        A. Yes.                                       12        Q. Mr. Banks is in the UK. Right?
     13        Q. And then according to this chart           13        A. Yes.
     14   he reported at this time to Mr. Ottinger. Right?   14        Q. Then below that, below Mr. Banks,
     15        A. Yes.                                       15   you have Gary Buehler, vice president, global
     16        Q. Where was Mr. Ottinger physically          16   regulatory intelligence and policy.
     17   located?                                           17             Do you know Mr. Buehler?
     18        A. In Frazer, Pennsylvania.                   18        A. Yes.
     19        Q. And do you know who employed him,          19        Q. Where he is located?
     20   who his employer was?                              20        A. He's retired.
     21        A. I don't know the legal entity.             21        Q. All right. When did he retire,
     22        Q. And did you ever have a chance to          22   about?
     23   interface with Mr. Ottinger?                       23        A. Roughly 2015.
     24        A. Yes.                                       24        Q. Did anyone take over his


                                                                            18 (Pages 69 to 72)
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                                               Page 73                                                  Page 74
      1   position?                                            1   run when you arrived and currently.
      2         A. Not within regulatory.                      2             Do you know how the
      3         Q. How about another department?               3   pharmacovigilance was run prior to your arrival?
      4         A. His responsibilities were kind of           4        A. Can you be more specific?
      5   split up. We went through a restructuring, so        5        Q. Let's say prior to 2009 -- Teva
      6   some of those activities are being done now by       6   acquired Cephalon in 2009. Correct?
      7   the legal team.                                      7             MS. HILLYER: Objection to form,
      8         Q. And what is -- it says he was               8        assumes facts not in evidence.
      9   global regulatory intelligence and policy.           9             THE WITNESS: Yeah. I'm not
     10             What did that position entail?            10        certain of the date of that acquisition.
     11         A. It's just collecting information,          11   BY MR. CRAWFORD:
     12   new regulations, new policies that regulators       12        Q. How about prior to 2010, do you
     13   were looking at. He had a strong focus on the US    13   know how the pharmacovigilance was run?
     14   because he was formerly the head of the Office of   14        A. No.
     15   Generic Drugs.                                      15        Q. How about the REMS approval
     16         Q. With the FDA. Right?                       16   process, say, prior to your arrival, how was that
     17         A. Yes.                                       17   run?
     18         Q. Do you know when he joined the             18        A. I think we talked about earlier,
     19   company?                                            19   I'm not certain how it was operated. It was part
     20         A. I do not.                                  20   of the commercial team.
     21         Q. And then going back, just a few            21        Q. I said approval. Okay. I said
     22   things.                                             22   approval process.
     23             Were you -- we talked about               23             I mean REMS, you know,
     24   pharmacovigilance and how that -- how that was      24   compliance.


                                               Page 75                                                  Page 76
      1             MS. HILLYER: Objection to form.            1   from the manufacturing sites and preparing the
      2   BY MR. CRAWFORD:                                     2   annual reports, and then making the submissions
      3        Q. Do you know how that was run                 3   to the FDA.
      4   prior to your arrival?                               4        Q. How far back did that process
      5             MS. HILLYER: Sorry.                        5   occur?
      6             Objection to form.                         6        A. I'm not certain.
      7             THE WITNESS: Again, no.                    7        Q. DEA compliance, is there a DEA
      8   BY MR. CRAWFORD:                                     8   compliance department at Teva?
      9        Q. How about, do you know anything              9        A. Yes.
     10   about how reporting to the FDA was run, say, in     10        Q. Does regulatory have any role in
     11   submitting annual reports for your drugs and so     11   DEA compliance?
     12   on? Do you have any knowledge about that?           12        A. No.
     13        A. Can you be more specific, please?           13        Q. How about suspicious order
     14        Q. Well, what the process was. You             14   monitoring?
     15   described the process for submitting annual         15        A. No.
     16   reports when you arrived.                           16        Q. How about reporting to the FDA
     17             Do you know, can you describe             17   information about its suspicious monitoring
     18   that process, what existed prior to your arrival    18   program?
     19   and moving backwards from there?                    19        A. I just want to clarify --
     20        A. Yeah. I mean, generally                     20            MS. HILLYER: Hold on a second.
     21   speaking, the regulatory affairs teams, whether     21   BY MR. CRAWFORD:
     22   it was in Horsham, Pennsylvania or if it was        22        Q. Go ahead.
     23   Woodcliff Lake, New Jersey at that time, they       23        A. Sorry, I just want to clarify.
     24   were responsible for coordinating the documents     24            You want to know if regulatory


                                                                             19 (Pages 73 to 76)
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                                               Page 77                                                  Page 78
      1   has any responsibility?                              1   reports that the regulatory affairs team does,
      2         Q. Correct.                                    2   but I'm sure Teva has proper processes in place
      3         A. Yeah. Regulatory has no                     3   to do that sort of thing.
      4   responsibility, so I'm not aware. For the            4         Q. How do you know they have proper
      5   suspicious monitoring or even --                     5   processes?
      6         Q. Is there any regulatory                     6         A. I mean, Teva takes compliance
      7   requirement for opioids to report information to     7   very seriously. So I mean...
      8   the FDA about its suspicious order monitoring        8         Q. Do you have personal knowledge
      9   program or interactions with the DEA?                9   that they're complying with all the processes?
     10              MS. HILLYER: Objection to form           10         A. I mean, again, it's outside the
     11         and to the extent it calls for                11   scope of regulatory, so I'm not involved in those
     12         speculation.                                  12   things.
     13              THE WITNESS: Yeah. I'm not               13         Q. So you're just making an
     14        familiar with the process. It's outside        14   assumption?
     15         of the scope of regulatory.                   15              MS. HILLYER: Objection to form.
     16   BY MR. CRAWFORD:                                    16              THE WITNESS: No. I'm saying
     17         Q. Right. But I'm just wondering,             17         that Teva is a company that is strong on
     18   as far as your interactions with the FDA, say in    18         compliance. We all have to do compliance
     19   annual reports or anything like that, are you       19         training. And so I don't see how the
     20   required to report or do you report to the FDA      20         company wouldn't comply with those
     21   any of your interactions with the DEA or            21         regulations or requirements either.
     22   suspicious order monitoring activities?             22   BY MR. CRAWFORD:
     23         A. So none of that information is             23         Q. Do you mean currently or in the
     24   reported to the FDA in the drug product annual      24   past or both?


                                               Page 79                                                  Page 80
      1         A. It's always been a core value of            1         Q. Was there a brand VP for US at
      2   Teva, to maintain compliance.                        2   this time?
      3         Q. All right. Let's go back to                 3         A. Yes.
      4   Exhibit 2.                                           4         Q. Who is that?
      5              MS. HILLYER: 3?                           5         A. The previous page.
      6              MR. CRAWFORD: 3, I'm sorry.               6         Q. All right.
      7              The next page.                            7         A. Because if you go back, again,
      8   BY MR. CRAWFORD:                                     8   this is -- Michael Banks is vice president of
      9         Q. Let me ask you this: Is this                9   global generics and OTC. So generics. He had
     10   structure on page 1, is there a reorganization of   10   nothing to do with brand.
     11   the regulatory structure after the Actavis          11              So if you look under Jim Ottinger
     12   acquisition, or is this -- looking through this     12   on the first page, Susan Franks is vice president
     13   chart, is this generally how it exists today?       13   of global branded products.
     14         A. No. There was a complete                   14         Q. Got it. She was the counterpart
     15   restructuring.                                      15   to Mr. Banks then?
     16         Q. So let's go to -- and when did             16         A. Yes.
     17   that occur, the 2016-2017 time period?              17         Q. And was there a counterpart to
     18         A. Roughly, yes.                              18   you in the branded area?
     19         Q. So let's go to the next page.              19         A. It was set up very differently.
     20   This is, again, 2013, Michael Banks. That was       20   So it's a global group. And it was broken up by
     21   your direct boss at the time. And you're down       21   therapeutic area.
     22   there, Scott Tomsky, VP, US generic.                22         Q. And is Ms. Franks, is she in
     23              Do you see that?                         23   Parsippany or in the US?
     24         A. Yes.                                       24         A. She left Teva.


                                                                             20 (Pages 77 to 80)
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                                               Page 81                                                  Page 82
      1          Q. At this time, was she in the US?           1   regulatory team that was located in Croatia.
      2          A. She was in the US.                         2         Q. And who had responsibility for,
      3          Q. So looking at page 2, you've               3   say, the non-US or non-North America, non-Europe
      4   got -- your structure is -- there's one US person    4   regulatory at this time?
      5   here, and that's you. Correct?                       5         A. If you look further down, it's
      6          A. Yes.                                       6   Iris Meisner, international regulatory affairs.
      7          Q. In this structure at this level.           7         Q. Got it. Okay.
      8   Right?                                               8              And who had charge of Canada at
      9          A. Yes.                                       9   this time?
     10          Q. Okay. And then you've got                 10         A. There was another individual,
     11   Roussell, Braeuner, Baader, Monvoisin, Spilsbury,   11   Mathi Mathivanan. And I believe at that time --
     12   they are EU heads or directors or managers in       12   actually, I'm not sure. I'm not certain if he
     13   this chart. Right?                                  13   was -- where he was reporting into.
     14          A. Yes.                                      14              I think was reporting -- no. He
     15          Q. And are they -- do they -- they           15   was. He was reporting into the Canadian business
     16   also report to Mr. Banks. Correct?                  16   at that time.
     17          A. They did at this time.                    17         Q. Is there -- who is in charge of
     18          Q. At this time.                             18   Canada now at your level?
     19              And then -- and then over on the         19         A. I am.
     20   left, there's Alenka Lasic-Gasparevic, senior       20         Q. All right. So you -- so that's
     21   director, global RA.                                21   dealing with Canadian regulatory authority
     22              Would she be -- have been in             22   submissions. Right?
     23   charge of the non-EU, non-US areas?                 23         A. Yes.
     24          A. Generally speaking, she led the           24         Q. And why are you in charge in


                                               Page 83                                                  Page 84
      1   Canada?                                              1              Does she have any -- do you
      2        A. As a part of the restructuring               2   interface with her or does she have any
      3   with Actavis, it may have even happened prior to     3   responsibility with regard to the US operations?
      4   Actavis, I was given responsibility for not only     4              MS. HILLYER: Objection to form,
      5   US generics but also Canadian generics.              5         compound.
      6        Q. Are you in charge of any other               6   BY MR. CRAWFORD:
      7   countries?                                           7         Q. Is her department or anything
      8        A. No.                                          8   like that?
      9        Q. Who reports to you, directly                 9         A. Sorry, can you repeat the
     10   under you with regard to Canada?                    10   question?
     11        A. Mathi Mathivanan.                           11         Q. Just trying to find out, her
     12        Q. And he's in Canada?                         12   department or she have any responsibilities with
     13        A. Yes.                                        13   regard to the US regulatory operations?
     14        Q. What city?                                  14         A. Are you now or are you asking
     15        A. Toronto.                                    15   back in 2013?
     16        Q. And briefly, who's the Canadian             16         Q. Back then.
     17   regulatory authority?                               17         A. So back then, she would have
     18        A. Health Canada.                              18   managed any regulatory team that was in Zagreb,
     19        Q. Go to the next page. That's                 19   Croatia. And if there was products that were
     20   Alenka.                                             20   developed there or manufactured there that were
     21             Is that a female, Alenka?                 21   coming to the US, her team would have compiled
     22        A. Yes.                                        22   documents and sent them to my team.
     23        Q. Okay. Lasic-Gasparevic in                   23         Q. Similar to Salt Lake City and
     24   Zagreb, senior director, global RA.                 24   Irvine and Israel?


                                                                             21 (Pages 81 to 84)
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                                              Page 85                                                Page 86
      1         A. A little similar, yes.                    1        Q. When did he leave?
      2         Q. Next. My Bates numbers are cut            2        A. Roughly 2015.
      3   off here, so I'm going to try to direct you to     3        Q. And do you know where he is now
      4   the correct page on that.                          4   working?
      5              Would like to go to page 8 with         5        A. I'm not certain.
      6   Iris --                                            6        Q. Where was he based?
      7              MS. HILLYER: Just give a Bates?         7        A. He was based in Horsham,
      8              MR. CRAWFORD: Yeah. My                  8   Pennsylvania.
      9         colleague can do that here.                  9        Q. And he was legacy Teva. He was
     10              MR. JENSEN: Bates ending in 569.       10   there when you arrived. Right?
     11   BY MR. CRAWFORD:                                  11        A. Yes.
     12         Q. Now, she was -- you had mentioned        12        Q. And do you know how far back or
     13   she was your counterpart for the rest of the      13   how long he'd worked there?
     14   world. Right?                                     14        A. I believe more than 20 years.
     15              MS. HILLYER: Objection to form.        15   Actually, it was more than 20 years.
     16              THE WITNESS: Yes.                      16        Q. Do you know if he's retired?
     17   BY MR. CRAWFORD:                                  17        A. I'm not certain.
     18         Q. I think we can move on to page 9.        18        Q. Do you know why he left?
     19              This is you right here, under          19        A. His position with the
     20   regulatory affairs. And you have Phil Erickson    20   reorganization was no longer needed.
     21   below you and Pat Jaworski.                       21        Q. Now, Teva's cut jobs worldwide
     22              Is Mr. Erickson, is he still with      22   pretty significantly in the last couple years.
     23   the company?                                      23   Right?
     24         A. No.                                      24        A. Yes.

                                              Page 87                                                Page 88
      1         Q. And are those layoffs completed           1            MR. JENSEN: Bates 571.
      2   yet or are they still ongoing?                     2   BY MR. CRAWFORD:
      3              MS. HILLYER: Objection to form.         3         Q. -- 571?
      4              THE WITNESS: Most of them are           4        A. Yes.
      5         completed.                                   5         Q. And Jill Pastore is down there on
      6   BY MR. CRAWFORD:                                   6   the lower right. Is she -- she was a director.
      7         Q. And that was about 14,000                 7            Is that her current position?
      8   employees worldwide?                               8        A. Currently she is senior director.
      9         A. Roughly.                                  9         Q. And what is her job now? What
     10         Q. What was Mr. Erickson's role at          10   are her duties?
     11   this time? What were his duties? And if you go    11         A. So she is senior director of
     12   to the next page, I believe there's a tree        12   commercial regulatory and regulatory affairs
     13   underneath him.                                   13   launch preparedness, it's called.
     14         A. Okay.                                    14         Q. And what does that involve?
     15         Q. So if you could describe his             15         A. So she oversees the team in
     16   duties at this time.                              16   Mumbai who prepares the annual reports. And her
     17         A. So at this time, there was two           17   team also manages tracking of various things,
     18   regulatory affairs teams. There was one in        18   approvals, generic drug user fee dates,
     19   Horsham, Pennsylvania for the US generics, and    19   submissions that go into the FDA. She also has
     20   there was one in Woodcliff Lake, New Jersey for   20   responsibility for the labeling team and the
     21   US generics. So Phil was managing the team that   21   artwork management team.
     22   was in Horsham, Pennsylvania.                     22         Q. And what does the labeling team
     23         Q. And this is his team below here          23   do?
     24   on this chart on page --                          24         A. So this is what we discussed


                                                                           22 (Pages 85 to 88)
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                                               Page 89                                                  Page 90
      1   earlier. They monitor the FDA's website, they       1   reporting?
      2   prepare labeling to support the US generic          2         A. So the way the team was set up is
      3   products.                                           3   a subset of applications that -- more or less the
      4         Q. And there's Siva Vaithiyalingam,           4   legacy Teva applications were managed through
      5   who is a director under Mr. Erickson.               5   this team here. And he oversaw this team.
      6             Where is she located at the time?         6         Q. Did that include opioid products?
      7         A. It's a he, actually. And he was            7         A. It would include all products.
      8   located in Horsham, Pennsylvania.                   8   It's possible -- yes. So Teva -- the legacy Teva
      9         Q. What was his function?                     9   opioid products would have been a subset of this
     10         A. He was -- I believe at this time,         10   group.
     11   he was -- he was overseeing all submissions that   11         Q. Okay. And going to the next
     12   went to FDA. He's a former FDAer, so he was        12   page, Pat Jaworski, was Pat a male or female?
     13   doing -- he was performing a quality review of     13         A. It's a woman.
     14   the applications before they went in, trying to    14         Q. Woman.
     15   identify any questions that he had, since he was   15              What was her responsibility?
     16   a former FDA reviewer.                             16         A. So she was responsible for the
     17         Q. And then over on his level, Rob           17   regulatory affairs team that was located in
     18   Vincent, senior director, what was his position    18   Woodcliff Lake, New Jersey that supported the US
     19   or what did that entail?                           19   generics submissions. These are primarily the
     20         A. At that time, he was overseeing,          20   legacy Barr and Ivax applications.
     21   you know, many of the products that were being     21         Q. So that would mean she -- I mean,
     22   managed by the team in Horsham.                    22   what would she do with regard to those legacy
     23         Q. What does that mean, managed by           23   drugs? Just oversee the ongoing submissions to
     24   the team? Just approvals, ongoing compliance or    24   the FDA?


                                               Page 91                                                  Page 92
      1        A. Yeah. Again, her team would have            1         Booth-Genthe at the top.
      2   oversaw the regulatory affairs responsibility in    2             MR. CRAWFORD: Yeah.
      3   terms of submissions of new applications as well    3             MS. HILLYER: Ending 582?
      4   as maintenance of the approved applications.        4             MR. JENSEN: Correct.
      5        Q. And Barr and Ivax were two                  5   BY MR. CRAWFORD:
      6   companies acquired by Teva back in the middish      6         Q. Yeah. We'll go through these
      7   2000s?                                              7   final tabbed pages.
      8        A. I'm not sure when they were                 8             Is Terri a male or a female?
      9   acquired, but yes.                                  9         A. She's a woman.
     10        Q. Ms. Jaworski, is she still with            10         Q. Okay. And did we talk about her
     11   the company?                                       11   previously? I'm slipping memory on the names
     12        A. She is not.                                12   here.
     13        Q. Okay. How about Mr. Vincent?               13         A. No.
     14        A. I'm sorry?                                 14         Q. What is global regulatory
     15        Q. Mr. Vincent --                             15   operations? What's that function?
     16        A. So you're going back to the                16         A. So this is the team that
     17   previous page?                                     17   primarily manages all the electronic submissions
     18        Q. Yeah.                                      18   to the FDA.
     19             Is he still with the company?            19         Q. And how about other regulatory
     20        A. He is not.                                 20   authorities for other countries?
     21        Q. Let's go to -- and I'm not quite           21         A. Yes.
     22   sure the page.                                     22         Q. And where is she located at this
     23             MR. JENSEN: It's the first               23   time?
     24        tabbed page, actually, with Terri             24         A. At this time, she was located in


                                                                            23 (Pages 89 to 92)
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                                               Page 93                                                  Page 94
      1   Frazer, Pennsylvania.                                1   what was submitted?
      2        Q. Where is she right now, is she               2         A. It was also managing databases
      3   with the company?                                    3   and things like that.
      4        A. She is not with Teva.                        4         Q. What kind of databases?
      5        Q. Do you know who she's with right             5   Pharmacovigilance?
      6   now?                                                 6         A. No. It was the regulatory
      7        A. I do not.                                    7   affairs database.
      8        Q. Then go to the next page, we have            8         Q. And what's in that database that
      9   Javier Monvoisin, head of regulatory information     9   you recall?
     10   management.                                         10         A. Global submission information, US
     11             At the time, where was Mr.                11   filings, again, has to do with when the
     12   Monvoisin located?                                  12   submission was submitted to FDA, any responses to
     13        A. He was located in the UK.                   13   the FDA, details about manufacturers, API
     14        Q. Did he or his department perform            14   suppliers, things like that.
     15   any functions with regard to the US generic         15         Q. So if you wanted a report, you
     16   drugs?                                              16   know, listing all the opioids and ANDA numbers
     17        A. Yes.                                        17   from your generic opioids, would that be the
     18        Q. And what were those functions?              18   person you would go to? Or that department back
     19        A. Again, it was submissions,                  19   then?
     20   electronic submissions to the FDA as well as        20         A. No.
     21   other groups.                                       21         Q. Where would you go for that?
     22        Q. So just coordinating getting the            22         A. My team would manage separate
     23   documents electronically submitted, or did they     23   spreadsheets for submissions for the FDA.
     24   have any role in the substantive preparation of     24         Q. And where would they get their


                                               Page 95                                                  Page 96
      1   information from for that?                           1         Q. Okay. Next is the next page,
      2         A. They would generate them                    2   Jean Zwicker, is it a female?
      3   themselves. It was basically kept in Excel. And      3         A. I'm sorry?
      4   it just tracked all submissions and submissions      4         Q. Is she female?
      5   that were pending review with FDA, submissions       5         A. Yes.
      6   that were approved, applications that were           6         Q. Jean Zwicker, senior director,
      7   approved. It was too difficult to get                7   GRA, that's global regulatory affairs. Correct?
      8   information out of the global regulatory affairs     8         A. Yes.
      9   database. So that was more for the global team       9         Q. Compliance and administration.
     10   to have, but it wasn't really for the US region     10             Did she or her department have
     11   to have.                                            11   any function or role with regard to the US
     12         Q. The next page, Karen Kulagowska,           12   operations for generics?
     13   head of planning, metrics and reporting, what was   13         A. Yes.
     14   her function back then?                             14         Q. And what was her role in this
     15         A. So again, at this time, she                15   department at this time?
     16   collected information from each of the different    16         A. It would audit to make sure that,
     17   regions with respect to what submissions went       17   for example, annual reports were being submitted
     18   into FDA with respect to the US and what            18   to the FDA in accordance with the regulations,
     19   applications were approved.                         19   that labeling was being updated in accordance
     20         Q. And where was she based?                   20   with the regulations to the FDA.
     21         A. In the UK.                                 21         Q. Would there be -- was this an
     22         Q. And is she still with the                  22   annual audit or periodic audit that would be
     23   company?                                            23   performed?
     24         A. Yes.                                       24         A. I'm not certain how often they


                                                                             24 (Pages 93 to 96)
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                                               Page 97                                                Page 98
      1   occurred.                                           1   does as far as anything that impacts the US?
      2         Q. Have you ever seen an audit                2         A. Yes. This is the submission of
      3   report generated for your department from this      3   the electronic documents to the FDA.
      4   department here?                                    4         Q. And do you know where --
      5         A. Yes.                                       5   generally where these people are located on this
      6         Q. And when was the last one you              6   chart?
      7   recall seeing?                                      7         A. If you look to the far left,
      8         A. Several years ago.                         8   Kevin Tompkins, he was located in Frazer,
      9         Q. And where was Ms. Zwicker located          9   Pennsylvania. Ryan Hernandez was in Horsham.
     10   at this time?                                      10   And you can see on here --
     11         A. Horsham, Pennsylvania.                    11         Q. Yeah. Frazer.
     12         Q. Horsham.                                  12         A. Yep.
     13              And did she do audits of                13         Q. And Carrie Deming, North America,
     14   regulatory affairs departments outside the US?     14   was she in US?
     15         A. I'm not certain.                          15         A. I'm not sure.
     16         Q. Is she still with the company?            16         Q. It says Michael Aviv, associate
     17         A. No.                                       17   director, Israel. Correct?
     18         Q. Next page is a senior director,           18         A. Yes.
     19   global submissions management.                     19         Q. And where was the person these
     20              Who eventually -- it says vacant,       20   three reported to, Tompkins, Deming, Aviv, where
     21   but who eventually got this position, do you       21   was that person located?
     22   recall?                                            22         A. I'm not certain.
     23         A. I'm not certain.                          23         Q. Next page is Jamie Warner, vice
     24         Q. Do you know what this department          24   president of global labeling and brand


                                               Page 99                                               Page 100
      1   management.                                         1   with the brand or RLD labels in the US?
      2              Where was -- again, these are            2         A. Yes.
      3   kind of unisex names, I apologize for having to     3         Q. Was it her responsibility to -- I
      4   ask this, but is Jamie --                           4   mean ultimate responsibility with regard to that
      5         A. A woman.                                   5   function?
      6         Q. A woman. Okay.                             6         A. No. I mean, she wasn't actively
      7              Is she -- where is she located at        7   doing that. She was overseeing the team.
      8   this time?                                          8         Q. Right.
      9         A. She was in Frazer, Pennsylvania.           9         A. And Jane and Betty here were the
     10         Q. What was her role or function?            10   ones who were primarily doing that.
     11         A. Global labeling and brand                 11         Q. That's Jane Frahn, F-R-A-H-N, and
     12   management.                                        12   Betty Shieh?
     13         Q. So that would be for not just US          13         A. Yes.
     14   labels, but other Teva entities throughout the     14         Q. And they were just doing the US
     15   world. Right?                                      15   labels. Right?
     16         A. Yes.                                      16         A. Yes.
     17         Q. And was part of her function to           17         Q. And Ms. Warner, is she still with
     18   make sure there was relatively uniform labels      18   the company?
     19   across -- and consistent labels globally?          19         A. No.
     20         A. Yes.                                      20         Q. Do you know who has that role
     21         Q. For the Teva products. Right?             21   right now, kind of overseeing the people that do
     22         A. Yes.                                      22   that?
     23         Q. And did she have any obligations          23         A. There's not a global role right
     24   or role in keeping the generic labels up to date   24   now.


                                                                          25 (Pages 97 to 100)
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                                              Page 101                                                       Page 102
      1         Q. How about a US role?                        1   thing?
      2         A. Yes.                                        2        A.     Yes.
      3         Q. Who is that again?                          3        Q.     Then the next page is Betty
      4         A. Charlene Salmorin.                          4   Shieh, manager, generics labeling team.
      5         Q. What's her last name? How do you            5             She has the same function of
      6   spell it?                                            6   keeping the labels consistent. Right?
      7         A. S-A-L-M-O-R-I-N.                            7        A.     Yes.
      8         Q. And then move on about three                8        Q.     That's all I have on that
      9   pages to Jane Frahn.                                 9   document.
     10             MR. JENSEN: It's Bates 590.               10             Let's go to the next one.
     11   BY MR. CRAWFORD:                                    11                 - - -
     12         Q. Ms. Frahn is the woman who was in          12             (Deposition Exhibit No.
     13   charge at the time of keeping the labels            13        Teva-Tomsky-4, Email dated 10/28/2015,
     14   consistent with the brand or RLD. Right?            14        Bates stamped TEVA_MDL_A_04344415, plus
     15         A. Yes.                                       15        attachment, 50 pages, was marked for
     16         Q. And she was based in                       16        identification.)
     17   Pennsylvania?                                       17                 - - -
     18         A. No.                                        18   BY MR. CRAWFORD:
     19         Q. Where was she based?                       19        Q.     So we've marked
     20         A. She was based in Woodcliff Lake,           20   TEVA_MDL_A_04344415.
     21   New Jersey.                                         21             It's an email from James Ottinger
     22         Q. Is she still with the company?             22   to Michael Banks, Mr. Tomsky here and others,
     23         A. Yes.                                       23   dated October 28, 2015. "Subject: FINAL slide
     24         Q. And does she still do the same             24   deck for RA work shop."


                                              Page 103                                                       Page 104
      1             MS. HILLYER: Mark, does the                1   intended for?
      2        leads -- do you know the Bates for the          2        A. I believe this -- actually, I
      3        attachment?                                     3   know this was used for a meeting that Teva was
      4             MR. CRAWFORD: I imagine it                 4   having with Actavis leadership in the period --
      5        followed directly from this email. It's         5   time frame of October 2015, introducing the
      6        probably the attachment there.                  6   Actavis management in terms of how the Teva
      7             MS. HILLYER: I just want to make           7   organization regulatory affairs team was set up.
      8        sure, because sometimes we've had issues        8        Q. Did this have a -- or did this
      9        with that.                                      9   presentation or workshop -- it says workshop.
     10             MR. CRAWFORD: That's my                   10             Is this an RA workshop? Is this
     11        understanding.                                 11   kind of what it was?
     12             MS. HILLYER: Okay.                        12             MS. HILLYER: Objection to form.
     13   BY MR. CRAWFORD:                                    13             THE WITNESS: Yeah. I mean, it
     14        Q. So we've got a pretty substantial           14        was a meeting -- I guess we could call it
     15   PowerPoint here. It goes up to 97 pages.            15        a workshop since that's what it was
     16             But I had some questions.                 16        called. But again, of the Teva
     17             Was this the plan for integrating         17        regulatory affairs team and management
     18   or restructuring regulatory affairs after or with   18        from Actavis and their regulatory affairs
     19   the anticipated Actavis acquisition?                19        team.
     20             Let me strike that.                       20   BY MR. CRAWFORD:
     21             What was this? Is this familiar           21        Q. Did this PowerPoint describe
     22   to you, this PowerPoint?                            22   Teva's existing regulatory structure or any
     23        A. Yes.                                        23   planned restructuring or both?
     24        Q. And can you tell me what this was           24        A. This discussed the existing


                                                                            26 (Pages 101 to 104)
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                                              Page 105                                               Page 106
      1   regulatory affairs team. It didn't discuss plans     1             THE WITNESS: Yeah, I mean, there
      2   for restructuring of the team.                       2        was -- again, there was a lot of changes.
      3         Q. All right. But after the                    3        There is new leadership, you know, from
      4   acquisition, the departments, regulatory affairs     4        Actavis that was put in charge of the
      5   departments were restructured. Right?                5        global R&D team. And then regulatory
      6         A. Yes.                                        6        moved from reporting into someone who was
      7         Q. And is there -- I couldn't find a           7        legacy Teva to someone who was legacy
      8   current org chart or how that's structured, but      8        Actavis.
      9   can you generally describe the changes that were     9             And actually, there's been
     10   made to the department with the restructuring?      10        several reorganizations since even the
     11         A. There were quite a few changes             11        close of the Actavis deal.
     12   made to the department, so I'm not certain what     12   BY MR. CRAWFORD:
     13   you would like to know.                             13        Q. And so who comes to mind that
     14         Q. I understand. Yeah.                        14   came over from Actavis that's in the current
     15   Unfortunately, I could not find anything in the     15   regulatory affairs leadership?
     16   document production about the restructuring or      16             MS. HILLYER: Objection to form.
     17   what the current structure is.                      17             THE WITNESS: So when you say
     18             So, you know, I apologize for             18        leadership, what do you mean?
     19   asking such a broad question, but I'd just like     19   BY MR. CRAWFORD:
     20   to get your kind of -- what comes into mind as      20        Q. Kind of your position or above.
     21   some of the basic, fundamental changes that were    21        A. Currently at my position and
     22   made to the department with the Actavis             22   above, I don't believe there's anybody from
     23   integration and acquisition?                        23   legacy Actavis in regulatory affairs.
     24             MS. HILLYER: Objection to form.           24        Q. And I'm talking about, you know,


                                              Page 107                                               Page 108
      1   we just went through the 2013 chart and we had       1   affairs.
      2   all this operations overseas and stuff like that.    2        Q. What is her function or role?
      3              Are there any Actavis people              3        A. She manages a portfolio of
      4   overseas that are heading up any of the types of     4   products that have to do with the nonsterile,
      5   departments that we looked at that you know of?      5   primarily solid oral dosage forms that are
      6              MS. HILLYER: Objection to form.           6   manufactured in various sites.
      7              THE WITNESS: I'm not certain.             7        Q. And do these include opioid
      8         We would need to look at the org charts        8   products?
      9         and go by each one.                            9        A. Yes, I believe so. Some of them.
     10   BY MR. CRAWFORD:                                    10        Q. And anyone else who comes to mind
     11         Q. How about in Pennsylvania and              11   kind of in the positions immediately below you
     12   Parsippany, are there any Actavis people kind of    12   from Actavis?
     13   in the level immediately below you that you can     13        A. Yes.
     14   think of?                                           14        Q. Who else?
     15         A. Yes.                                       15        A. Janet Vaughn.
     16              MS. HILLYER: From legacy                 16        Q. What was her last name?
     17         Actavis?                                      17        A. Vaughn.
     18              MR. CRAWFORD: Yeah.                      18        Q. Janet Vaughn?
     19              THE WITNESS: Yes.                        19        A. Yes.
     20   BY MR. CRAWFORD:                                    20        Q. V-A-U-G-H-N?
     21         Q. And who is that?                           21        A. Yes.
     22         A. Joyce DelGaudio.                           22        Q. And what is her role or function?
     23         Q. And she is what position?                  23        A. She manages the portfolio of
     24         A. Senior director of regulatory              24   products that are handled in the Florida


                                                                         27 (Pages 105 to 108)
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                                              Page 109                                                Page 110
      1    manufacturing areas.                                1   Salt Lake City?
      2          Q. Is she based in Florida or up              2         A. They did. It was on the branded
      3    in --                                               3   side, though.
      4          A. Sorry?                                     4         Q. Right. And does that still
      5          Q. Where is she based?                        5   exist, the branded?
      6          A. She's based in Florida.                    6         A. I'm not certain. I don't deal
      7          Q. Is she out of one of the                   7   with it.
      8    manufacturing sites down there?                     8         Q. But the Salt Lake City site that
      9          A. She's at the research and                  9   reports to you that we talked about is a generic
     10    development site.                                  10   site that was an Actavis site before the
     11          Q. And where's that?                         11   acquisition?
     12          A. Weston.                                   12         A. Yes.
     13          Q. Anyone else come to mind,                 13         Q. And there were certain Actavis
     14    Actavis, in a level below you?                     14   entities that are the ANDA holders for opioid
     15          A. Cherri Petrie.                            15   products. Right?
     16          Q. And what's her role or function?          16         A. I'm sorry, can you repeat your
     17          A. We talked about her before. She           17   question?
     18    manages the team in Salt Lake City.                18         Q. Well, when there's an abbreviated
     19          Q. Yes.                                      19   new drug application, there's generally a, what
     20              Was Salt Lake City, was that a           20   do you call it, an applicant. Right?
     21    Teva site before the acquisition?                  21         A. Yes.
     22          A. No. This particular site was a            22         Q. Or is there another word for it?
     23    legacy Actavis site.                               23         A. An applicant.
     24          Q. Did Teva have its own site in             24         Q. And I'm just trying to find out


                                              Page 111                                                Page 112
      1   if there are any -- you know, what the entities      1         Q. How about -- there are opioids
      2   are that you know of that were the -- that were      2   distributed in Europe. Correct?
      3   the applicants for the Actavis side that came in     3         A. I'm not certain. I don't have
      4   for the opioid products?                             4   responsibility for Europe.
      5         A. I'm not certain who the                     5         Q. So the only two facilities that
      6   applicants were for the opioid products. Again,      6   are manufacturing opioid products that are
      7   Actavis used to file as Watson. They filed as        7   distributed in the US for a Teva-related entity
      8   Actavis Salt Lake City. Some of them were filed      8   are in Salt Lake City and Florida?
      9   as Andrx, so I'm not certain.                        9         A. I'm not certain. There may be
     10         Q. If you wanted to find out, you             10   some in Elizabeth, New Jersey as well as Forest,
     11   know, a list of opioid products that were Actavis   11   Virginia.
     12   products, how would you go about getting that       12         Q. How about in Irvine?
     13   list?                                               13         A. No. Irvine is a sterile
     14         A. I would probably go to each of my          14   manufacturing facility. I'm not aware of any
     15   direct reports and ask them for a list of opioid    15   opioid products coming from that facility.
     16   products that they were managing. All the opioid    16         Q. Have you ever heard of a company
     17   products are managed within the US, so they would   17   called Teva Parenteral or Parenteral Medicines?
     18   come either from Florida or Salt Lake City,         18         A. Yes.
     19   primarily.                                          19         Q. They're in Irvine. Right?
     20         Q. Is that where the opioid products          20         A. That's typically associated with
     21   are made, those two facilities?                     21   the Irvine facility, yes.
     22         A. Yeah. Primarily all the opioids            22         Q. Getting back to Exhibit 4. Let's
     23   are manufactured within the US, just because of     23   go to -- and the page numbers are in the upper
     24   DEA regulations.                                    24   right here, so this is describing here page 1.


                                                                        28 (Pages 109 to 112)
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                                             Page 113                                                 Page 114
      1   It's got the agenda.                                 1   RA.
      2              And the second bullet point is,           2         Q. And so did Mr. Banks present on
      3   "Generics RA Structure and Operating Principles."    3   global?
      4   Michael Banks is global, you're listed for North     4         A. Yes.
      5   America, and Jonathan Roussell is for European.      5         Q. And then shared services
      6              Does that mean that you guys were         6   structure and operating principles, you've got
      7   talking at this workshop or that's just              7   regulatory operations, that's Ms. Booth-Genthe.
      8   identifying people in charge of the structures?      8   And labeling and brand management, that's Ms.
      9         A. I'm not certain I understand your           9   Warner.
     10   question.                                           10              Did they present at this as well?
     11         Q. Did you present or talk at this            11         A. Yes.
     12   workshop?                                           12         Q. And shared services structure,
     13         A. Yes.                                       13   what does that mean?
     14         Q. It is an agenda, so what was the           14         A. So again, the way Teva was set up
     15   agenda item on this page in relation to your        15   at this time is that there were shared services,
     16   listing on here?                                    16   so meaning these groups, regulatory operations
     17         A. Again, I'm not clear on your               17   and labeling brand management, would support --
     18   question.                                           18   would be a shared service for all the regulatory
     19         Q. Okay. Was there an agenda for              19   teams. So the North American team, the European
     20   this workshop?                                      20   generics team and the global regulatory affairs
     21         A. This appears to be the agenda.             21   team.
     22         Q. Right. And so what was your role           22         Q. Go to slide 2. There seems to be
     23   in the agenda?                                      23   kind of a circle of boxes around the central box
     24         A. To present North America generics          24   called "Global Regulatory Affairs." The title


                                             Page 115                                                 Page 116
      1   is, "Teva Regulatory Affairs -- Past State and       1        for speculation.
      2   Transformation (2011-2015)."                         2              THE WITNESS: I think it's clear
      3              Can you just describe what this           3        on here what he's saying, too, is
      4   slide is trying to convey?                           4        generics and brands are still very
      5         A. Yes. I mean, this was a slide               5        different and he's setting up focus
      6   that would have been presented by Jim Ottinger.      6        areas. So they're separate business
      7   So he's talking about how he created a global        7        units that are under a common leadership,
      8   regulatory affairs team, which would have            8        but they clearly function independently
      9   oversight, more or less, for all of these            9        and separately.
     10   different groups.                                   10   BY MR. CRAWFORD:
     11         Q. And where was global regular               11        Q. Brands and generics. Right?
     12   (sic) affairs at this time in 2015 based out of?    12        A. Yes.
     13         A. Frazer, Pennsylvania.                      13        Q. And that's changed now; they're
     14         Q. And so again, slide 3 is Mr.               14   combined. Right?
     15   Ottinger's slide. He says, "Given our journey of    15              MS. HILLYER: Objection to form.
     16   combining many RA groups into one, Teva             16              THE WITNESS: No. So I would say
     17   transformed the RA function to the following        17        still it's -- it's still the same. I
     18   overarching principles."                            18        mean, it's under one oversight and
     19              And he's talking about the,              19        leadership, but there's dark lines
     20   skipping down, the shared services and creating a   20        between the two. I mean, we don't
     21   global organization.                                21        interact with the brand group at all.
     22              Was that something that Mr.              22   BY MR. CRAWFORD:
     23   Ottinger felt like he had done with the company?    23        Q. It does say, "create shared
     24              MS. HILLYER: Objection, calls            24   services."


                                                                         29 (Pages 113 to 116)
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                                               Page 117                                              Page 118
      1              So are there shared services             1   center of excellence in Israel.
      2   between the two groups?                             2          Q. Do you know what that means, for
      3          A. So again, yes. Those are the              3   what -- you know, what was --
      4   shared services that we've previously spoken        4          A. I think it's stating that -- it's
      5   about and those are the ones that do the            5   stating that the growth market regulatory
      6   submissions to the FDA. It's only the regulatory    6   operations would be managed in Israel.
      7   operations that it's a shared service.              7          Q. Growth market, what does that
      8   Labeling -- the global labeling brand management    8   mean?
      9   is no longer a shared service.                      9          A. That means not US, not Europe.
     10          Q. Go to slide 4, second bullet             10   It's other countries.
     11   point. It says, "Create centers of excellence      11          Q. Developing type of countries?
     12   for efficiencies and harmonization."               12          A. Exactly.
     13              And then the third bullet point         13          Q. Page 8 kind of gives -- it says,
     14   below that is, "Create a GM COE in Israel."        14   "Today's focus." So it's got Mr. Ottinger at the
     15              What does that mean?                    15   top. It has global regulatory affairs. And then
     16          A. I'm not certain.                         16   they're talking about global generics and OTC.
     17          Q. What does COE stand for, do you          17              That's Mr. Banks, your boss.
     18   know?                                              18   Right?
     19          A. I'm not certain.                         19          A. Yes.
     20          Q. How about GM, global management?         20          Q. And global regulatory operations.
     21          A. I'm not certain. I don't know if         21   I think we talked about that. And then global
     22   it's global management or growth markets.          22   labeling and brand management. That's Ms.
     23              I believe, actually -- it's             23   Warner. Global intelligence and compliance,
     24   coming back to me. I think it's growth market      24   Terri Stewart.


                                               Page 119                                              Page 120
      1              I think we talked about Terri            1   it shared worldwide or both, or what does that
      2   Stewart.                                            2   mean?
      3              Where is she located?                    3              MS. HILLYER: Objection to form.
      4          A. So we have not previously spoken          4              THE WITNESS: It was shared
      5   about her.                                          5         between brand, generic and globally.
      6          Q. Okay. Is it she?                          6   BY MR. CRAWFORD:
      7          A. It's a she.                               7         Q. And then the next page, 9, global
      8          Q. And where is she located at this          8   regulatory affairs governance.
      9   time?                                               9              You've got senior VP global
     10          A. She was in Washington, DC.               10   regulatory affairs.
     11          Q. And did Mr. Buehler work                 11              Is that, at this time, Mr.
     12   underneath her in global intelligence or in        12   Ottinger, right, as the top of the pyramid?
     13   intelligence?                                      13         A. Yes.
     14          A. No. So Mr. Buehler would have            14         Q. And then the executive leadership
     15   retired by now.                                    15   team, it says, "L3 heads of functional areas (5),
     16          Q. I see.                                   16   plus HR and Finance Business Partners."
     17              Is Ms. Stewart still with the           17              Were you one of the five heads
     18   company?                                           18   they're referring to here?
     19          A. No.                                      19         A. No.
     20          Q. Has she been replaced?                   20         Q. Where do you fall on this
     21          A. No.                                      21   pyramid?
     22          Q. So what does it mean by regular          22         A. Senior leadership team.
     23   shared services between these three operations?    23         Q. Who were the five heads that you
     24   Is it shared between brands and generics, or is    24   recall at this time?


                                                                       30 (Pages 117 to 120)
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                                             Page 121                                                Page 122
      1        A. If you go back to page 8, it's              1         A. My slides begin on slide 28.
      2   those five people that are under James Ottinger.    2         Q. And go till when?
      3        Q. Got it.                                     3         A. And go to 42.
      4              Susan Franks, global branded             4         Q. Okay. Slide 21, can you -- I
      5   regulatory, where was she located?                  5   don't understand this slide. It says, from
      6        A. Yes. We spoke about her before.             6   multiple sites, then an arrow to main centers,
      7   She was in Frazer, Pennsylvania.                    7   and then it has a bunch of -- you know, looks
      8        Q. Go to page 13. It does say                  8   like factories there or something. And then two
      9   leadership team there.                              9   office buildings.
     10              Are they talking about the senior       10              Can you describe what this is
     11   leadership team in this chart here, from the       11   trying to convey here?
     12   chart on 9?                                        12         A. I didn't prepare this slide.
     13        A. This is describing the global              13              If you look at it in conjunction
     14   generic and OTC leadership team.                   14   with slide 20, it's talking about the growth
     15        Q. And are you part of this team?             15   market regulatory affairs team. It appears they
     16        A. Yes.                                       16   were split up between many sites and they created
     17        Q. And you're North American                  17   two main centers.
     18   generics here. Right?                              18         Q. Are any of these sites on the
     19        A. Yes.                                       19   left in the US?
     20        Q. Go to number -- page 21.                   20         A. I don't believe so.
     21              Can you describe what this              21         Q. CA, is that California?
     22   chart -- if you -- did you make any presentation   22         A. It could be Canada. I'm not
     23   off of these slides? Were any of these your        23   certain, though.
     24   slides, if you know?                               24         Q. Go to page 27.


                                             Page 123                                                Page 124
      1             It's global GNX, is that                  1         Q. Could it have been the regulatory
      2   generics?                                           2   intelligence function maybe?
      3         A. Yes.                                       3              MS. HILLYER: Objection.
      4         Q. And OTC summary.                           4   BY MR. CRAWFORD:
      5             OTC is over the counter.                  5         Q. Within the regulatory department?
      6   Correct?                                            6              MS. HILLYER: Objection, lack of
      7         A. Yes.                                       7         foundation, calls for speculation.
      8         Q. Looking down, it says, "Lobby,             8              THE WITNESS: I'm not certain.
      9   influence and establish Teva access and             9         The regulatory intelligence group wasn't
     10   credibility with Agencies and Governmental         10         under him, so I'm not sure why he would
     11   Organizations on regulation and policy working     11         have been speaking about this.
     12   closely with Teva Government Affairs." Bullet      12   BY MR. CRAWFORD:
     13   point, "Working with and coordinating Teva input   13         Q. Then 29, there's kind of a chart,
     14   with all relevant associations and stakeholders"   14   some type of organizational chart, head, NA
     15   and "Maximise Regional and Global collaboration    15   generics RA.
     16   with HA's."                                        16              Is that Mr. Ottinger again?
     17             What is HA?                              17         A. No.
     18         A. Health authorities.                       18         Q. Who was in that position?
     19         Q. All right. So what -- is this a           19         A. This is me.
     20   function -- one of the functions of one of the     20         Q. That's you. Okay.
     21   regulatory department divisions?                   21              So these -- down below is Irvine.
     22         A. I'm not certain. This was a               22              That's one of your manufacturing
     23   slide presented by Michael Banks, so I'm not       23   facilities. Right?
     24   certain what he was discussing here.               24         A. Yes.


                                                                        31 (Pages 121 to 124)
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                                             Page 125                                                 Page 126
      1         Q. And how does this Irvine facility           1   having regulatory function in those sites for
      2   relate to you in this chart?                         2   drugs that were sold in the US?
      3         A. Because if you see the steriles             3        A. So not necessarily.
      4   products?                                            4        Q. Right.
      5         Q. Yeah.                                       5        A. So what this means is that there
      6         A. So those are the sites that                 6   are products that are coming from these sites to
      7   support the sterile portfolio of products.           7   the US. There may or may not be regulatory
      8   Irvine is one of those sites. That's what I had      8   people at those sites. But if there's not
      9   mentioned earlier as well.                           9   regulatory people at those sites, then there's
     10         Q. Okay. And Haarlem, Zagreb and              10   regulatory people at this time either in
     11   Godollo.                                            11   Horsham -- actually, only in Horsham,
     12              Haarlem is in The Netherlands.           12   Pennsylvania, that would work with other
     13   Right?                                              13   functions to get the documents for those
     14         A. Yes.                                       14   submissions.
     15         Q. Zagreb in Croatia.                         15        Q. Got it.
     16              Where is Godollo?                        16              Page 30, "Regulatory Affairs --
     17         A. Godollo is in Bucharest.                   17   North American Generics." It says, under the
     18         Q. In where?                                  18   second bullet point, "Compliance was suffering
     19         A. Bucharest.                                 19   under previous models," including "Untimely
     20         Q. Bucharest, okay. Romania.                  20   submission of Annual Reports due to conflicting
     21              So these are manufacturing sites         21   priorities for pre and post."
     22   that -- where they had regulatory people that --    22             Were you aware of any untimely
     23   that made submissions to you or -- sorry.           23   submissions of annual reports that was occurring
     24              It's what you described about            24   under Teva's previous model?


                                             Page 127                                                 Page 128
      1         A. Yes. So there was an issue with             1   was becoming a focus area for FDA and a focus
      2   filing annual reports on time. That's what this      2   area for us to ensure that we maintain
      3   is discussing. So for FDA, the regulations           3   compliance.
      4   require you submit annual reports within 60 days.    4        Q. And was the FDA, was there ever
      5   And the team was having trouble meeting the          5   any kind of warning or enforcement or 483
      6   compliance to submit those annual reports within     6   observations with regard to Teva in particular
      7   60 days because the teams were not split for         7   and its submission of annual reports?
      8   pre-approval and post-approval. So they were         8        A. Not that I'm aware.
      9   trying to manage all the pre-approval and            9        Q. And wouldn't you feel this
     10   post-approval activities on the teams. And with     10   untimely submission was corrected, this issue?
     11   priorities, you know, and the thing that suffered   11   Or was it corrected?
     12   was filing the annual reports on time.              12        A. It was corrected. It was
     13         Q. And that's 60 days from the                13   corrected in 2014 time frame.
     14   anniversary date?                                   14        Q. And how was that corrected, by
     15         A. Yes. 60 days from the                      15   combining the pre and post?
     16   anniversary date of the approval.                   16        A. So by separating actually the pre
     17         Q. And what is the bullet point,              17   and post, and having a dedicated post-approval
     18   "FDA enforcement and 483 observations within        18   team that focused on submission of annual
     19   industry"? What was going on there with             19   reports.
     20   compliance suffering under the previous model?      20        Q. And again, who is in charge of
     21         A. So I was saying that I was aware           21   the post-submission function?
     22   of other companies receiving 483 observations       22        A. At that time?
     23   from FDA during inspections for not filing annual   23        Q. Just when you reorganized and put
     24   reports on time. So that's why I was saying it      24   somebody in charge.


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                                             Page 129                                                          Page 130
      1         A. It was several people. At one              1            THE WITNESS: Yes.
      2   point -- I mean, it changed from two to three       2              MR. CRAWFORD: That would be a
      3   people.                                             3       good breaking point then.
      4         Q. How about when it was in the               4            Why don't we just mark the next
      5   untimely submission phase, who was in charge of     5       two.
      6   that?                                               6                  - - -
      7         A. It was Robert Vincent. We                  7              (Deposition Exhibit No.
      8   covered him before on one of the org charts.        8       Teva-Tomsky-5, Email dated 7/27/2017,
      9         Q. Right. Thank you.                          9       Bates stamped TEVA_MDL_A_09019329 through
     10               MR. CRAWFORD: All right. That's        10       TEVA_MDL_A_09019333 and
     11         all I have on that.                          11       TEVA_MDL_A_09019546 through
     12               MS. HILLYER: So we've been going       12       TEVA_MDL_A_09019551, and Deposition
     13         about an hour. I was going to try to go      13       Exhibit No. Teva-Tomsky-6, Transmittal of
     14         till noon if that would be a good lunch      14       Advertisements and Promotional Labeling
     15         breaking spot or --                          15       for Drugs and Biologics for Human Use,
     16               MR. CRAWFORD: Yeah, I think --         16       Bates stamped TEVA_MDL_A_04342838 through
     17               MS. HILLYER: -- a quick document       17       TEVA_MDL_A_04342849, were marked for
     18         to start --                                  18       identification.)
     19               MR. CRAWFORD: Okay. Yeah.              19                  - - -
     20         Let's try -- I've got two documents. It      20   BY MR. CRAWFORD:
     21         might be pretty quick and then we'll go      21       Q.      So we marked Exhibits 5 and 6.
     22         into the next section.                       22              Let's go to 5 first.
     23               MS. HILLYER: Is that okay for          23            That would be -- it looks like an
     24         you?                                         24   email from Penny Levin to a number of people,


                                             Page 131                                                          Page 132
      1   including Mr. Tomsky here, dated July 27, 2017.     1              Do you see that?
      2             The subject is "Comments to the           2         A. Yes.
      3   Docket FDA Hatch Waxman Amendments."                3         Q. And are these -- do these take
      4             Ms. Levin writes, "Hello All,             4   place on a pretty regular basis, these global
      5   Below please find the presentations given by        5   meetings?
      6   Andy, Gregg, and Scott. Also find attached are      6              MS. HILLYER: Objection to form.
      7   the materials that were presented at the meeting    7              THE WITNESS: So it's not
      8   combined into one document."                        8         necessarily a global meeting. This is
      9             I have put on here -- you'll              9         the conference call service that Teva
     10   notice some document skip. And just to avoid       10         utilizes to have conference calls. It's
     11   chopping down a million trees, I put on just the   11         just called global meetings.
     12   three presentations by Andy, Gregg and Scott on    12   BY MR. CRAWFORD:
     13   the back, just to be selective here, but the       13         Q. Generally it's got listed here a
     14   email is reproduced here in its entirety.          14   bunch of dial-in numbers for all across the
     15             Do you recall these talking              15   world, including the US and other countries.
     16   points or presentations?                           16              Was the intention for kind of all
     17        A. Yes.                                       17   the regulatory people on this call to dial in
     18        Q. And what was the presentation              18   that can make the call? Or, I mean, what was the
     19   for?                                               19   intention here?
     20        A. So this was an FDA public hearing          20         A. No, no. So --
     21   on advancing generic access and overcoming         21              MS. HILLYER: Objection to form.
     22   barriers to generic competition.                   22              THE WITNESS: Sorry.
     23        Q. And it looks like on the next              23              MS. HILLYER: Go ahead.
     24   page, there's a GlobalMeet invite web meeting.     24              THE WITNESS: So no. I mean,


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                                             Page 133                                                Page 134
      1         again, this is just the standard service      1   charge of bioequivalent studies.
      2         that Teva uses for conference calls. It       2         Q. And where was he based?
      3         sends out all these numbers for every         3         A. He's currently based in
      4         meeting, whether or not there's people in     4   Parsippany, New Jersey.
      5         those countries that are calling into the     5         Q. How about at this time, where was
      6         call. But only the people who are             6   he based? US?
      7         invited can call in, will have the access     7         A. US.
      8         numbers.                                      8         Q. Okay. And then he writes, kind
      9   BY MR. CRAWFORD:                                    9   of about a little over midway through that one
     10         Q. I see.                                    10   sentence paragraph, "The other topic I want to
     11              So this was sent out just to the        11   highlight here today is the need for definitive
     12   people on the July 19th 5:20 p m. email to         12   criteria for the approval of generic AD opioids."
     13   participate in this. Right?                        13              Is that abuse-deterrent opioids?
     14         A. Right. Because you never know             14         A. Yes.
     15   where any of these people are at any one time.     15         Q. And did you have any involvement
     16   They could be traveling in any one of these        16   at all in anything with regard to abuse-deterrent
     17   countries and need to dial in and access it. So    17   opioids?
     18   that's why the numbers are circulated.             18              MS. HILLYER: Objection to form.
     19         Q. I get it.                                 19              THE WITNESS: Can you clarify
     20              So let's go to a Mr. Gregg              20         your question?
     21   DeRosa's presentation?                             21   BY MR. CRAWFORD:
     22              What was Mr. DeRosa's position at       22         Q. Are you familiar with
     23   this time?                                         23   abuse-deterrent opioids and what they are?
     24         A. Generally speaking, he's in               24         A. Yes.


                                             Page 135                                                Page 136
      1       Q. And did Teva develop any                     1         Q. Got it.
      2   abuse-deterrent opioids?                            2         A. So I had no -- my team had no
      3       A. Yes.                                         3   responsibility for that.
      4       Q. And did they get approval for any            4         Q. All right. But here they're
      5   abuse-deterrent opioids?                            5   talking about generic abuse-deterrent opioids.
      6       A. I'm not certain. I'm on the                  6             Was Teva developing generic
      7   generic side, I'm not certain.                      7   abuse-deterrent opioids at this time?
      8       Q. How about brand?                             8         A. I believe so, yes.
      9       A. I believe so.                                9         Q. And had they submitted an
     10       Q. And that's Vantrela?                        10   application for any abuse-deterrent opioids?
     11       A. Yes.                                        11         A. I believe so, yes.
     12       Q. And the company decided not to              12         Q. Have any been approved or were
     13   market Vantrela. Right?                            13   any approved at this time?
     14       A. Yes, that's my understanding.               14         A. I'm not certain. Again, we --
     15       Q. You don't know why they didn't              15   actually, I haven't said this, but we have a huge
     16   market it?                                         16   portfolio of products. I mean, we have more than
     17       A. I have no idea.                             17   1,300 approved applications, we have more than
     18       Q. But they got approval for it.               18   250 pending applications. So I'm not certain in
     19   Right?                                             19   this time period -- and even now, honestly, if --
     20       A. That's my understanding.                    20   what's approved and not approved, if it's an
     21       Q. That was run through your                   21   abuse-deterrent opioid.
     22   department. Right?                                 22         Q. Were there any issues with having
     23       A. That's not correct. That was                23   definitive criteria on getting abuse-deterrent
     24   managed on the specialty side, the branded side.   24   opioids approved? And if so, what were the


                                                                        34 (Pages 133 to 136)
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                                              Page 137                                                Page 138
      1   issues?                                              1   page, page 548 is your presentation. Correct?
      2         A. Yeah, I think FDA continues to              2         A. Yes. It wasn't a presentation.
      3   update its requirements and regulations. It          3   It was just a talk.
      4   publishes guidances on, you know, what is            4         Q. So is this something that you
      5   required to be submitted. But there's really a       5   just read into the record when you were at the
      6   lack of clarity in terms of what the equivalent      6   meeting?
      7   criteria are for these.                              7         A. Yes.
      8              So I think that's what Gregg is           8         Q. And just briefly describe to me
      9   discussing in his topic here.                        9   what GDUFA II is.
     10         Q. So it's like if there's a brand            10         A. GDUFA stands for generic drug
     11   and they have an abuse-deterrent property, the      11   user fee amendments. And GDUFA II is the second
     12   question is, is what are the criteria for a         12   five-year period of the generic drug user fee.
     13   generic trying to have a similar abuse deterrent    13         Q. And briefly describe what GDUFA
     14   property that would allow it to be approved.        14   is.
     15              Is that kind of the issue?               15         A. So GDUFA has to do with the FDA's
     16              MS. HILLYER: Objection to form.          16   collection of fees for applications that are
     17              THE WITNESS: So FDA requires the         17   submitted for running the generic regulatory
     18         generic to behave the same as the brand,      18   process. So FDA receives appropriations from the
     19         but it's not certain in terms of, well,       19   government, but then those appropriations are
     20         how similar is similar enough. So I           20   supplemented by fees. And it's not only on the
     21         think that's what Gregg was talking to in     21   generic side, but the generic user fees are
     22         his discussion.                               22   fairly new versus the specialty or branded user
     23   BY MR. CRAWFORD:                                    23   fees.
     24         Q. All right. And then the next               24         Q. So in exchange for the generics


                                              Page 139                                                Page 140
      1   paying these fees, part of the GDUFA, I don't        1   would reduce the cost of medicines and improve
      2   know, guidelines or regulations are that FDA has     2   the speed and accuracy of information for
      3   certain performance goals as well to speed the       3   patients. These paper labels are a waste of our
      4   process along; is that correct?                      4   time and resources. More often than not they are
      5         A. Right. The fees are to                      5   discarded by our customers and never reviewed in
      6   supplement appropriations. So FDA agreed to          6   their paper form by their intended audience,
      7   review applications within a certain time frame.     7   physicians."
      8   And then they could either issue a deficiency or     8              Is that an accurate statement, in
      9   an approval, depending on the quality of the         9   your view?
     10   information in that filing.                         10          A. I'm not certain.
     11         Q. And when it was passed, it was a           11          Q. So when Teva ships a product, a
     12   five-year timetable. And then GDUFA II means        12   generic product, it generally is shipped to
     13   that they were trying to or did get it renewed      13   where, a wholesale distributor or a pharmacy, do
     14   for five years?                                     14   you know that end of it?
     15         A. That's correct.                            15          A. I'm not involved in that part of
     16         Q. And was it renewed?                        16   it, I'm not certain where it actually goes.
     17         A. Yes.                                       17          Q. Let's go to Exhibit 6, please.
     18         Q. Then the last one, presentation,           18              MS. HILLYER: Do you just limit
     19   is an Andy Boyer.                                   19          it? Because we're near -- we've been
     20             He talks on the second to last            20          going an hour and a quarter.
     21   paragraph about "Take" the example -- "for          21              MR. CRAWFORD: Very limited.
     22   example the requirement to provide paper labeling   22          Probably less than five minutes.
     23   and inserts with our medicines. Modernizing the     23              PHONE SPEAKER: Before we move on
     24   labeling regulations to allow for e-labeling        24          to Exhibit 6, could you just tell us the


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                                                      Page 141                                            Page 142
      1        Bates number for Exhibit 5?                        1         A. It appears so.
      2             MR. CRAWFORD: Okay. 5 was --                  2         Q. And this is -- somebody signed
      3             MS. HILLYER: Well, it's a                     3   this, Jamie Warner, it looks like, for you.
      4        compilation.                                       4   Right?
      5             MR. CRAWFORD: --                              5         A. Yeah. So Jamie is the person we
      6        TEVA_MDL_A_09019329. And then a portion            6   covered earlier, who is in charge of brand
      7        of the attachment to that letter,                  7   labeling and management.
      8        starting at Bates number, same prefix but          8         Q. Right. Have you signed any of
      9        ending with 19546. And then moving to              9   these personally?
     10        the end of that document.                         10         A. No.
     11             PHONE SPEAKER: Thank you.                    11         Q. Why does she sign for you? Why
     12   BY MR. CRAWFORD:                                       12   doesn't she just sign for her?
     13        Q.    If I can go briefly on this.                13         A. I have the same question,
     14             So here, this is a "Transmittal              14   honestly. I'm not sure, because I had no
     15   of Advertisements and Promotional Labeling for         15   involvement in it whatsoever.
     16   Drugs and Biologics for Human Use."                    16         Q. So -- but this is the convention
     17             When you have an advertising or              17   graphic attached to it here that was submitted
     18   promotional piece even for generics, you're            18   with this. Right?
     19   required, as a company, to submit that to the          19         A. It appears to be.
     20   FDA. Correct?                                          20         Q. And then there's a label for the
     21        A.    Yes.                                        21   product as well. Right?
     22        Q.    And this is a convention graphic            22         A. Yes.
     23   for a product hydromorphone HCI injection USP          23         Q. Okay. And on the back of the
     24   CII. Correct?                                          24   label, it says, kind of the second to last


                                                      Page 143                                            Page 144
      1   paragraph, under "Storage: Protect From Light,"         1   that product -- primarily, that's who I would go
      2   it says, "A Schedule Class II Narcotic. DEA             2   to.
      3   order form required." It says, "Manufactured by:        3         Q. So there are people on your
      4   Hospira, Inc.," but then it says, "Manufactured         4   team -- when you say primarily responsible, are
      5   For: Teva Parenteral Medicines...Irvine,                5   these people in your location or are these people
      6   California."                                            6   at the manufacturing site that --
      7              Do you have any idea why Hospira             7         A. It could be either/or.
      8   is manufacturing this for Teva Parenteral?              8         Q. All right.
      9         A. I'm not certain.                               9              MR. CRAWFORD: That's all I have
     10         Q. Did Teva Parenteral, was this --              10         for this line of questioning, so we can
     11   were they the ANDA holder for this drug?               11         take a break for lunch.
     12         A. I'm not certain. I'd have to                  12              MS. HILLYER: Okay.
     13   look at the ANDA.                                      13              THE VIDEOGRAPHER: Going off the
     14         Q. If you wanted to look at the                  14         record at 12:04.
     15   ANDA, how would you go about doing that?               15                   - - -
     16         A. So they're stored on a shared                 16              (A luncheon recess was taken from
     17   drive within our network. And I would pull open        17         12:04 p m. to 12:38 p m.)
     18   the application, I would look on a 356H form,          18                   - - -
     19   which lists the applicant.                             19              (Deposition Exhibit No.
     20         Q. And if you wanted to look at the              20         Teva-Tomsky-7, Approval Package for:
     21   approval letter for a product, how would you go        21         Application Number: 76-168, 171 pages,
     22   about finding that?                                    22         was marked for identification.)
     23         A. I would ask someone on my team to             23                   - - -
     24   find it, either the person who is responsible for      24              THE VIDEOGRAPHER: We are back on



                                                                            36 (Pages 141 to 144)
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                                             Page 145                                                           Page 146
      1         the record at 12:38.                           1   chart in 2013. Right?
      2   BY MR. CRAWFORD:                                     2        A.    Yes.
      3         Q. Okay. We marked the next                    3        Q.    And then Mr. Buehler, who is at
      4   exhibit, Exhibit 7, which is "Approval Package       4   the FDA here, you had mentioned he moved from the
      5   for: Application Number: 76-168, Generic Name:       5   FDA to Teva.
      6   Oxycodone Hydrochloride Extended-release Tablets,    6             He was on that same org chart.
      7   80 milligrams, Sponsor: TEVA Pharmaceuticals         7   Right? That org chart. Right?
      8   USA, Approval Date: March 23, 2004."                 8        A.    Yes.
      9              Now, this was an approval                 9        Q.    So this is -- it says, "This is
     10   package. There's no Bates number. It's              10   in reference to your abbreviated new drug
     11   something that we pulled off the FDA website.       11   application (ANDA) dated May 8, 2001, submitted
     12              So that is where this comes from.        12   pursuant to Section 505(j) of the Federal Food,
     13              But if we could take a look here.        13   Drug, and Cosmetic Act (the Act), for Oxycodone
     14              Moving to the approval letter,           14   Hydrochloride Extended-release Tablets,
     15   which is page 4, if you could go to that, it's      15   80 milligrams."
     16   dated March 23, 2004. That's a stamped date at      16             Are you -- and you could maybe
     17   the top. And it's a letter from Teva                17   take a look at Exhibit 2.
     18   Pharmaceuticals -- or to Teva Pharmaceuticals,      18             Is this a product that Teva still
     19   USA, attention Philip Erickson. And it's signed     19   sells or markets right now, or at least as of
     20   by Gary Buehler, director, Office of Generic        20   2016, Teva's chart?
     21   Drugs.                                              21             MS. HILLYER: Objection to the
     22              So this, again, we talked about          22        extent it calls for speculation and lack
     23   Mr. Erickson.                                       23        of foundation.
     24              He was at the company in that org        24             THE WITNESS: Yeah. Even if I


                                             Page 147                                                           Page 148
      1        looked at Exhibit 2, I don't know if it's       1   ANDA 76-168, oxycodone hydrochloride extended
      2        currently being manufactured or not.            2   release tablets, 80 milligram.
      3        Again, Teva has a vast portfolio of             3              You would agree with me that the
      4        products, over 1,000, close to 1,300            4   approval is at least for some type of generic
      5        approved applications, so I'm not sure          5   OxyContin. Right?
      6        which ones are actively being marketed or       6         A. The approval is for generic
      7        not.                                            7   OxyContin, 80 milligrams.
      8   BY MR. CRAWFORD:                                     8         Q. Right. And then do you know if
      9        Q. All right. Well, go to page 8.               9   it's one of these two referenced in this chart,
     10   And you'll agree with me there does appear --       10   the first one showing prescriptions starting in
     11             MS. HILLYER: Of exhibit?                  11   2015 and then continuing into 2016, the second
     12             MR. CRAWFORD: Of Exhibit 2, I'm           12   one just in 2016?
     13        sorry.                                         13         A. I have no idea.
     14             MS. HILLYER: Give him a second.           14         Q. Okay. All right. Are you aware
     15   BY MR. CRAWFORD:                                    15   that Teva, prior to this date, that Teva had a
     16        Q. It's the chart of drugs. Page 8,            16   generic OxyContin approved?
     17   the top two.                                        17         A. Prior to when?
     18             You agree with me that this chart         18         Q. Prior to today.
     19   says -- reflects, "Oxycodone Hydrochloride          19         A. Yes.
     20   Extended-Release tablets (Generic OxyContin)."      20         Q. And were you aware prior to
     21             The first two boxes state that.           21   reviewing the chart yesterday that Teva had a
     22   Correct?                                            22   generic OxyContin product?
     23        A. Yes.                                        23         A. Approved?
     24        Q. And then this approval is for               24         Q. Yeah. Approved, yeah.


                                                                          37 (Pages 145 to 148)
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                                             Page 149                                                           Page 150
      1         A. Yes.                                        1         Q. And then volume is above that.
      2         Q. What is your understanding of               2   Scripts. And I assume that that type of number
      3   when that product -- this shows an approval in       3   is being carried over. Certainly it isn't market
      4   2004, Exhibit 7. Correct?                            4   share. It looks to me like script volume but,
      5         A. Yes.                                        5   you know, that's how I interpret it.
      6         Q. And then Exhibit 2 has -- is                6              Do you interpret it that way?
      7   referencing the sales of prescriptions in -- just    7         A. I'm not certain.
      8   in 2015 and 2016 for those top two boxes. Right?     8         Q. So do you have any recollection
      9              MS. HILLYER: Same objections.             9   of the generic OxyContin and whether that was
     10   BY MR. CRAWFORD:                                    10   marketed prior to 2015?
     11         Q. I'm looking at page 8.                     11         A. Yeah, I mean, I am not certain.
     12         A. Right. But I am looking at page            12   Again, we have over 1,300 approved products. And
     13   2 to understand what the chart is. It says          13   I don't get involved in the details of every
     14   "Script volume and share of Teva products           14   product.
     15   relative to all opioids."                           15         Q. I understand.
     16              So again, I'm not certain. I             16              But I'm just wondering if you
     17   didn't prepare these charts. I'm not -- I didn't    17   have any knowledge or recollection of what was
     18   see them before yesterday, so I don't know what     18   happening with generic OxyContin and whether it
     19   these numbers are, other than script volume, I      19   was being marketed or couldn't be marketed or
     20   guess. I don't see where share is.                  20   anything at all?
     21         Q. Well, share would be in that --            21         A. No, nothing that stands out in my
     22   in the charts on 1 and 2. It says, "Teva CII        22   memory.
     23   opioid share." And there's a percent.               23         Q. Sure. And that's all I want to
     24         A. Okay.                                      24   get, is just your memory.


                                             Page 151                                                           Page 152
      1         A. Yeah. I'm not certain.                      1        Q.    But at least a generic product,
      2         Q. If you don't, that's perfectly              2   you've heard of a court stopping the marketing.
      3   okay.                                                3   Right?
      4         A. Right.                                      4        A.    Yes.
      5         Q. So moving on with the letter,               5        Q.    Even though it's FDA approved.
      6   have you ever seen this approval letter before?      6   Right?
      7         A. This specific one, no, not that I           7        A.    Yes.
      8   recall.                                              8        Q.    And that might be because there's
      9         Q. How about one for generic                   9   some kind of patent dispute or a dispute about
     10   OxyContin, have you ever seen an approval letter    10   whether Teva could legally market it and not
     11   for that?                                           11   infringe on the rights of a brand or another
     12         A. Not that I recall.                         12   manufacturer?
     13         Q. So it does say on the third                13        A.    Yes.
     14   paragraph, the application is approved.             14        Q.    So going to page 3 of the letter,
     15             And so once an application is             15   the second paragraph there, starting with, "TEVA
     16   approved -- I guess unless there's a court          16   is eligible for 180-day generic drug exclusivity
     17   injunction or something like that, Teva is free     17   for Oxycodone Hydrochloride Extended-release
     18   to market the product. Right?                       18   Tablets, 80 milligram, as provided for under the
     19         A. Yes.                                       19   Drug Price Competition and Patent Term
     20         Q. Have you ever heard of a court             20   Restoration Act of 1984 (Hatch-Waxman Amendments)
     21   injunction or something preventing Teva from        21   in Section 505(j)(5)(B)(iv) of the Act. This is
     22   marketing an FDA-approved generic opioid?           22   because the agency has concluded that TEVA was
     23         A. An opioid specifically, I'm not            23   the first ANDA applicant to submit a
     24   certain.                                            24   substantially complete ANDA for Oxycodone



                                                                             38 (Pages 149 to 152)
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                                              Page 153                                                 Page 154
      1   Hydrochloride Extended-release Tablets, 80           1   the brand would also sell an authorized generic,
      2   milligram, containing paragraph IV certifications    2   but you could be on the market for a period of
      3   to each patent listed in the "Orange Book." This     3   six months before any other generic applicants
      4   exclusivity will begin to run from the date TEVA     4   can get approved.
      5   begins commercial marketing of the drug product,     5         Q. And that's a competitive
      6   or upon the decision of a court holding the          6   advantage in the generic world, to have the
      7   patents which were the subjects of the paragraph     7   180-day exclusivity. Right?
      8   IV certifications to be invalid or not infringed;    8              MS. HILLYER: Objection to form.
      9   whichever occurs first."                             9              THE WITNESS: 180-day exclusivity
     10              And then moving down, second             10         is very important in the generics.
     11   paragraph, the second line, "The Agency expects     11   BY MR. CRAWFORD:
     12   that you will begin commercial marketing of this    12         Q. And why is that?
     13   drug product in a prompt manner."                   13         A. Because it's an opportunity to be
     14              So can you explain what this             14   on the market without any other generic
     15   180-day generic drug exclusivity is that's been     15   competition, other than possibly an authorized
     16   granted here?                                       16   generic by the brand.
     17         A. Sure. So for generic applicants,           17         Q. An authorized generic meaning one
     18   if you are the first generic applicant to file an   18   that the brand is allowing another manufacturer
     19   ANDA, and if FDA receives that application          19   to make it but as a generic. Right?
     20   wherein you are challenging patents that are        20         A. Not necessarily. So it's -- an
     21   listed in the Orange Book, if you are able to       21   authorized generic is when the brand in essence
     22   obtain approval, then you can potentially have a    22   packages its product and puts the label of
     23   period of 180-day generic exclusivity where you,    23   another generic applicant on it.
     24   as an ANDA applicant and the brand, and typically   24              So another generic company isn't


                                              Page 155                                                 Page 156
      1   manufacturing it.                                    1              That's because you would assume,
      2         Q. Right.                                      2   wouldn't you, that that then triggers the 180-day
      3         A. The brand manufactures it and               3   period once you start marketing. Right?
      4   uses the label for another generic company.          4              MS. HILLYER: Objection to form.
      5         Q. Okay. So the authorized generic             5              THE WITNESS: Can you repeat your
      6   is the company that it uses.                         6         question, please?
      7             Is there a separate application            7   BY MR. CRAWFORD:
      8   process to be an authorized generic --               8         Q. Yeah.
      9         A. No.                                         9              Is -- the FDA wants Teva to begin
     10         Q. -- or can you just adopt the               10   marketing the drug promptly.
     11   brand one?                                          11              Is that because, in your view and
     12         A. It's all managed under the brand           12   expertise in the area of regulatory affairs, that
     13   NDA.                                                13   that's triggering the 180-day period. Right?
     14         Q. Do you know if Teva -- is Teva an          14              MS. HILLYER: Objection to form.
     15   authorized generic for any generic drugs that you   15              THE WITNESS: My understanding is
     16   know of?                                            16         that is because it would trigger the
     17         A. Yes.                                       17         exclusivity period to start to run.
     18         Q. So do you know if Teva is an               18   BY MR. CRAWFORD:
     19   authorized generic for any opioid products?         19         Q. Right. The goal of this is to
     20         A. I'm not certain.                           20   incentivize drug companies to -- the exclusivity
     21         Q. So with this exclusivity, it does          21   is to incentivize drug companies to challenge
     22   say, "The Agency expects you will begin             22   patents and get cheaper generics on the market,
     23   commercial marketing of this drug product in a      23   and in return the FDA or the regulations grant
     24   prompt manner."                                     24   this exclusivity period for the successful


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                                              Page 157                                                 Page 158
      1   manufacturer. Correct?                               1   successfully manufacture the product and have the
      2         A. So the goal of this is to bring             2   proper controls in place.
      3   safe, affordable, high quality, lower cost           3         Q. Right. But any manufacturer can
      4   generics to the market and increase competition      4   make that attempt at that point in time to get
      5   in the marketplace.                                  5   approval, right, after the 180 days is up?
      6         Q. By -- increase competition by               6         A. Yes.
      7   bringing in a generic product where previously       7         Q. So then moving to the top of the
      8   there has only been a brand?                         8   last page. It says, "Post-marketing reporting
      9         A. Right. But only if they                     9   requirements for this abbreviated application are
     10   challenge patents and are able to bring the         10   set forth in 21 CFR 314.80-81 and 314.98. The
     11   product to market before those patents expire.      11   Office of Generic Drugs should be advised of any
     12         Q. Right. Then after 180 days,                12   change in the marketing status of the drug."
     13   presumably any company can issue a generic          13              So in your view, is Teva, when it
     14   version of a drug after 180 days. Right?            14   gets an ANDA approval by the FDA, that it must
     15         A. Not any company. You would have            15   adhere to the reporting requirements of Sections
     16   to submit an application to the FDA and FDA would   16   314.80 to 81 and 314.98?
     17   have to find it, you know, approvable.              17              MS. HILLYER: Objection to form.
     18         Q. Right. Approvable meaning it's             18              THE WITNESS: Yes. So yes. I'm
     19   bioequivalent. Right?                               19         not certain what is specifically stated
     20         A. Correct.                                   20         in these sections of the CFR without
     21         Q. And the same label, too?                   21         looking at them, but yes, this is what I
     22         A. But it's not only bioequivalent,           22         spoke to earlier about ensuring
     23   but yes. It has to have the same label. It has      23         compliance and filing annual reports, as
     24   to be -- you have to show that you can              24         well as the pharmacovigilance team filing


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      1        adverse event reports and what have you.        1   BY MR. CRAWFORD:
      2   BY MR. CRAWFORD:                                     2        Q. So while we're marking this,
      3        Q. Right. And that's what 80 and 81             3   we've marked Exhibit 8, 9 and 10, which are the
      4   do, one is dealing with pharmacovigilance            4   three sections mentioned. And Section 8 is
      5   reporting and the other is annual reporting.         5   314.80. Exhibit 9 is 3. -- 314.81.
      6   Right?                                               6             These are kind of dense, but, I
      7        A. I'm not certain.                             7   mean, you're head of regulatory, you're familiar
      8             MS. HILLYER: Objection to form.            8   with these provisions generally. Right?
      9             THE WITNESS: I'm sorry.                    9        A. Yes.
     10   BY MR. CRAWFORD:                                    10        Q. And 314.80, correct me if I'm
     11        Q. I've got them here. Let's mark              11   wrong, concerns -- you'll agree with me, it
     12   them and just confirm them.                         12   concerns reporting adverse events, say 15-day
     13                - - -                                  13   reports, and then quarterly and eventually annual
     14             (Deposition Exhibit No.                   14   reports on adverse events. Right?
     15        Teva-Tomsky-8, Code of Federal                 15             MS. HILLYER: Hold on one second.
     16        Regulations Title 21, Section 314.80, 6        16             I have -- my 8 and 10 are the
     17        pages; Deposition Exhibit No.                  17        same.
     18        Teva-Tomsky-9, Code of Federal                 18             Are yours different?
     19        Regulations Title 21, Section 314.81, 8        19             THE WITNESS: No, they're
     20        pages; and Deposition Exhibit No.              20        different.
     21        Teva-Tomsky-10, Code of Federal                21             MS. HILLYER: So my 8 is section
     22        Regulations Title 21, Section 314.98, 4        22        80.
     23        pages, were marked for identification.)        23             MR. CRAWFORD: Right. That's
     24                - - -                                  24        correct.


                                                                         40 (Pages 157 to 160)
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      1             MS. HILLYER: 9 is 81.                      1              You tell me, but I think you have
      2             MR. CRAWFORD: That's correct.              2         two copies right there.
      3             MS. HILLYER: I must have -- I              3              MR. CRAWFORD: Oh. That would
      4        just have a duplicate.                          4         explain it.
      5             THE WITNESS: You don't have a              5              THE WITNESS: I have two copies,
      6        10.                                             6         too.
      7             MS. HILLYER: I don't have a 10.            7              MS. HILLYER: The actual exhibit
      8             MR. CRAWFORD: Do you have 10?              8         is two copies, too, so do you want --
      9             MS. HILLYER: No.                           9         just for the record.
     10             THE WITNESS: No.                          10              MR. CRAWFORD: Okay.
     11             MR. JENSEN: So you're missing             11              MS. HILLYER: Thank you. You
     12        98?                                            12         gave me yours.
     13             MS. HILLYER: Yes.                         13              Do you care?
     14             MR. CRAWFORD: We'll throw it up           14              MR. CRAWFORD: No, I don't.
     15        on the board and blow it up. And you can       15   BY MR. CRAWFORD:
     16        have my copy.                                  16         Q. So -- and then 314.81 is a
     17             MS. HILLYER: This is yours?               17   different type of report that has to be
     18             MR. CRAWFORD: Yes.                        18   submitted.
     19   BY MR. CRAWFORD:                                    19              That's the annual report. Right?
     20        Q. So Exhibit 8, 314.80, dealing               20         A. 314.81 talks about NDA field
     21   with periodic reporting and 15-day reports of       21   alert reports, as well as annual reports.
     22   adverse events. Correct?                            22         Q. All right. So down at the bottom
     23             MS. HILLYER: Is it just a                 23   of the first page, annual reports, so it's your
     24        two-pager?                                     24   understanding that that's separate from the


                                              Page 163                                                 Page 164
      1   reports that are submitted with regard to 314.80.    1         A. So I can tell you, not
      2   Right?                                               2   necessarily.
      3        A. Yes.                                         3             So if you look in 314.81(2)(vi),
      4        Q. And does Teva, is it its practice            4   for example, it talks about clinical data and (v)
      5   to submit both the periodic and 15-day reports in    5   talks about nonclinical data. That information
      6   314.80, and also submit separately the annual        6   isn't submitted in an ANDA annual report.
      7   reports called for in 314.81?                        7         Q. All right. So that's starting on
      8        A. Yes.                                         8   page 3, about three paragraphs down. Right?
      9        Q. And then 314.98 I think is a                 9         A. Yes.
     10   provision that indicates both .80 and .81 are       10         Q. So that's something that is not
     11   applicable to ANDA holders or generics. Right?      11   generally submitted within a generic annual
     12   And we're looking at Exhibit 10.                    12   report. Right?
     13        A. Yes.                                        13         A. Correct. And even -- yes, yep.
     14        Q. All right. So let's look at                 14   Those two, (v) and (vi).
     15   Exhibit 9, which is the annual reports.             15         Q. But above that, are there any --
     16             And this is applicable to both            16   the provisions above that are applicable to
     17   generic and brand manufacturers, this section.      17   generics and brands. Right?
     18   Right?                                              18         A. Distribution data, summary,
     19        A. Which section?                              19   labeling. Distribution talks about authorized
     20        Q. 314.81.                                     20   generics, so I guess there could be a case where
     21        A. But which section?                          21   a generic is allowing another manufacturer to
     22        Q. Well, the entire section.                   22   distribute a generic under their label.
     23             Both brands and generics have to          23         Q. Good point.
     24   comply with the provisions of 314.81. Right?        24         A. I think it's very rare, but...


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                                              Page 165                                                 Page 166
      1         Q. Okay. So you're saying (ii)(b)              1              Is there -- they might have an
      2   might not apply to all generics. It certainly        2   ANDA for the same drug, just simply be an
      3   doesn't apply to a brand. It's just a section        3   authorized generic because the brand is making it
      4   applicable to an authorized generic. Right?          4   for that generic company?
      5         A. Well, it would -- it would apply            5         A. I'm not sure I understand what
      6   to a brand.                                          6   you just said.
      7         Q. Okay.                                       7         Q. All right. I'm just -- you were
      8         A. And I guess some generics may               8   talking about another generic manufacturer under
      9   choose to distribute or allow another company to     9   an ANDA that's for an authorized generic. I
     10   distribute under their ANDA. I'm sure it            10   didn't understand that.
     11   happens.                                            11         A. So we spoke about an authorized
     12         Q. So when you have -- when you have          12   generic as it relates to an NDA, how they would
     13   an authorized generic, do you have to have an       13   maybe supply the product to a generic company and
     14   ANDA number for the authorized generic drug that    14   a generic company would give the brand company
     15   you distribute, or do you just go under the NDA     15   its label to put on the NDA product. So it would
     16   number of the brand?                                16   be sold as an authorized generic. Correct?
     17         A. So if you have an authorized               17         Q. Right.
     18   generic that's being distributed under an NDA, it   18         A. So then there's another case that
     19   would all be associated with that NDA number.       19   I can foresee where an ANDA holder --
     20   But I'm saying I can foresee an example of when     20         Q. Of what?
     21   an ANDA applicant also may choose, for some other   21         A. I'm sorry?
     22   reason, to allow another manufacturer to            22         Q. An ANDA holder of what?
     23   distribute under the ANDA an authorized generic.    23         A. Of any product.
     24         Q. So I'm trying to understand.               24         Q. Okay.


                                              Page 167                                                 Page 168
      1         A. Say -- I don't know, say                    1   Administration at the specified time two copies
      2   ibuprofen, for example. Say I, Scott Tomsky,         2   of the following reports."
      3   have an ANDA for ibuprofen. I may choose to say,     3              And skipping down to the bottom
      4   hey, here you go. If you want to put your label      4   of page 1 to 2, "Annual report." It says, "The
      5   and distribute product under my ANDA, so that        5   applicant shall submit each year within 60 days
      6   could technically be an authorized generic as        6   of the anniversary date of U.S. approval" --
      7   well.                                                7   again, that was the 60 days you referenced
      8         Q. So a generic authorizing another            8   earlier. Right?
      9   generic company to make its product under its        9         A. That's correct.
     10   ANDA?                                               10         Q. -- "of the application, two
     11         A. So again, that other company               11   copies of the report to the FDA division
     12   wouldn't make the product, it would just simply     12   responsible for reviewing the application. Each
     13   put its label on the product that's being made      13   annual report is required to be accompanied by a
     14   under the ANDA.                                     14   completed transmittal Form FDA 2252 (Transmittal
     15         Q. Got it.                                    15   of Periodic Reports for Drugs for Human Use), and
     16              Okay. Going back to 314.81,              16   must include all the" relevant "information" --
     17   "Applicability."                                    17   "all the information required under this section
     18              It says, "Each applicant shall           18   that the applicant received or otherwise obtained
     19   make the reports for each of its approved           19   during the annual reporting interval that ends on
     20   applications and abbreviated applications           20   the U.S. anniversary date. The report is
     21   required under this section and Section 505(k) of   21   required to contain in the order listed," colon.
     22   the act."                                           22              So the first item is "Summary."
     23              (b) is "Reporting requirements.          23   And it's required to provide "A brief summary of
     24   The applicant shall submit to the Food and Drug     24   significant new information from the previous


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      1   year that might affect the safety, effectiveness,    1         Q. What if the ANDA holder becomes
      2   or labeling of the drug product. The report is"      2   aware that its generic drugs are being abused or
      3   require -- "also required to contain a brief         3   misused, say in the case of an opioid, during
      4   description of actions the applicant has taken or    4   that one-year period, and that maybe the label
      5   intends to take as a result of this new              5   isn't -- and the doctors aren't properly
      6   information."                                        6   prescribing the drug.
      7             So are your annual reports as,             7              Is that something that you feel
      8   again, a business practice, do they contain this     8   Teva would be required to put into its annual
      9   summary that's just described in subdivision (i)?    9   report?
     10         A. So an ANDA annual report will              10              MS. HILLYER: Objection to form.
     11   contain a summary of new information related to:    11              THE WITNESS: Can you break down
     12   If there was any changes to the approved            12         your question for me, please?
     13   specification, if there was changes to any of the   13   BY MR. CRAWFORD:
     14   manufacturing batch records, if there was a         14         Q. Okay. So let's say Teva became
     15   supplement that was filed maybe to add another      15   aware during that annual period that, say, its
     16   API source that we talked about. Anything like      16   generic OxyContin was being misprescribed and
     17   that.                                               17   abused and misused by patients to become addicted
     18             So it would contain a summary,            18   or -- would -- and they became aware of that
     19   but not necessary a summary of safety               19   information during that period.
     20   information, which is stated here.                  20              Is that something that you feel
     21         Q. Why wouldn't it contain that?              21   that Teva would be required to report in its
     22         A. Because ANDAs aren't required to           22   annual report?
     23   generate safety or efficacy data. That's only a     23              MS. HILLYER: Objection to form.
     24   requirement of NDAs.                                24              THE WITNESS: So I can say from


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      1         an ANDA perspective, generic applicants        1   and manufacturing changes for a product.
      2         primarily in their annual reports provide      2         Q. But isn't the purpose of this
      3         a summary of the chemistry, manufacturing      3   section to alert the FDA that there's a problem
      4         and control changes, which is what I           4   with the safety of the drug or how it's being
      5         described earlier, any changes that are        5   prescribed so they could potentially or with the
      6         made during the reporting period as it         6   manufacturer take corrective action?
      7         relates to anything that's already             7              MS. HILLYER: Objection to form.
      8         approved in the application.                   8              THE WITNESS: No, that has not
      9              The scenario that you described I         9         been my experience.
     10         would think would be something that would     10   BY MR. CRAWFORD:
     11         be included in the other type of              11         Q. And it does say that the report
     12         reporting that we looked at in 314.80,        12   is also required to contain a brief description
     13         possibly. But it's nothing that would be      13   of actions the applicant has taken or intends to
     14         submitted in a drug product annual report     14   take as a result of this new information.
     15         like this for an ANDA.                        15              So wouldn't you agree with me
     16   BY MR. CRAWFORD:                                    16   that if, say, for the generic OxyContin, if that
     17         Q. But wouldn't knowledge about               17   was marketed prior to a REMS approval, and the
     18   abuse of its drug and misuse be information that    18   company became aware that a drug was being
     19   might affect the safety of the generic product?     19   misused or abused or misprescribed, say in the
     20         A. Again, I'm not certain. Again,             20   case of an opioid drug, wouldn't, one, Teva be
     21   what I'm saying is, in my years of doing            21   required to report that in an annual report and
     22   regulatory affairs and ANDAs, the information       22   also report corrective steps it was taking?
     23   that's required to be submitted in an ANDA annual   23              MS. HILLYER: Objection to form.
     24   report pertains to the summary of the chemistry     24              THE WITNESS: So no, again, what


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                                             Page 173                                                Page 174
      1         I'm saying is that in my experience, in       1         A. I'm sorry, it's 314.81(B)(1), NDA
      2         my communications with FDA, is the            2   field alert.
      3         expectation that an ANDA applicant in its     3         Q. And so what page is this on?
      4         annual report file changes related to the     4         A. It's on the first page.
      5         chemistry and manufacturing controls.         5         Q. So basically the field alert
      6         And what that previous section was            6   report would be information concerning any
      7         talking about what would be what's            7   incident that causes the drug or its labeling to
      8         covered in Section 314.81(b)(1), which        8   be mistaken for or applied to another article.
      9         talks about NDA field alerts, ANDA field      9              So that's like a mistaken use of
     10         alert.                                       10   the drug, they think it's some other drug or
     11               So if you receive a product            11   something?
     12         complaint with respect to maybe a product    12         A. So -- correct. It could be that
     13         not working or somebody didn't have          13   somehow the wrong label was put on the product or
     14         enough tablets in their bottle or maybe      14   there was an error in the label that was on the
     15         the wrong imprint code was found in a        15   product. So those are the type of events that
     16         bottle, that's when it would trigger an      16   would have to be reported to FDA in a field
     17         NDA field alert to be filed, and those       17   letter and then summarized again in the annual
     18         are the types of summary and information     18   report.
     19         that would be included in this annual        19         Q. And then the second thing is,
     20         report.                                      20   "Information concerning any bacteriological
     21   BY MR. CRAWFORD:                                   21   contamination, or any significant chemical,
     22         Q. And what section is that here?            22   physical, or other change or deterioration in the
     23   Can you point that out? You've mentioned it,       23   distributed drug product, or any failure of one
     24   but it's --                                        24   or more distributed batches of the drug product


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      1   to meet the specification established for it in     1   cover the situation I'm talking about, you'd
      2   the application."                                   2   agree, about Teva becoming knowledgeable that its
      3              So that's concerning really              3   drug is being abused or misused or misprescribed
      4   contamination or a defective batch of product.      4   that's leading to addiction or some kind of
      5   Right?                                              5   safety issue like that. Right?
      6         A. Right. So that's talking about             6              MS. HILLYER: Objection to form.
      7   if a patient receives a product and they look at    7              THE WITNESS: Again, the scenario
      8   it and it turned brown and it's supposed to be      8         you described is not covered in ANDA
      9   white. Or if the manufacturing company had -- it    9         annual reports.
     10   runs routine stability reports. So if it ran a     10   BY MR. CRAWFORD:
     11   report and it received a result that was outside   11         Q. But it does say, you agree with
     12   of the approved specification. Those, again, are   12   me, the summary is supposed to provide a summary
     13   instances that would trigger a field alert and     13   of significant new information from the previous
     14   that type of information would be summarized in    14   year that might affect the safety, effectiveness
     15   this section.                                      15   or labeling of the drug product. Right?
     16         Q. Right. And that has to be done            16              Are generic companies exempt from
     17   within three days. Right?                          17   that in any way?
     18         A. So the field alert needs to be            18              MS. HILLYER: Objection to form.
     19   filed within three days. But then the annual       19              THE WITNESS: So what I'm
     20   report would capture a summary of any field        20         saying -- so what I'm saying is yes, this
     21   alerts that were filed within that one-year        21         section of the regulation is for both
     22   reporting period that the annual report is         22         NDAs and ANDAs. And there are different
     23   covering.                                          23         responsibilities for NDA applicants
     24         Q. Right. But that doesn't really            24         versus ANDA applicants. And in my


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                                             Page 177                                                  Page 178
      1         experience in working with FDA and in the      1   manufacturers don't have to report the type of
      2         industry for over 20 years, there's never      2   safety information example I gave to you on abuse
      3         been a requirement in ANDA annual              3   and misuse?
      4         reports, and nor is it FDA's expectations      4         A. I'm not aware of anything
      5         that any safety or efficacy information        5   written. I know I've specifically had
      6         is reported in an ANDA annual report.          6   conversations with FDA about this when I was at
      7         That is left to the NDA holder.                7   Ranbaxy.
      8   BY MR. CRAWFORD:                                     8         Q. Ranbaxy.
      9         Q. What about a name brand drug, if            9              How about at Teva?
     10   they become aware of a safety issue with regard     10         A. No.
     11   to abuse or misuse in the prior year, would they    11         Q. And who is the person at the FDA
     12   be expected, in your view as a regulatory person    12   you had the conversation with?
     13   with regulatory experience, to report that in       13         A. His name was Peter Rickman.
     14   their annual report?                                14         Q. And what was his position?
     15              MS. HILLYER: Objection to form,          15         A. He was a director in the Office
     16         calls for speculation, to the extent it's     16   of Generic Drugs.
     17         outside of his purview.                       17         Q. And is there anything in writing?
     18              THE WITNESS: Yeah. Again, I am           18   Did he confirm this in email or did you confirm
     19         not certain. I've worked in the generic       19   it in any kind of report with Ranbaxy?
     20         industry for 99 percent of my career.         20         A. Not that I recall.
     21   BY MR. CRAWFORD:                                    21         Q. What was the context of when it
     22         Q. All right. So where -- is there            22   was raised?
     23   a written guidance or -- from the FDA or anything   23         A. It was, again, confirming what
     24   in writing that you can point to that generic       24   information had to be filed in an annual report.


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      1   I don't know how it came up. There was some          1   at the FDA that you didn't have to put this
      2   discussion that was going on within the company      2   information in an ANDA?
      3   about what needed to be filed in an ANDA versus      3         A. No. I spoke with him.
      4   an NDA annual report. And, clearly, the clinical     4         Q. Just Mr. Rickman?
      5   and safety information.                              5         A. Correct.
      6         Q. But he said you don't have to               6         Q. How many occasions did he tell
      7   report any safety information other than the         7   you this?
      8   clinical and safety information?                     8         A. It was one conversation that I
      9             MS. HILLYER: Objection to form.            9   had with him.
     10   BY MR. CRAWFORD:                                    10         Q. Okay. And was it -- was there a
     11         Q. I'm just trying to understand.             11   specific safety issue that you ran by him about
     12             What did he tell you, you didn't          12   whether you had to put it in or not?
     13   have to report that or just simply told you that    13         A. No.
     14   you had to report the clinical information?         14         Q. It was just a general question?
     15         A. He said that the safety and                15         A. Correct.
     16   efficacy information is not applicable to an        16         Q. All right. The next section,
     17   ANDA.                                               17   (ii)(a), "Distribution data," it says,
     18         Q. Did he give a reason for that?             18   "Information about the quantity of the drug
     19         A. No. It's been a long-standing              19   product distributed under the approved
     20   position from the agency.                           20   application, including that distributed to
     21         Q. But it's never been put in                 21   distributors. The information is required to
     22   writing, as far as you're aware?                    22   include the National Drug Code (NDC) number, the
     23         A. Not that I'm aware of.                     23   total number of dosage units of each strength or
     24         Q. Did you hear it from anyone else           24   potency distributed (e.g., 100,000 over



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      1   5 milligram tablets, 50,000 over 10 milliliter       1        A. So I believe it's Jill Pastore
      2   vials), and the quantities distributed for           2   would still collect that data and then save it on
      3   domestic use and the quantities distributed for      3   the shared drive and make it available to the
      4   foreign use. Disclosure of financial or pricing      4   team in India.
      5   data is not required."                               5        Q. And then these annual reports, if
      6             Is that something that Teva,               6   you wanted to get a copy of an annual report, can
      7   through its normal business practices, includes      7   you personally go on the shared drive and pull it
      8   in its annual reports for its ANDAs?                 8   up, or how do you get them for a drug?
      9         A. Yes. Distribution data.                     9         A. Yes, yes.
     10         Q. And who currently at Teva is               10        Q. Do you just look up the drug and
     11   responsible for collecting this information and     11   there's a folder or a search pulls them up or
     12   putting it in the annual reports?                   12   something?
     13         A. So the regulatory team would               13        A. Yes. I would search by the name
     14   collect that from the supply chain and commercial   14   of a product or an ANDA number.
     15   marketing team.                                     15        Q. I would love to have an example,
     16         Q. The regulatory team being the one          16   but we have trouble finding them in the document
     17   putting the annual report together?                 17   production, so I don't have an example to show
     18         A. Yes. But it -- it's collected --           18   you, so we'll talk about it. Either I can't find
     19   I believe it's collected in the US, and then that   19   them or they're not there, so --
     20   information is given to the team in India.          20              MS. HILLYER: I think we offered
     21         Q. And where in the US is it                  21        to give you samples and told you to
     22   collected from? What department? I mean, from       22        follow up with us on which ones you
     23   all the charts we went through, does that -- do     23        wanted samples of, and then you never
     24   you remember where that responsibility lies?        24        did.


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      1              MR. CRAWFORD: Well, I definitely          1              So if you were an authorized
      2        want them.                                      2   generic, if Teva was, and -- from some brand, my
      3              So, but let's --                          3   understanding of what an authorized generic is,
      4              MS. HILLYER: I think we're a              4   is that brand is making the drug and it's being
      5        little past that timeline.                      5   distributed by the generic under their name.
      6              MR. CRAWFORD: Got it.                     6   Right?
      7              MS. HILLYER: But we can talk              7         A. Yes.
      8        about that offline.                             8         Q. Does that generic have to file an
      9              MR. CRAWFORD: Understood.                 9   annual report for that?
     10   BY MR. CRAWFORD:                                    10         A. No.
     11        Q. Okay. So the next section is                11         Q. That's filed by the brand?
     12   "Authorized generic drugs." We kind of went         12         A. Correct.
     13   through that. It says, "If applicable, the date     13         Q. And then this section would be
     14   each authorized generic drug (as defined in...      14   filled out by the brand?
     15   314.3) entered the market, the date each            15         A. Correct.
     16   authorized generic drug ceased being distributed,   16         Q. All right. And then third is,
     17   and the corresponding trade or brand name."         17   "Labeling. Currently used professional labeling,
     18              So that's a section that you             18   patient brochures or package inserts (if any),
     19   would fill out only if you were an authorized       19   and a representative sample of the package
     20   drug. Right?                                        20   labels."
     21        A. Only if you were distributing an            21              That is also included in these
     22   authorized generic under that application.          22   annual reports as a practice. Right?
     23        Q. Right. So -- so this -- so                  23         A. Yes.
     24   basically, I'm just trying to understand.           24         Q. All right. That's all I have on


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                                                     Page 185                                            Page 186
      1   those, but let's go back to Exhibit 7, which is        1        Q. And then there's other labeling,
      2   the approval package for the generic OxyContin.        2   too. It's not necessarily a term of art,
      3             Let's go to the label, which is a            3   approved label.
      4   couple of pages afterwards, under "Final printed       4              It could be considered labeling,
      5   labeling."                                             5   an advertisement or a "Dear Doctor" letter or
      6             So is this the label that was                6   something. Right?
      7   approved for Teva in this package for this             7              MS. HILLYER: Objection to form.
      8   generic OxyContin.                                     8              THE WITNESS: It's possible.
      9             In your professional career of               9   BY MR. CRAWFORD:
     10   seeing these approvals, is this generally how it      10        Q. Do you refer to those as approved
     11   comes back to you?                                    11   labels?
     12        A.      Yes, it appears to be.                   12        A. I'm not sure I understand your
     13        Q.      And so this would be taking --           13   question.
     14   taking a look at the last page of the label, it       14        Q. Do you refer to an advertisement
     15   says, "Manufactured by Teva Pharmaceuticals USA."     15   as an approved label?
     16             So this would be Teva's label               16        A. No. An advertisement would be
     17   dated June of '03. Right?                             17   based on the approved labeling.
     18        A.      Yes.                                     18        Q. But it's still considered
     19        Q.      All right. And then again, to be         19   labeling, because it has information about the
     20   a generic drug, you're -- this is called -- when      20   drug.
     21   it's approved, it's called the approved label.        21              MS. HILLYER: Objection to form.
     22   Right? Is that kind of a term of art, approved        22   BY MR. CRAWFORD:
     23   label?                                                23        Q. Technically. Correct?
     24        A.      Yes.                                     24        A. Generally speaking, it would be


                                                     Page 187                                            Page 188
      1   accompanied by the approved label as well.             1             MS. HILLYER: Same objection.
      2         Q. Is a "Dear Doctor" letter, is                 2             THE WITNESS: I'm not certain.
      3   that considered technically labeling?                  3   BY MR. CRAWFORD:
      4              MS. HILLYER: Objection to form.             4       Q. Can a generic drug company
      5              THE WITNESS: I don't know. I                5   communicate information to doctors about its
      6         mean "Dear Doctor" letters aren't used on        6   generic drugs consistent with its approved label?
      7         the generic side, typically. It's only           7             MS. HILLYER: Objection to form.
      8         something that would be used on a branded        8             THE WITNESS: Can you repeat your
      9         side.                                            9       question again? Sorry.
     10   BY MR. CRAWFORD:                                      10   BY MR. CRAWFORD:
     11         Q. Can a generic manufacturer send              11       Q. Can a generic drug company
     12   out a "Dear Doctor" letter about a drug, in your      12   communicate information to doctors about its
     13   view?                                                 13   generic drugs consistent with its approved label?
     14              MS. HILLYER: Objection.                    14       A. I think so, but I don't know any
     15         Objection to form, calls for a legal            15   generic companies that have a sales team for
     16         conclusion.                                     16   generics.
     17              THE WITNESS: Yeah. I'm not                 17       Q. Do they have safety teams,
     18         certain. I don't think it's ever been           18   generic drug companies?
     19         done that I'm aware of.                         19             MS. HILLYER: Objection to form,
     20   BY MR. CRAWFORD:                                      20       calls for speculation.
     21         Q. Do you know if there's any                   21             THE WITNESS: Yeah. I'm not sure
     22   regulatory restriction precluding a generic drug      22       what you mean by that.
     23   manufacturer from sending out a "Dear Doctor"         23   BY MR. CRAWFORD:
     24   letter?                                               24       Q. Well, anyone in charge of safety,


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                                              Page 189                                                         Page 190
      1   if there's a safety issue or a danger that comes     1         evaluation and mitigation strategy.
      2   out, is there any kind of dedicated person           2         That's the whole goal, is to make sure
      3   designed or that's -- that exists within Teva,       3         that there's proper balance of the
      4   their generic side, to --                            4         benefit/risk ratio and that the doctors
      5         A. I think what you're describing              5         who are prescribing the products know how
      6   is --                                                6         to prescribe them and the patients that
      7         Q. -- address those issues?                    7         are using them know how to use them and
      8         A. Sorry. I think what you're                  8         so forth.
      9   describing is something that would be managed by     9   BY MR. CRAWFORD:
     10   the pharmacovigilance team.                         10         Q. Right. So that's one of the
     11         Q. What if the company became aware           11   objectives of a REMS program. Right?
     12   that its drug, its generic opioid products were     12         A. Correct.
     13   being abused or misused by doctors, and the         13         Q. Is for doctors to know how to
     14   doctors did not appear to understand the proper     14   properly use the drugs and what the risks are.
     15   use of the drug or the safety risks with regard     15   Right?
     16   to abuse and addiction, is it your view under the   16         A. Correct.
     17   regulations that Teva could send a "Dear Doctor"    17         Q. But before, for some of these
     18   letter or other information consistent with the     18   drugs, when this generic OxyContin was approved,
     19   label to remind doctors how to properly use the     19   for instance, there was no REMS program for it.
     20   drugs and about its risks?                          20   Correct?
     21              MS. HILLYER: Objection to form.          21         A. I'm not certain.
     22              THE WITNESS: Yeah. Again, I'm            22              MS. HILLYER: Objection to form.
     23         not certain, especially for this class of     23              THE WITNESS: Yeah. I'm not
     24         drugs, which already has a approved risk      24         certain. The timeline's really meshed


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      1        together for me.                                1        Q.    And those apply to all generics
      2   BY MR. CRAWFORD:                                     2   in those categories. Right?
      3        Q. Well, REMS only came into effect             3        A.    Yes.
      4   in 2007 when the FDA could require. Right?           4        Q.    So my question is, is prior to
      5        A. Well, single shared REMS became              5   these REMS programs, which are mandatory. Right?
      6   effective in 2007. I'm not certain if there was      6        A.    Right.
      7   other REMS that were in effect prior to that.        7        Q.    And each company submits its own
      8        Q. Right. I think under subpart H,              8   REMS consistent with what the FDA wants for the
      9   the FDA could require a risk management plan,        9   class. Right?
     10   which is kind of a precursor, but only as part of   10        A.    So each company has to submit the
     11   the approval process. Right?                        11   approved REMS -- the FDA approved REMS to its
     12        A. For a brand product. Correct.               12   application. Yes.
     13        Q. Well, for generic products, too.            13        Q.    That has to get approved as being
     14   Right?                                              14   in conformity with what they want. Right?
     15        A. Yeah. Again, that's something               15        A.    Yes.
     16   I'm not very familiar with.                         16        Q.    So before REMS were required, the
     17        Q. REMS can apply and do apply to              17   immediate release, for instance, didn't have a
     18   generics. Right?                                    18   REMS until 2018. Right?
     19        A. Yes.                                        19        A.    I'm not --
     20        Q. And in fact, the current REMS in            20             MS. HILLYER: Objection to form,
     21   place for the transmucosal opioid products and      21        calls for speculation.
     22   the extended release and the immediate release      22             THE WITNESS: Yeah. I'm not
     23   products all have REMS programs. Right?             23        certain.
     24        A. I believe so, yes.                          24   BY MR. CRAWFORD:



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      1         Q. But recently. Right?                        1             So before REMS was issued, and
      2         A. I'm not certain on the timelines.           2   before a drug was subject to it, could a generic
      3         Q. So before the approval of --                3   drug company like Teva communicate with doctors
      4   Teva's got immediate release opioid products they    4   about safety information concerning its products,
      5   sell. Right?                                         5   as long as it's consistent with its approved
      6         A. I believe so.                               6   label?
      7         Q. Okay. So before the approval of             7             MS. HILLYER: Objection to form
      8   the REMS, and my question is, is could Teva, is      8        on multiple levels, and assumes facts not
      9   there anything in the regulations that would have    9        in evidence is one of them.
     10   prohibited Teva from communicating with doctors     10             THE WITNESS: That's just not the
     11   if they became aware that doctors may not have      11        typical practice. I mean, a generic
     12   been aware of the risks of opioid products or       12        company doesn't communicate with
     13   they were using Teva products or -- or proper       13        physicians. A generic company makes
     14   use, that Teva could communicate with doctors       14        available the products based on an NDA
     15   consistent with its label, safety and use           15        and a brand product.
     16   information?                                        16             So the generic companies
     17              MS. HILLYER: Objection to form.          17        aren't -- don't have salespeople.
     18              THE WITNESS: If you could break          18        They're not going out and talking to
     19         that down for me.                             19        doctors. They're writing -- I mean,
     20   BY MR. CRAWFORD:                                    20        they're manufacturing products. And in
     21         Q. Okay. So you mentioned REMS.               21        some cases, physicians will prescribe a
     22   I'm trying to find out like before the REMS.        22        brand, but if there's a generic
     23              Immediate release had the REMS           23        available, it gets substituted either by
     24   program in 2018, I'll represent.                    24        an insurance company or a pharmacy. So


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      1         generic companies don't go out and speak       1   mean, isn't the manufacturer primarily
      2         to doctors.                                    2   responsible for the safety of its product?
      3   BY MR. CRAWFORD:                                     3              MS. HILLYER: Objection to form.
      4         Q. So -- but if a generic company              4   BY MR. CRAWFORD:
      5   becomes aware that its products are being            5         Q. Or is it the FDA that's primarily
      6   misprescribed or misused, who is going to tell       6   responsible for the safety of generic products?
      7   the doctor? Whose responsibility is it then if       7         A. Sorry, can you repeat your
      8   it's not the generic company's?                      8   question?
      9              MS. HILLYER: Objection to form.           9         Q. Who's responsible for the safety
     10              THE WITNESS: I'm not certain             10   of generic products? Is it the generic
     11         what you're asking. I mean, I think the       11   manufacturer that makes them or is it the FDA?
     12         FDA has oversight over the, you know, the     12   Or is it the brand?
     13         drugs that are approved in the United         13              MS. HILLYER: Objection to form.
     14         States and they have postmarketing            14              THE WITNESS: I mean, FDA is
     15         responsibility -- I mean, they put            15         responsible for approving safe and
     16         postmarketing responsibility on the brand     16         effective generic drugs. And
     17         companies, and FDA is aware of the same       17         manufacturers are responsible for
     18         information. So generic companies would       18         manufacturing safe and effective generic
     19         rely on the FDA to make such decisions,       19         drugs.
     20         if there is additional steps which are        20   BY MR. CRAWFORD:
     21         required. In this case, assuming that's       21         Q. Right. So -- but what if, after
     22         why the REMS were put in place.               22   it's approved by the FDA, it turns out that the
     23   BY MR. CRAWFORD:                                    23   doctors aren't using the drugs, the generic drugs
     24         Q. What if the FDA doesn't know? I            24   safely, they're overprescribing it or they don't


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      1   understand the safety risks.                         1   misuse of opioids. But I think if opioids are
      2             Who's responsible for                      2   prescribed properly by physicians and used
      3   communicating with the doctors, in your view, the    3   properly by patients and, you know, prescriptions
      4   proper use and safety of the drug?                   4   are filled by a licensed pharmacist, then they
      5             MS. HILLYER: Objection to form.            5   are safe and effective as long as they're used
      6             THE WITNESS: Each generic                  6   according to the approved label that FDA has
      7        company is going to have the same               7   approved.
      8        information available to them that the          8         Q. And at what point did you
      9        FDA would have available to them. FDA           9   personally become aware that they weren't being
     10        would have the ability to see what's           10   properly used?
     11        happening. And FDA would be the one to         11              MS. HILLYER: Objection to form.
     12        make such decisions, which again, in this      12              THE WITNESS: I don't have any
     13        case, I believe they did in putting a          13         personal recollection of when.
     14        risk evaluation and mitigation strategy        14   BY MR. CRAWFORD:
     15        in place.                                      15         Q. What if the company became aware
     16   BY MR. CRAWFORD:                                    16   they were being improperly used before the FDA
     17        Q. Do you believe there's an opioid            17   learned it? Who's responsible for telling the
     18   epidemic right now?                                 18   FDA, one, and then who's responsible for trying
     19        A. I'm not sure I have an opinion on           19   to correct it at that point in time?
     20   it.                                                 20              MS. HILLYER: Objection to form.
     21        Q. There's certainly an opioid --              21              THE WITNESS: Can you repeat your
     22   some kind of opioid crisis going on.                22         question, please?
     23             You understand that. Right?               23   BY MR. CRAWFORD:
     24        A. I think there's an issue with               24         Q. Yeah.


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      1             So if the company learns about an          1         company become aware that there was
      2   abuse or misuse problem with its opioids, a          2         misuse and abuse with its product?
      3   generic drug company, who's responsible -- and       3   BY MR. CRAWFORD:
      4   the FDA doesn't know about it yet, who's             4         Q. Didn't the company try to develop
      5   responsible for alerting the FDA? First of all,      5   or want to develop an abuse-deterrent opioid?
      6   let's break it down.                                 6   You were involved in that. Right?
      7             Shouldn't the generic company              7              MS. HILLYER: Objection to form.
      8   alert the FDA in its annual report on that safety    8              THE WITNESS: I wasn't involved
      9   issue, whether it knows it or not?                   9         in the development of abuse-deterrent
     10             MS. HILLYER: Objection to form.           10         opioids.
     11             THE WITNESS: How would the                11   BY MR. CRAWFORD:
     12         company become aware of that information?     12         Q. Right. But you were involved in
     13   BY MR. CRAWFORD:                                    13   at least thinking about it from a regulatory
     14         Q. Because the company -- I mean,             14   standpoint and getting them approved. Right?
     15   the company -- the company sells the drug.          15   You gave a talk on it. Right?
     16   Right?                                              16              MS. HILLYER: Objection to form.
     17         A. Okay. The company sells the                17              THE WITNESS: I didn't give a
     18   drug, yes.                                          18         talk on abuse-deterrent opioids.
     19         Q. Right. So it's -- the company is           19   BY MR. CRAWFORD:
     20   currently aware that there's an opioid crisis.      20         Q. I thought you did, with regard to
     21   Right?                                              21   the difficulties in getting them approved.
     22         A. How would --                               22   Right?
     23             MS. HILLYER: Objection to form.           23         A. That's incorrect.
     24             THE WITNESS: So how would the             24         Q. What was your talk about?


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      1        A. My talk was about GDUFA and other            1   did know before -- or the company knew of the
      2   barriers. And I think you're referring to Gregg      2   abuse of its opioids that it was selling in the
      3   DeRosa's talk.                                       3   marketplace before the FDA, shouldn't it at least
      4        Q. Yeah, DeRosa.                                4   put that in its annual report, that there's a
      5             But you were present for Mr.               5   safety issue out there?
      6   DeRosa's talk. Right?                                6              MS. HILLYER: Objection to form.
      7        A. I was present, yes.                          7              THE WITNESS: Again, we follow
      8        Q. So you knew the company was                  8         the requirements and we submit to FDA
      9   developing abuse-deterrent opioids. Right?           9         what's required to be submitted. The
     10        A. Okay.                                       10         scenario that you're talking about
     11        Q. So at some point the company must           11         just -- it hasn't happened and I've never
     12   have known that opioids were being abused.          12         thought about it before and I don't have
     13   Right?                                              13         an opinion on it.
     14             MS. HILLYER: Objection to form.           14   BY MR. CRAWFORD:
     15             THE WITNESS: As well as FDA.              15         Q. So don't you think, when the FDA
     16   BY MR. CRAWFORD:                                    16   tells you in the approval letter that you're
     17        Q. Okay. But I'm just asking at                17   supposed to follow 314.81, and 3148.1 -- .81
     18   some point the company knew. Maybe it knew          18   requires the company to report any safety issues
     19   before the FDA knew. Correct?                       19   that comes up during a year, you're saying that
     20             MS. HILLYER: Objection to form.           20   they don't have to put that in with regard to a
     21             THE WITNESS: But maybe it didn't          21   knowledge of an opioid abuse?
     22        know before the FDA knew as well.              22              MS. HILLYER: Objection to form.
     23   BY MR. CRAWFORD:                                    23              THE WITNESS: Again, I think as
     24        Q. So my hypothetical is, if the FDA           24         we explained in pretty great detail


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      1         there, 314.80 and 314.81 are common for        1        Q. We just went through that,
      2         both NDAs and ANDAs and there are certain      2   because they're making an abuse-deterrent opioid.
      3         requirements for NDAs that aren't              3   Right?
      4         expected or required to be submitted for       4             MS. HILLYER: Objection to form.
      5         ANDAs.                                         5             THE WITNESS: We just went
      6   BY MR. CRAWFORD:                                     6        through that. But I also said that when
      7         Q. And that's your belief?                     7        the products are used according to their
      8         A. Correct.                                    8        prescribed labeling, when their
      9         Q. And so if the company becomes               9        prescriptions are written properly by the
     10   aware that doctors aren't properly prescribing      10        doctor, they're used properly by the
     11   their products, regardless of whether the FDA       11        patients and they're distributed and
     12   knows or not, if there's no REMS out there,         12        dispensed by a licensed pharmacist, that
     13   shouldn't the company at least send something out   13        they're used effectively. So FDA is
     14   or try to educate doctors in the proper use of      14        aware of the same information that
     15   their drugs?                                        15        companies are aware now about the misuse
     16              MS. HILLYER: Objection to form.          16        and illegal drug use of these products.
     17              THE WITNESS: Yeah. I mean,               17   BY MR. CRAWFORD:
     18         again, how would the company become aware     18        Q. So -- but you're saying if used
     19         of such information?                          19   properly.
     20   BY MR. CRAWFORD:                                    20             You know that they're not
     21         Q. They are aware that their                  21   being -- the company knows they're not being used
     22   products are being abused. Right?                   22   properly. Right?
     23              MS. HILLYER: Objection to form.          23             MS. HILLYER: Objection to form.
     24   BY MR. CRAWFORD:                                    24             THE WITNESS: When they're --


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      1         when they're obtained illegally and not        1        Q. Is there any -- in your view, as
      2         used according to the label, but that's        2   a person who has been in the regulatory industry
      3         not why Teva would make a product or           3   over 20 years, that there's any regulatory
      4         other manufacturers do. They make              4   prohibition for a drug -- for a generic
      5         products because FDA has determined them       5   manufacturer to go out, you know, when there's no
      6         to be safe and effective. They're a very       6   REMS, to go out and educate doctors in the proper
      7         effective treatment for people who need        7   use of their drugs?
      8         management of pain for these types of          8        A. I'm not certain.
      9         things.                                        9             MS. HILLYER: Objection to form.
     10   BY MR. CRAWFORD:                                    10             We've been going about an hour.
     11         Q. So once -- when Teva learned that          11             MR. CRAWFORD: Do you want to
     12   their products are being abused, don't they --      12        take a quick break?
     13   doesn't the company have some obligation to go      13             MS. HILLYER: Sure.
     14   out and try to tell doctors how to properly use     14             MR. CRAWFORD: All right.
     15   their products?                                     15             THE VIDEOGRAPHER: Off the
     16              MS. HILLYER: Objection to form.          16        record, 1:38.
     17   BY MR. CRAWFORD:                                    17                 - - -
     18         Q. In your view?                              18             (A recess was taken from
     19              MS. HILLYER: Objection to form.          19        1:38 p m. to 1:49 p m.)
     20         And now asked and answered about four         20                 - - -
     21         times.                                        21             THE VIDEOGRAPHER: We are back on
     22              THE WITNESS: I'm not sure what           22        the record at 1:49.
     23         else I could say further on this.             23                 - - -
     24   BY MR. CRAWFORD:                                    24             (Deposition Exhibit No.


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      1        Teva-Tomsky-11, Letter dated December 6,        1   TEVA, dismissing the case on grounds of
      2        2005, 4 pages, was marked for                   2   unenforceability of the three patents. The
      3        identification.)                                3   Agency...is aware of the June 7, 2005 ruling by
      4                 - - -                                  4   the U.S. Court of Appeals for the Federal
      5             MS. HILLYER: This is 11.                   5   Circuit, affirming the Opinion and Order of the
      6   BY MR. CRAWFORD:                                     6   same district court in a related case, issued in
      7        Q. Exhibit 11 we've marked, it's a              7   favor of Endo Pharmaceutical (Endo). The Federal
      8   December 6, 2005 letter to Teva Pharmaceuticals,     8   Circuit ruling, among other things, permanently
      9   attention Philip Erickson. It is from, again,        9   enjoins Perdue, enforcing the '912, '042 and '295
     10   Mr. Buehler at the FDA. And this again, no Bates    10   patents.
     11   number, it was pulled from the FDA website.         11              "The decision on June 7, 2005, as
     12             So Mr. Buehler is writing now,            12   well as the first commercial marketing of the
     13   approving here oxycodone hydrochloride extended     13   product by Endo on the same day, triggered Endo's
     14   release tablets, 10 milligram, 20 milligram and     14   180-day generic drug exclusivity period."
     15   40 milligram. I believe the one we just read was    15              Skipping a bit, "Endo's 180-day
     16   the 80 milligram approval. So this is the           16   exclusivity for this...product expired on
     17   generic OxyContin at the lower doses.               17   December 4, 2005. Therefore, under Section 505,"
     18             Would you agree?                          18   et cetera, et cetera, "your ANDA is eligible for
     19        A. Yes.                                        19   full approval."
     20        Q. And this gives us some clues.               20              So it looks like there was -- you
     21             Go to the third page.                     21   agree with me -- a patent litigation which was
     22             Mr. Buehler writes, "You have             22   holding up the marketing of the drug at this
     23   notified the Agency of the district court's         23   time.
     24   summary judgment dated June 25, 2004, in favor of   24              Do you agree with that?


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                                              Page 209                                                 Page 210
      1             MS. HILLYER: Objection, lack of            1         identification.)
      2         foundation, calls for speculation.             2                   - - -
      3             THE WITNESS: It appears so.                3   BY MR. CRAWFORD:
      4   BY MR. CRAWFORD:                                     4         Q. We're marking Exhibit 12.
      5         Q. So it looks like, at least in               5              This is an ANDA approval from
      6   view at this time of Mr. Buehler, that the           6   Carol Holquist over at the FDA to Actavis
      7   decisions rendered in the district and court of      7   Laboratories Florida, Inc., attention Janet
      8   appeals allowed Endo to start marketing the drug     8   Vaughn, director of regulatory affairs, dated --
      9   that they had an exclusivity period, because they    9   well, it looks like on the last page there is an
     10   were first to market, that expired and then Teva    10   email dated June 3, 2016 from Kevin Herkenham at
     11   was free to start marketing its generic version.    11   the FDA to regulatory affairs US, indicating that
     12             Is that how you interpret this?           12   the ANDA had been approved and attaching a PDF
     13         A. Yes.                                       13   copy of the approval letter.
     14         Q. Again, this is subject to the              14              So they were notifying, at least
     15   reporting requirements of CFR 314.80 to .81 and     15   Actavis here in your view, of the approval of
     16   314.98 there in the middle. Correct?                16   this product, which was a hydrocodone bitartrate
     17         A. Yes.                                       17   acetaminophen tablet. Right?
     18         Q. Let's go to the next exhibit.              18         A. Yes.
     19                  - - -                                19         Q. So that -- I'm trying to
     20             (Deposition Exhibit No.                   20   understand.
     21         Teva-Tomsky-12, ANDA Approval and email       21              Is that -- that's Vicodin.
     22         dated June 03, 2016, Bates stamped            22   Right? Generic Vicodin? Or Norco? Do you know
     23         TEVA_MDL_A_02922022 through                   23   what brand product that is?
     24         TEVA_MDL_A_02922025, was marked for           24         A. I'm not certain.


                                              Page 211                                                 Page 212
      1          Q. And I'm trying to collaborate              1         A. It's possible, but I'm not
      2   or -- this is Actavis product, so we're talking      2   certain.
      3   20 -- June 2016.                                     3         Q. In 2016, there are 9,092,709
      4               This is right about the time             4   prescriptions of that drug in that year. Right?
      5   Actavis was acquired by Teva. Right?                 5         A. It appears so, yes.
      6          A. Roughly.                                   6         Q. So this represents, just looking
      7          Q. So this product came over from             7   through, by far, the biggest seller of a class II
      8   the Actavis group. Right?                            8   opioid product by Teva in 2016; is that right?
      9          A. It would appear so, yes.                   9              MS. HILLYER: Same objection.
     10          Q. Do you know if this product is            10              THE WITNESS: Based on this
     11   still being marketed?                               11         document, it looks like it.
     12          A. I'm not certain.                          12   BY MR. CRAWFORD:
     13          Q. Take a look at Exhibit 2, which           13         Q. So -- and it's close to a third
     14   is that list again, on page 5. I just want to       14   of their total relative -- it's 9 million out of
     15   see if you agree that's the second product listed   15   14.6 million of their Teva class II opioid volume
     16   on page 5, which is hydrocodone bitartrate and      16   based on the second page. Right?
     17   acetaminophen tablets, class II controlled drug     17         A. So I'm not certain, because the
     18   schedule.                                           18   first page shows 30 million.
     19               MS. HILLYER: Objection to form,         19         Q. That's all opioid products. I
     20          lack of foundation, calls for                20   understand it that way.
     21          speculation.                                 21              And then the second page is just
     22   BY MR. CRAWFORD:                                    22   the class II -- Schedule II opioids. Right?
     23          Q. Do you think that's the same drug         23         A. Again, I'm not certain. I'm not
     24   there?                                              24   familiar with this report.


                                                                         53 (Pages 209 to 212)
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                                                         Page 213                                            Page 214
      1         Q. Okay. Well, this generic                          1        identification.)
      2   hydrocodone bitartrate and acetaminophen tablet,           2                 - - -
      3   that's a class II opioid.                                  3   BY MR. CRAWFORD:
      4              You agree with me on that.                      4        Q. So we've marked Exhibit 13.
      5   Right?                                                     5   Again, this is a -- the prior exhibit was
      6         A. According to this, yes.                           6   TEVA_MDL_A_02922022.
      7         Q. Are you aware if this is still                    7              This current one, again, pulled
      8   being marketed, this drug?                                 8   from the FDA website, so it's not Bates stamped.
      9         A. I think you just asked me that.                   9              This is a February 2004 approval
     10   I'm not certain.                                          10   for oxycodone hydrochloride tablets, 15 milligram
     11         Q. All right. I'm sorry. My memory                  11   and 30 milligram.
     12   sometimes goes as far as what I've asked, so --           12              This is a generic Roxicodone.
     13   yeah. Okay, thank you.                                    13   Right?
     14              Do you have any kind of knowledge              14        A. That's what it says, yes.
     15   as you sit here of what Teva's current best               15        Q. Where does it say that?
     16   selling opioid, class II opioid is?                       16        A. In the third paragraph, middle to
     17              MS. HILLYER: Objection to form.                17   end of that third paragraph.
     18              THE WITNESS: I do not.                         18        Q. Okay. That's good. Yep.
     19   BY MR. CRAWFORD:                                          19              Again, approved pursuant to the
     20         Q. Let's go to the next document.                   20   CFR 314.80 to 81, and 314.98. Correct?
     21                  - - -                                      21              MS. HILLYER: Again, I'm just
     22              (Deposition Exhibit No.                        22        going to object to foundation, among
     23         Teva-Tomsky-13, Letter dated February 6,            23        other things. This doesn't even say that
     24         2004, 2 pages, was marked for                       24        it's Teva.


                                                         Page 215                                            Page 216
      1   BY MR. CRAWFORD:                                           1   BY MR. CRAWFORD:
      2           Q.      Well, Amide was acquired at some           2        Q. Right here we have a letter from
      3   point by Actavis. Right?                                   3   Actavis. This is written by Jasmine Shah, VP,
      4                MS. HILLYER: Objection to the                 4   regulatory and medical affairs, to Mr. Buehler at
      5           extent it calls for speculation.                   5   the FDA.
      6                THE WITNESS: Yeah. I'm not                    6             This is Actavis submitting a
      7           sure.                                              7   supplement as a changes being effected to seek
      8   BY MR. CRAWFORD:                                           8   approval for a batch size scale-up from 110,000
      9           Q.      Again, Mr. Buehler is the one who          9   to 3.5 million tablets for the 15 milligram
     10   gave the approval. Right?                                 10   strength.
     11           A.      He's the head of the Office of            11             And this would be for the same
     12   Generic Drugs, so he signs most of them, yes.             12   ANDA, 76-636, as the Roxicodone approval that we
     13           Q.      Right. Okay. Let's go to the              13   looked at. Correct?
     14   next exhibit.                                             14             MS. HILLYER: Objection to form.
     15                Actually, not that one. Skip                 15             THE WITNESS: Yes.
     16   that.                                                     16   BY MR. CRAWFORD:
     17                So this one.                                 17        Q. So that's a pretty hefty increase
     18                     - - -                                   18   in batch size.
     19                (Deposition Exhibit No.                      19             Would you agree with me on that?
     20           Teva-Tomsky-14, Letter dated June 25,             20             MS. HILLYER: Objection. Sorry.
     21           2007, Bates stamped TEVA_MDL_A_10604467           21   BY MR. CRAWFORD:
     22           through TEVA_MDL_A_10604633, was marked           22        Q. From 110,000 to 3.5 million?
     23           for identification.)                              23             MS. HILLYER: Objection to form.
     24                     - - -                                   24             THE WITNESS: It's an increase in



                                                                               54 (Pages 213 to 216)
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                                              Page 217                                                          Page 218
      1         more than ten times the original batch         1       Q.         That's generally the practice.
      2         size, yes.                                     2   Right?
      3   BY MR. CRAWFORD:                                     3             MS. HILLYER: Objection to form.
      4         Q. And why does a manufacturer need            4             THE WITNESS: Yes.
      5   to get approval for that type of increase in         5   BY MR. CRAWFORD:
      6   batch size?                                          6         Q. All right. And then go to the
      7         A. I mean, the regulations are clear           7   third page. Down at the bottom in bold, it says,
      8   in terms of what types of changes need to be         8   "This application may contain documentation
      9   submitted to the FDA. So, again, if you're           9   bearing 'Amide Pharmaceutical Inc.' name. Please
     10   making any changes that have been previously        10   note that Actavis Totowa LLC has acquired all
     11   approved by FDA, and it falls into different        11   rights of Amide Pharmaceuticals Inc., since July
     12   filing categories, either an annual report, in      12   27, 2005."
     13   this case, a CBE supplement, or sometimes a prior   13             So you'd agree with me that
     14   approval supplement.                                14   Actavis, at least some Actavis entity, had
     15         Q. And CBE can just be done                   15   acquired the rights to this product after that
     16   unilaterally without preapproval.                   16   date?
     17              They're just notifying the FDA of        17             MS. HILLYER: Objection to form.
     18   the change in case the FDA wants to intervene.      18   BY MR. CRAWFORD:
     19   Right?                                              19         Q. It looks like acquired Amide.
     20              MS. HILLYER: Objection to form.          20   Right?
     21              THE WITNESS: Generally speaking.         21         A. Yes, it appears so.
     22         But typically a company would wait 30         22         Q. So again, do you know if this is
     23         days before implementing such a change.       23   a product that's being currently marketed by
     24   BY MR. CRAWFORD:                                    24   Teva?


                                              Page 219                                                          Page 220
      1        A. I do not.                                    1   exhibit.
      2        Q. I'm just trying to triangulate it            2                  - - -
      3   here with the chart that we have.                    3               (Deposition Exhibit No.
      4            If you look at page 8, would                4        Teva-Tomsky-15, Supplement History
      5   you --                                               5        Oxycodone Hydrochloride Tablets USP, 5
      6            MS. HILLYER: Of Exhibit 2?                  6        mg, 15 mg and 30 mg, TEVA_MDL_A_10602657
      7            MR. CRAWFORD: Yeah.                         7        through TEVA_MDL_A_10602670, was marked
      8   BY MR. CRAWFORD:                                     8        for identification.)
      9        Q. There is an oxycodone                        9                  - - -
     10   hydrochloride tablet, generic Roxicodone, listed    10               MS. HILLYER: Sorry. What
     11   in the middle of exhibit -- page 18.                11        number?
     12            And it starts up in 2016, which,           12               MR. CRAWFORD: 14.
     13   of course, is the year Actavis was acquired.        13               MR. JENSEN: 15.
     14   Right?                                              14               MR. CRAWFORD: 15, sorry.
     15        A. Yes.                                        15   BY MR. CRAWFORD:
     16        Q. So do you think this -- is this             16        Q.      This is TEVA_MDL_A_10602657. It
     17   the same product as this NDA here?                  17   is a Supplement History for oxycodone
     18            MS. HILLYER: Same objections,              18   hydrochloride tablets, ANDA 076-636.
     19        lack of foundation, calls for                  19               Would you agree with me that this
     20        speculation.                                   20   is the supplement history for the Roxicodone ANDA
     21            THE WITNESS: It's possible, but            21   that we've just looked at in the prior two
     22        I'm not certain.                               22   exhibits?
     23   BY MR. CRAWFORD:                                    23               MS. HILLYER: Objection to form.
     24        Q. Okay. Let's go to the next                  24               Prior two, meaning 13 and 14?



                                                                              55 (Pages 217 to 220)
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                                              Page 221                                                 Page 222
      1              MR. CRAWFORD: Yeah.                       1   fairly recently. And I'm just trying to find out
      2              THE WITNESS: It appears to be.            2   if there's -- if you wanted, as the head of the
      3   BY MR. CRAWFORD:                                     3   US generics regulatory, a supplement history, how
      4         Q. Okay. And so tell me what a                 4   would you go about doing that?
      5   supplement -- have you ever seen one of these        5         A. I would ask the person who's
      6   reports before?                                      6   responsible for this product to provide it to me.
      7         A. No.                                         7         Q. Is there an FDA contact log that
      8         Q. Do you know if there's any way to           8   you're aware of that the company keeps?
      9   generate within Teva currently a report of all       9         A. So there's -- typically, I would
     10   the supplement activity with regard to a            10   guess those documents or any FDA contacts would
     11   particular drug?                                    11   be saved -- actually, now they're just saved in
     12              MS. HILLYER: Objection to form.          12   email.
     13              THE WITNESS: Yeah. I'm not               13              But prior to current practices, I
     14         certain. I haven't seen it. And I'm not       14   think there was -- there was a -- hard copies
     15         certain how it was pulled. It could have      15   that were kept in binders.
     16         been manually put together.                   16         Q. So there's no database of FDA
     17   BY MR. CRAWFORD:                                    17   contacts that you're aware of?
     18         Q. But you don't know for sure? You           18         A. No, not that I'm aware of.
     19   don't -- you don't know whether it was manually     19         Q. So it's just kept in people's
     20   put together or generated somehow?                  20   email boxes, if they get one. And if you want to
     21         A. Yeah. I'm not certain.                     21   look it up, you've got to go through people's
     22         Q. If you look at the last page,              22   emails?
     23   it's 12/12/17 is one of the dates for labeling      23         A. Correct. Sometimes that
     24   CBE. So this looks like it was put together         24   information would be kept in the global


                                              Page 223                                                 Page 224
      1   regulatory affairs database. So it would just be     1         Q. And is that in like a database or
      2   a line item that there was a call with FDA on        2   something?
      3   such and such a date and this is the contents of     3         A. Yes. It's the global regulatory
      4   what was discussed. But I'm not sure if it would     4   affairs database. It's called Global Insight.
      5   be in detailed form. You would have to pull the      5         Q. And so if you wanted to get all
      6   actual email to find that information.               6   the written exchanges between the FDA for a
      7         Q. For the supplement submissions              7   particular drug, is there a way to kind of filter
      8   and contacts, is that information kept in kind of    8   the database for that?
      9   a single place in the company for each drug?         9         A. It's pretty difficult. I think I
     10         A. Sorry, can you repeat your                 10   alluded to it earlier. The global regulatory
     11   question?                                           11   database is pretty challenging to navigate and
     12         Q. Like for supplemental ANDAs and            12   even get reports ran, so that's why teams wind up
     13   tracking them for purposes of keeping them in one   13   keeping a lot of their own manual tracking
     14   place, is there a place where information like      14   sheets. So it's possible, again, that this came
     15   that is kept?                                       15   from a manual tracking sheet that somebody was
     16         A. So again, all the information              16   doing.
     17   would be saved in the product shared drive. And     17         Q. All right. Let's go to the next
     18   then in the global regulatory affairs database,     18   document.
     19   every submission that goes to FDA, as well as       19                  - - -
     20   correspondence that come back to FDA, is entered    20             (Deposition Exhibit No.
     21   and logged into that database.                      21         Teva-Tomsky-16, Periodic Adverse Drug
     22         Q. So there is a log of                       22         Experience Report, ANDA: 076636,
     23   correspondence that goes back and forth?            23         TEVA_MDL_A_11065997 through
     24         A. Yes.                                       24         TEVA_MDL_A_11066038, was marked for


                                                                         56 (Pages 221 to 224)
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                                             Page 225                                                Page 226
      1         identification.)                              1        Q. That's a separate type of report?
      2                  - - -                                2        A. Yes.
      3   BY MR. CRAWFORD:                                    3        Q. And this pretty much just lists
      4         Q. So we've marked Exhibit 16, which          4   adverse events in prior 15-day reports and so on
      5   is a periodic adverse drug experience report for    5   that were discovered throughout the year. Right?
      6   the reporting period March 1, 2017 to February      6        A. That's correct.
      7   28, 2018. It's for ANDA 076-636.                    7        Q. And then who -- let's see.
      8             Again, this would be the generic          8             Is this report signed or verified
      9   Roxicodone product that we have been discussing     9   by anybody in the company?
     10   the past few exhibits. Correct?                    10        A. Yeah. I'm not certain. This is
     11         A. Yes, it appears so.                       11   a report that's put together by the
     12         Q. All right. This is called a               12   pharmacovigilance team, but I would think that
     13   PADER, right, P-A-D-E-R?                           13   there would be a cover letter on this at least.
     14         A. That's correct.                           14        Q. So it was prepared in Zagreb,
     15         Q. And are these the reports                 15   right, in Croatia?
     16   submitted pursuant to Section 314.80?              16        A. That's what it says, yes.
     17         A. That's correct.                           17        Q. And what group --
     18         Q. And this is -- now I guess an             18             It's the Teva periodic reports
     19   annual report at this stage of the marketing of    19   and risk management center global patient safety
     20   the drug. Right?                                   20   and pharmacovigilance group there that put this
     21         A. That's correct.                           21   together?
     22         Q. But it's not the annual report            22        A. That's what it says, yes.
     23   that's submitted for 314.81. Correct?              23        Q. This isn't a Teva USA company
     24         A. That's correct.                           24   that put this together. Right?


                                             Page 227                                                Page 228
      1             MS. HILLYER: Objection to form,           1        A. Which annual report? Are you
      2         lack of foundation.                           2   talking about 314.80 or 314.81?
      3             THE WITNESS: Yeah. I'm not sure           3        Q. 81.
      4         who the legal entity is.                      4        A. 314.81, the practice currently?
      5   BY MR. CRAWFORD:                                    5        Q. Yes.
      6         Q. But it's Teva. Right? It's a               6        A. Because the majority of them
      7   Teva company?                                       7   would be signed off in India.
      8         A. Yes.                                       8        Q. I got it.
      9         Q. Are these reports generally, the           9             Is that by a Teva entity in
     10   PADER reports, signed or verified by the company   10   India?
     11   when they're submitted as being accurate and       11        A. Yes.
     12   true?                                              12        Q. If you just go through the report
     13             MS. HILLYER: Objection to form.          13   here, page 5, reports with fatal outcome.
     14             THE WITNESS: Yes.                        14             That looks like there are several
     15   BY MR. CRAWFORD:                                   15   cases of overdose and death. Right? Here on the
     16         Q. And the annual reports are, too.          16   second page, from this drug?
     17   They're signed and verified by the company.        17             MS. HILLYER: I'm sorry, which
     18   Right?                                             18        page are we on?
     19         A. Yes.                                      19             MR. CRAWFORD: Page 6.
     20         Q. And who verifies the annual               20   BY MR. CRAWFORD:
     21   reports for the company?                           21        Q. Or potentially from the drug.
     22         A. Which annual reports are you              22        A. Allegedly, yes, it appears so.
     23   referring to now?                                  23        Q. And moving on to page 17, there's
     24         Q. For the opioids.                          24   a non-15-day report serious label. Two of them


                                                                        57 (Pages 225 to 228)
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                                             Page 229                                                Page 230
      1   are for addiction to opioids, drug dependence.      1   BY MR. CRAWFORD:
      2             Do you see those two at the               2         Q. -- page 35, there is a report of
      3   bottom?                                             3   some type of drug misuse here, where oxycodone at
      4        A. Yes.                                        4   least was one of the drugs that the patient was
      5        Q. So serious -- they're not                   5   taking. Right?
      6   reported within the 15 days because addiction is    6             MS. HILLYER: Objection to form.
      7   a side effect already in the label. Right?          7             THE WITNESS: Which one are you
      8        A. Correct. That's my                          8         looking at?
      9   understanding.                                      9   BY MR. CRAWFORD:
     10        Q. But it's considered serious.               10         Q. The first one.
     11             Serious is a defined term of art.        11         A. I see several drugs, including
     12   Right?                                             12   heroin, so...
     13        A. Yes.                                       13         Q. Right. And oxycodone is one of
     14        Q. So serious means -- what does it           14   the drugs, too. Right?
     15   mean, hospitalization, death or affecting          15         A. Yes.
     16   pregnancy or something like that?                  16         Q. Do you have any idea how many
     17        A. I'm not certain.                           17   people who use heroin started on prescription
     18        Q. So -- but addiction does fall              18   opioids, what the statistic is on that from the
     19   whatever under regulatory definition of serious.   19   CDC?
     20   Right?                                             20             MS. HILLYER: Objection to form.
     21        A. It appears so, yes.                        21             THE WITNESS: I do not.
     22        Q. And then moving on to --                   22   BY MR. CRAWFORD:
     23             MS. HILLYER: I'm sorry,                  23         Q. Would 80 percent surprise you?
     24        objection to form on the last one.            24             MS. HILLYER: Objection to form.


                                             Page 231                                                Page 232
      1              THE WITNESS: I've never heard            1         puts these together.
      2         any of those statistics, so I'm not           2   BY MR. CRAWFORD:
      3         familiar with it.                             3         Q. But this is submitted to the FDA.
      4   BY MR. CRAWFORD:                                    4   Right?
      5         Q. So the source says, "Spontaneous,          5         A. Yes. And as we discussed
      6   health authority, patient-consumer."                6   earlier, the regulatory affairs team manages the
      7              That just means that this report         7   new ANDA submissions and then the post-approval
      8   came into the company, Teva, through either a       8   supplements and annual reports, but the
      9   healthcare provider or a patient or a patient       9   pharmacovigilance team manages the drug safety
     10   family member. Right?                              10   reports.
     11              MS. HILLYER: Objection, lack of         11         Q. So they interface with the FDA
     12         foundation, calls for speculation. He's      12   directly on these reports?
     13         testified these reports don't come           13         A. Yes.
     14         through them.                                14         Q. Understood.
     15   BY MR. CRAWFORD:                                   15              But do you know what a
     16         Q. Where did this report -- does             16   spontaneous report is, right, in the regulatory
     17   this source of the report listed here give you     17   parlance?
     18   any idea what the potential source was of the      18         A. Generally speaking.
     19   report?                                            19         Q. Okay. What's your understanding
     20              MS. HILLYER: Same objections.           20   of a spontaneous report?
     21              THE WITNESS: Again, I'm not             21         A. When a company receives or when
     22         familiar with this report, how things are    22   anybody receives a report of an adverse event
     23         categorized, what this means. I have no      23   with a product.
     24         responsibility for these or the team that    24         Q. Let's go to the next doc.



                                                                        58 (Pages 229 to 232)
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                                                      Page 233                                                        Page 234
      1              Actually, hold on.                           1   knowledge, do you know if this is a drug that is
      2              Well, okay, let's mark it.                   2   currently being marketed by the company?
      3                   - - -                                   3         A.    I do not.
      4              (Deposition Exhibit No.                      4         Q.    Let's go to the next exhibit.
      5         Teva-Tomsky-17, Letter dated 07/11/2013,          5                   - - -
      6         Bates stamped Acquired_Actavis_00677901           6              (Deposition Exhibit No.
      7         through Acquired_Actavis_00677905, was            7         Teva-Tomsky-18, Letter dated August 17,
      8         marked for identification.)                       8         2011, Bates stamped TEVA_MDL_A_10662653
      9                   - - -                                   9         through TEVA_MDL_A_10662655, was marked
     10   BY MR. CRAWFORD:                                       10         for identification.)
     11         Q. Okay. We've marked Exhibit 17,                11                   - - -
     12   which is Bates Acquired_Actavis_00677901.              12   BY MR. CRAWFORD:
     13              It's an approval letter to -- for           13         Q.    Again, this is -- we marked
     14   ANDA 079-046 dated July 11, 2013, written to           14   another approval letter here,
     15   Actavis Elizabeth LLC by Kathleen Uhl at the FDA,      15   TEVA_MDL_A_10662653. It is ANDA number 076-709
     16   U-H-L. And it's granting final approval of the         16   for the fentanyl transdermal system.
     17   oxymorphone hydrochloride extended release             17              This again would be an approval
     18   tablet.                                                18   letter for --
     19              That's again generic Opana ER.              19         A.    This isn't an approval letter, at
     20   Right?                                                 20   least --
     21         A. Correct.                                      21         Q.    You're right. It's approving --
     22         Q. And do you know if this drug                  22   it's submitting an electronic REMS. Right?
     23   is -- and I understand you've said that you don't      23         A.    Correct.
     24   know a lot of the drugs, but just personal             24         Q.    But this would have been for a


                                                      Page 235                                                        Page 236
      1   product that was approved. Right?                       1     Laboratories FL Inc. It's from Vincent Samsone
      2        A.    I mean, I'm not certain. I would             2     from the FDA.
      3   have to go back and look at the entire history.         3              So this is an approval letter for
      4        Q.    Right. I could not find the                  4     generic Abstral. Right?
      5   approval letter.                                        5          A. That's what the letter states,
      6             But are you aware if Teva is                  6     yes.
      7   currently marketing a fentanyl transdermal              7          Q. And that's a TIRF product, a
      8   system?                                                 8     transmucosal -- some type of transmucosal
      9        A.    I'm not certain.                             9     product. Right?
     10        Q.    Or if it ever has?                          10              MS. HILLYER: Immediate release.
     11        A.    I believe it has, but I'm not               11              MR. CRAWFORD: Thank you.
     12   certain if it's currently manufactured or not.         12     BY MR. CRAWFORD:
     13        Q.    Let's go to the next document.              13          Q. Immediate release.
     14                 - - -                                    14          A. It appears to say that on page 3.
     15             (Deposition Exhibit No.                      15          Q. So again, do you know if Actavis
     16        Teva-Tomsky-19, Letter dated 11/17/2017,          16     or Teva has ever marketed this product and
     17        Bates stamped TEVA_MDL_A_08981645 through         17     whether it's currently being marketed?
     18        TEVA_MDL_A_08981651, was marked for               18          A. I'm not certain.
     19        identification.)                                  19          Q. Okay. Let's go to the next one.
     20                 - - -                                    20                   - - -
     21   BY MR. CRAWFORD:                                       21              (Deposition Exhibit No.
     22        Q.    We've marked here a letter dated            22          Teva-Tomsky-20, Letter dated 2014.12.29,
     23   November 17 -- or received November 17, 2017.          23          4 pages, was marked for identification.)
     24   It's a letter to Janet Vaughn of Actavis               24                   - - -


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                                             Page 237                                                        Page 238
      1   BY MR. CRAWFORD:                                    1   dependent on what product the -- what application
      2         Q. This is an approval letter for             2   the product is being manufactured under.
      3   morphine sulfate extended release capsules.         3        Q.    So if it was being manufactured
      4             I think it's for the brand name           4   under an NDA -- let's take a hypothetical.
      5   Kadian. Correct?                                    5             So it was being manufactured for
      6         A. I am not certain by this letter.           6   an NDA holder by Teva, who would be responsible
      7         Q. Do you know -- are you aware if            7   for the regulatory submissions, the annual
      8   Teva manufactures, markets or sells Kadian or a     8   reports and PADERs?
      9   generic version of Kadian?                          9        A.    So if it's being manufactured
     10         A. Yeah. I'm not certain.                    10   under the NDA, meaning the NDA holder would have
     11         Q. Is it possible that Teva                  11   filed a site change to, say, an ANDA holder, the
     12   currently manufactures Kadian for Allergan at      12   information would be filed to the NDA.
     13   this point in time?                                13        Q.    So that means the NDA holder is
     14         A. I'm not certain.                          14   filing it with the FDA?
     15         Q. If Teva manufactured a product            15        A.    Yes.
     16   for another company who is the NDA holder or an    16        Q.    All right. Let's do this next
     17   ANDA holder and that company distributed it, who   17   document here.
     18   would be responsible for making the regulatory     18                - - -
     19   submissions on that drug?                          19             (Deposition Exhibit No.
     20             MS. HILLYER: Objection to form.          20        Teva-Tomsky-21, Industry Meeting to
     21   BY MR. CRAWFORD:                                   21        Discuss Opioid Analgesics REMS, 7 pages,
     22         Q. Do you know? Is there kind of a           22        was marked for identification.)
     23   general rule?                                      23                - - -
     24         A. It would have to -- it would be           24   BY MR. CRAWFORD:


                                             Page 239                                                        Page 240
      1        Q. So we marked -- again, this                 1         the record.
      2   didn't come from the Teva production, but it's      2              THE VIDEOGRAPHER: Off the
      3   called, "Industry Meeting to Discuss Opioid         3         record, 2:28.
      4   Analgesics REMS." It's Exhibit 21.                  4                   - - -
      5             It's minutes of a meeting held            5              (A recess was taken from
      6   January 25, 2017. It looks like it was attended     6         2:28 p m. to 2:46 p m.)
      7   by members of the FDA and other organizations,      7                   - - -
      8   and then members of industry regarding opioid       8              THE VIDEOGRAPHER: We are back on
      9   analgesics REMS.                                    9         the record at 2:46.
     10             Had you heard about this meeting         10                   - - -
     11   occurring?                                         11              (Deposition Exhibit No.
     12        A. It's not familiar to me.                   12         Teva-Tomsky-22, Email chain, top one
     13        Q. I see that there's no Actavis or           13         dated 1/9/2017, Bates stamped
     14   Teva attendee.                                     14         TEVA_MDL_A_09655240 through
     15             I'm just wondering why, if you           15         TEVA_MDL_A_09655244, was marked for
     16   know, why they didn't attend this meeting?         16         identification.)
     17        A. No, I'm not certain.                       17                   - - -
     18        Q. Who was head of the REMS group             18   BY MR. CRAWFORD:
     19   there at the time at Teva?                         19         Q. I just have one more document
     20        A. Again, it would have been Kishore          20   here to look at. It's TEVA_MDL_A_09655240.
     21   Gopu, who we discussed earlier.                    21              It's an email chain, starting at
     22             MR. CRAWFORD: Take a minute or           22   least the last one at the top, Brenda Hunsberger
     23        two, I think I'm almost done.                 23   to you and several others, dated January 9, 2017.
     24             MS. HILLYER: Okay. We'll go off          24   "Follow-Up Meeting: Status Check - ANDA Holder



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                                              Page 241                                                 Page 242
      1   Fee Clean-Up. Attachments: All Teva Companies        1   the purposes of calculating the fees.
      2   and Product ANDA numbers" in an Excel                2             You wouldn't have to have, like
      3   spreadsheet.                                         3   if you got 20 different ANDA holders that are all
      4              So this is just the email chain.          4   owned by the same company, you didn't have to pay
      5              Can you tell me what this                 5   20 different fees. Right?
      6   interchange was about, as you recall?                6         A. Yes.
      7         A. Sure. As I recall, under the                7         Q. And so what you're doing here is
      8   Generic Drug User Fee Act, GDUFA II, FDA began       8   you're trying to compile all the various legacy
      9   charging a program fee based on the number of        9   entities and the ANDAs that you hold and you're
     10   approved applications per company.                  10   trying to get that list generated. Right?
     11              And there was three different            11         A. That's correct.
     12   buckets. There was small, medium and large.         12         Q. And did you successfully get that
     13   Anybody with more than 20 approved applications     13   list?
     14   was considered to pay the large fee.                14         A. Yes.
     15              But it's not like each applicant         15         Q. And who's Brenda -- did Ms.
     16   holder had to pay a fee. For example, Actavis       16   Hunsberger send that list?
     17   didn't have to pay and Teva and Watson. So you      17         A. So she's no longer with the
     18   can claim all those companies under the Teva        18   company. Currently it's done by someone named
     19   affiliate.                                          19   Megan Hughes.
     20              So the purpose of this was to            20         Q. What department is she in?
     21   make sure that we collected all the different       21         A. It's in regulatory, it's called
     22   applicants and put them under the bucket of Teva.   22   the regulatory information management.
     23         Q. So you can say that a family of            23         Q. Are they based in Parsippany?
     24   related companies could be compiled together for    24         A. Currently she's based in Frazer.


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      1   Eventually, this position will be located in         1   process, was they gave you access to this, the
      2   Parsippany.                                          2   FDA?
      3          Q. So this list that's attached is            3         A. That's correct.
      4   basically just a list -- I haven't attached it,      4         Q. Is the public able to download
      5   it's a huge spreadsheet.                             5   this?
      6              But to me, tell me if this is             6         A. Yes.
      7   accurate, it's a list of all the Teva-related        7         Q. So -- but who made the decision
      8   companies, including the Actavis entities,           8   or figured out what entities were Teva-related
      9   Watson, Ivax, Barr, ones that they've acquired in    9   entities? Was that Ms. Hunsberger's department?
     10   the past, and then there are ANDA numbers and       10         A. No. It was a compilation of
     11   drug name below each company.                       11   several people. We worked with lawyers as well
     12              Is that what's being compiled            12   to make sure that we were capturing all the Teva
     13   here?                                               13   entities.
     14          A. Generally speaking, yes. This is          14         Q. And do you feel that this final
     15   a list that was downloaded from the FDA's           15   list captured all the Teva entities accurately?
     16   website.                                            16         A. Yes.
     17          Q. So this was compiled from the FDA         17               MR. CRAWFORD: All right. That's
     18   website or from an internal database?               18         all I have. Thank you.
     19          A. Yeah. So this is a list that              19               THE VIDEOGRAPHER: Going off
     20   would have came from the FDA, then each company     20         the --
     21   downloads that list and separates out all the       21               MS. HILLYER: No. Stay on the
     22   different entities that they want to claim as       22         record.
     23   being under one company.                            23               THE VIDEOGRAPHER: Okay. Sorry.
     24          Q. So was this part of the fee               24               MS. HILLYER: Mr. Tomsky, I just


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                                             Page 245                                                Page 246
      1        have one brief redirect.                       1        neither.
      2                 - - -                                 2              MS. HILLYER: Do we have to go
      3               EXAMINATION                             3        off the record to swap?
      4                 - - -                                 4              THE VIDEOGRAPHER: Yep, please.
      5   BY MS. HILLYER:                                     5              Going off the record, 2:52.
      6        Q. Earlier in response to Mr.                  6                  - - -
      7   Crawford's questioning, you were talking about      7              (A discussion off the record
      8   conversations you had with an individual in         8        occurred.)
      9   Israel.                                             9                  - - -
     10             Do you recall that?                      10              THE VIDEOGRAPHER: We are back on
     11        A. Yes.                                       11        the record at 2:53.
     12        Q. And you mentioned that the                 12                  - - -
     13   substance or the basis for those conversations     13                 EXAMINATION
     14   was the product filings prepared for the US.       14                  - - -
     15             Do you recall that?                      15   BY MR. GASTEEL:
     16        A. Yes.                                       16        Q. Good afternoon, Mr. Tomsky. My
     17        Q. Were any of those products opioid          17   name is Ben Gasteel. I represent a group of
     18   products?                                          18   plaintiffs in the state of Tennessee who are
     19        A. No. Because all the opioid                 19   pursuing cases that are slightly different than
     20   products are manufactured in the US. And the       20   the cases that Mr. Crawford had been asking you
     21   Israel team had nothing to do with those.          21   questions throughout the day.
     22             MS. HILLYER: I have no further           22              I'm going to go -- I'm not going
     23        questions at this time.                       23   to spend as much time as Mr. Crawford did today,
     24             MR. CRAWFORD: All right. Me              24   so hopefully we can get out of here relatively


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      1   quickly.                                            1        correspondence later in the month where
      2               I'm going to do my best not to          2        we told you that we did not cross-notice
      3   cover anything that Mr. Crawford covered, but       3        Mr. Tomsky in the Tennessee action and we
      4   there might be a little bit of overlap.             4        objected to your questioning him here.
      5               I want to begin, you testified          5        And there was no response received from
      6   earlier about giving a deposition last week in a    6        your firm.
      7   case?                                               7             So I understand that, you know,
      8               MS. HILLYER: Sorry, Ben, before         8        you and I talked earlier off the record
      9         you get too far into your questions, I        9        that you guys believe you sent the
     10         just want to place some objections on the    10        cross-notice. Setting that aside, I'm
     11         record --                                    11        going to allow you guys to go ahead with
     12               MR. GASTEEL: Sure.                     12        questioning Mr. Tomsky over our
     13               MS. HILLYER: -- as I know you          13        objection, both to the relevancy of his
     14         probably expected.                           14        deposition and procedurally how we got to
     15               So we did not -- or the key            15        being here, but with the understanding
     16         people relevant to working on the            16        that, you know, as the Tennessee case
     17         Tennessee case from my firm did not          17        proceeds, to the extent you later seek to
     18         receive the cross-notice that you told me    18        depose Mr. Tomsky, we're going to say
     19         about today.                                 19        that this was your opportunity to do that
     20               I understand that your firm was        20        and we've now given you that -- and we'll
     21         informed earlier this month about who        21        give you the opportunity to do that.
     22         should be on the notification list.          22             MR. GASTEEL: So I'll just say
     23         Those people were not on the notification    23        very shortly in response that we think
     24         list. And then there was subsequent          24        that we've properly cross-noticed Mr.


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                                              Page 249                                                 Page 250
      1         Tomsky in the deposition. And to the           1         A. I believe so.
      2         extent that, you know, we may need to          2         Q. Was it a Teva product that the
      3         talk to him again, we'll continue to           3   plaintiff took that resulted in that lawsuit?
      4         reserve that right. But we're certainly        4         A. Allegedly.
      5         here willing and able to ask him some          5         Q. Mr. Crawford had previously asked
      6         questions today.                               6   you some questions about the current opioid
      7              MS. HILLYER: Understood.                  7   epidemic and crisis that's going on in this
      8   BY MR. GASTEEL:                                      8   country.
      9         Q. With all of that out of the way,            9              Do you recall some of that
     10   Mr. Tomsky, you talked earlier today about giving   10   testimony?
     11   a deposition last week in an opioid-related case.   11         A. Yes.
     12              Do you recall that?                      12         Q. Can you clarify, because I wasn't
     13         A. Yes.                                       13   sure about your testimony.
     14         Q. Do you recall the name of the              14              As VP of regulatory affairs of
     15   plaintiff in that case?                             15   generics at Teva, you knew that there was a
     16         A. I believe it was Guevnos.                  16   problem with abuse and misuse of prescription
     17         Q. I don't suppose you know how to            17   opioids throughout the country. Right?
     18   spell that?                                         18              MS. HILLYER: Objection to form.
     19         A. I could try. I think it's                  19              THE WITNESS: I wouldn't say I
     20   G-U-E-V-N-O-S.                                      20         necessarily agree with that statement.
     21         Q. And do you know if that case was           21              Can you reword?
     22   pending in federal or state court?                  22   BY MR. GASTEEL:
     23         A. I'm not certain.                           23         Q. Well, do you believe that there
     24         Q. Is Teva a defendant in that case?          24   is a prescription opioid epidemic in this country


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      1   right now?                                           1   yourself as to the places that were particularly
      2         A. I believe there is an opioid                2   prone to abuse and misuse of prescription
      3   epidemic related to the misuse and illicit use of    3   opioids?
      4   drugs.                                               4             MS. HILLYER: Same objection.
      5         Q. And that would include                      5             THE WITNESS: No.
      6   prescription opioids?                                6   BY MR. GASTEEL:
      7         A. Prescription opioids when they're           7         Q. While working with Teva as the VP
      8   obtained not from a prescriber or healthcare         8   of regulatory affairs generics, did you
      9   professional or what have you.                       9   investigate at all the amount of Teva-produced
     10         Q. And that would be an example of            10   generic opioids that were filling prescriptions
     11   an abuse or a misuse of a prescription opioid.      11   in this country?
     12   Right?                                              12         A. No.
     13         A. Illicit misuse, yes.                       13             MS. HILLYER: Objection to the
     14             MS. HILLYER: Ben, can you speak           14         form.
     15         up?                                           15   BY MR. GASTEEL:
     16             MR. GASTEEL: Sure.                        16         Q. Prior to joining Teva, do you
     17   BY MR. GASTEEL:                                     17   recall having any knowledge about abuse and
     18         Q. Did you ever try to educate                18   misuse of prescription opioids?
     19   yourself as to the reasons why there was large      19         A. No.
     20   scale abuse and misuse of prescription opioids?     20         Q. Did the companies that you worked
     21             MS. HILLYER: Objection to form.           21   for prior to Teva manufacture or produce
     22             THE WITNESS: No, I did not.               22   prescription opioids?
     23   BY MR. GASTEEL:                                     23         A. So I believe Ranbaxy had
     24         Q. Did you ever try to educate                24   applications for these products. Whether or not


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                                              Page 253                                                 Page 254
      1   they are actively manufacturing them or              1        Q. And the email is forwarding an
      2   distributing them, I am not certain.                 2   email from the previous day.
      3         Q. But they had at least an NDA or             3             Do you see that?
      4   an ANDA to make them?                                4        A. Yes.
      5         A. They had an ANDA.                           5        Q. From a Mark Hendricks (sic) at
      6                  - - -                                 6   the GPHA?
      7             (Deposition Exhibit No.                    7        A. Yes.
      8         Teva-Tomsky-23, Email chain, top one           8        Q. What is the GPHA?
      9         dated September 11, 2013, Bates stamped        9        A. The Generic Pharmaceutical
     10         TEVA_MDL_A_11584417 through                   10   Association.
     11         TEVA_MDL_A_11584419, was marked for           11        Q. Is that a trade group that Teva
     12         identification.)                              12   is part of?
     13                  - - -                                13        A. Yes.
     14   BY MR. GASTEEL:                                     14        Q. And do they help Teva monitor
     15         Q. I hand you a document that we'll           15   what's going on at the FDA?
     16   mark as Exhibit 23.                                 16             MS. HILLYER: Objection.
     17             MS. HILLYER: Take your time to            17   BY MR. GASTEEL:
     18         look it over.                                 18        Q. With regard to generic
     19             THE WITNESS: Okay.                        19   medications?
     20   BY MR. GASTEEL:                                     20             MS. HILLYER: Objection to form.
     21         Q. Do you see that this is an email           21             THE WITNESS: They're a generic
     22   from Gary Buehler to a variety of people,           22        trade association and, sure, they help
     23   including you, on September 11, 2013?               23        disseminate information that's relevant
     24         A. Yes.                                       24        to the generic industry.

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      1   BY MR. GASTEEL:                                      1   and post market studies to combat the crisis of
      2         Q. And do they lobby on behalf of              2   misuse, abuse, addiction, overdose, and death
      3   the industry?                                        3   from those potent drugs that have harmed too many
      4         A. I believe so. It's outside of my            4   patients and devastated too many families and
      5   area of scope, though.                               5   communities."
      6         Q. I'm going to go through the email           6              Did I read that correctly?
      7   that was forwarded to you. It was referencing a      7         A. Yes.
      8   call that occurred on September 10, 2013.            8         Q. And that was attributed to --
      9              Do you see that at the top of the         9   that was a statement that was attributed to the
     10   email, sir?                                         10   FDA commissioner at the time, Dr. Margaret
     11         A. Yes.                                       11   Hamburg.
     12         Q. Do you recall whether or not you           12              Do you see that?
     13   were on this FDA call that this email summarizes?   13         A. Yes.
     14         A. I do not recall.                           14         Q. And then the email goes on to
     15         Q. Do you see that the first                  15   talk about a letter that was received by NDA and
     16   paragraph states that: The guidance focused on      16   ANDA applicants.
     17   class-wide likely changes and due postmarket        17              Do you see that?
     18   survey requirements for all extended-release and    18              MS. HILLYER: Where are you
     19   long-acting opioid analgesics intended to treat     19         looking?
     20   pain.                                               20              THE WITNESS: Yeah. I'm not --
     21              Did I read that correctly?               21         where are you?
     22         A. More or less, yes.                         22   BY MR. GASTEEL:
     23         Q. And it says, "The FDA is invoking          23         Q. So at the bottom it says there's
     24   its authority to require safety labeling changes    24   a letter to applicant holders.


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                                             Page 257                                                 Page 258
      1              MS. HILLYER: The very last               1              MS. HILLYER: I think he's here.
      2         paragraph?                                    2              THE WITNESS: Oh, okay.
      3              MR. GASTEEL: It's the last thing         3              Yes.
      4         in the email above the signature block.       4   BY MR. GASTEEL:
      5              THE WITNESS: Okay.                       5        Q. Do you recall when the FDA
      6   BY MR. GASTEEL:                                     6   required these safety labeling changes?
      7         Q. Do you see that?                           7        A. I'm not certain.
      8         A. Yes.                                       8        Q. Do you know if Teva added that
      9         Q. Do you know if Teva received the           9   label to its generic opioids at that time?
     10   letter that was referenced in this email?          10              MS. HILLYER: Objection to form.
     11         A. Either way. I mean, via this              11              THE WITNESS: Again, as I had
     12   email itself they would have received this         12        testified earlier, I mean, we monitor the
     13   letter.                                            13        FDA's website for labeling updates and
     14         Q. And then the email goes on, I             14        revisions and to keep our labeling in
     15   believe, in the fifth paragraph down, beginning,   15        line with the branded drug or the
     16   "A safety labeling change was instituted."         16        reference listed drug holder.
     17              Do you see that?                        17   BY MR. GASTEEL:
     18         A. Yes.                                      18        Q. And according to this email, Teva
     19         Q. And it goes on to talk about new          19   would have at least had knowledge as of September
     20   requirements for a boxed warning of -- it says     20   of 2013 that the FDA commissioner thought that
     21   addition, but I think it's meant to say            21   there was an opioid crisis of misuse, abuse,
     22   addiction, "abuse, and misuse, which can lead to   22   addiction, overdose and death. Correct?
     23   overdose and death."                               23              MS. HILLYER: Objection to form.
     24              Do you see that?                        24              THE WITNESS: Sorry, can you


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      1         repeat your question?                         1              Take as much time with this
      2   BY MR. GASTEEL:                                     2   document, sir, my question is going to be whether
      3         Q. Sure.                                      3   or not you recall receiving this email.
      4             It says, according to this email,         4         A. I mean, it doesn't stand out to
      5   Teva would have at least had knowledge as of        5   me that I recall immediately when we received it,
      6   September of 2013 that the FDA commissioner         6   but sure, I mean, I'm on the email.
      7   thought there was an opioid crisis of misuse,       7         Q. Any reason to doubt that you
      8   abuse, addiction, overdose, and death. Correct?     8   received it?
      9             MS. HILLYER: Same objection.              9         A. No.
     10              THE WITNESS: Yes.                       10         Q. Do you recall the citizen's
     11                  - - -                               11   petition that's referenced in this document?
     12              (Deposition Exhibit No.                 12         A. I do not.
     13         Teva-Tomsky-24, Email chain, top one         13         Q. Just for the jury, sir, can you
     14         dated 11/1/2013, Bates stamped               14   briefly describe what an FDA citizen's petition
     15         TEVA_MDL_A_03487762 through                  15   is?
     16         TEVA_MDL_A_03487773, was marked for          16         A. Sure. So a citizen's petition is
     17         identification.)                             17   a petition that's filed by anyone, any citizen of
     18                  - - -                               18   the United States or advocacy group or what have
     19   BY MR. GASTEEL:                                    19   you. It's opinions that are expressed and
     20         Q. I'm going to hand you a document          20   written to the FDA to take into consideration.
     21   that we'll mark as Exhibit 24. And it's an email   21         Q. And does Teva regularly track
     22   and attachment to the email. And this is an        22   citizen's petitions that have been filed with the
     23   email chain from October 2013 regarding a          23   FDA?
     24   citizen's petition filed by various groups.        24              MS. HILLYER: Objection to form.


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                                                       Page 261                                            Page 262
      1              THE WITNESS: Yes.                             1             I want to flip to what I think is
      2   BY MR. GASTEEL:                                          2   the second page of that document. It's the email
      3         Q. And do you take positions on                    3   from Gina Elton to a variety of people, including
      4   citizen's petitions? In other words, does Teva           4   you, on Tuesday, October 29, 2013.
      5   file responses to citizen's petitions?                   5             Do you see that?
      6         A. I would say generally speaking we               6        A. Yes.
      7   don't. These are petitions that are filed to FDA         7        Q. And it says, "FYI -- this CP was
      8   for FDA to opine on. There may have been cases           8   on our Watch List."
      9   in the past where Teva has felt the need to              9             Did I read that correctly?
     10   respond to one, but generally speaking we               10        A. Yes.
     11   typically don't respond to these citizen's              11        Q. Do you know what that reference
     12   petitions.                                              12   to "on our Watch List" means?
     13         Q. Is it regulatory affairs that                  13        A. No. I mean, I believe it has to
     14   tracks these citizen's petitions?                       14   do with products -- if we have a pending or
     15         A. So, at this time, it would have                15   approved products, therefore, we would want to
     16   the regulatory intelligence and policy group.           16   look at any citizen's petitions filed for any of
     17         Q. And who in the regulatory                      17   our pending or approved products.
     18   intelligence and policy group would have been           18        Q. And then if you flip to the next
     19   responsible for tracking FDA petitions at this          19   page, the email kind of gives a brief summary of
     20   time?                                                   20   what the citizen's petition sets forth.
     21         A. It would be Gary Buehler or it                 21             Do you see that?
     22   was also Gina Elton who was a part of his team          22        A. Yes.
     23   who is on this email.                                   23        Q. And then I want to begin with the
     24         Q. Great.                                         24   paragraph, it's kind of the last paragraph. It


                                                       Page 263                                            Page 264
      1   says, "The CP opens with a discussion."                  1   decisions made by the FDA regarding these
      2        A.      Okay.                                       2   products."
      3        Q.      Do you see that?                            3             Did I read that correctly?
      4             And it says the CP -- and that's               4          A. Yes.
      5   a reference to the citizen's petition. Right?            5          Q. And then it states, "While they
      6        A.      That's correct.                             6   applauded the oxycodone decision, they were
      7        Q.      "The citizen's petition opens               7   highly critical of the oxymorphone and
      8   with a discussion of the current status of the           8   buprenorphine implant decisions."
      9   abuse epidemic and the current administration's          9             Did I read that correctly?
     10   policy towards this problem."                           10          A. Yes.
     11             Did I read that correctly?                    11          Q. And then they state, and then it
     12        A.      Yes.                                       12   goes on to state, "They state tat" -- I think
     13        Q.      And then it goes on to detail              13   it's supposed to be that -- "recent FDA actions
     14   some of the products that are referenced in             14   indicate that the FDA is not acting in a manner
     15   there.                                                  15   that adequately reflects the urgency of the
     16             Do you see the sentence                       16   prescription drug abuse epidemic, and that the
     17   beginning, "Numerous other initiatives from other       17   FDA is not optimally exercising its regulatory
     18   Federal agencies"? Or I'm sorry, the sentence           18   authority to enhance the Obama" Administration's
     19   that begins, "The CP then discusses the specific        19   policies.
     20   products."                                              20             Did I read that correctly?
     21        A.      Yes.                                       21          A. Yes.
     22        Q.      And it says, "The CP then                  22          Q. And then it goes on to state that
     23   discusses the specific products, oxycodone ER,          23   the applicants are seeking applications for
     24   oxymorphone ER, and buprenorphine implant and the       24   opioids without abuse-deterrent properties should


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                                              Page 265                                                 Page 266
      1   not be approved and that the FDA should work with    1   petition would affect the generic Teva business
      2   sponsors to gather and report the needed data to     2   negatively?
      3   support new abuse-deterrent formulations.            3         A. Again, without reading the
      4             Did I read that correctly?                 4   petition, I'm not certain.
      5         A. Yes.                                        5         Q. And then is it because at that
      6        Q. What is your understanding of                6   time Teva did not manufacture any abuse-deterrent
      7   abuse-deterrent formulations?                        7   formulations of generic opioids?
      8        A. Abuse-deterrent formulations,                8              MS. HILLYER: Objection to form,
      9   meaning that it's more difficult to abuse than       9         calls for speculation.
     10   normal, such as hard to crush, difficult to         10              THE WITNESS: Yeah, I'm not
     11   snort, things like that.                            11         certain.
     12        Q. And then do you see that the                12   BY MR. GASTEEL:
     13   summary then closes with, "It is difficult to       13         Q. Are you aware of any generic
     14   assess the overall impact on Teva. It will          14   opioids that Teva was producing then or has ever
     15   impact both the generic and brand opioid            15   produced, marketed and distributed that have
     16   programs-negatively for the generics and            16   abuse-deterrent properties?
     17   positively for the brand."                          17              MS. HILLYER: Objection to form.
     18             Did I read that correctly?                18              THE WITNESS: I don't believe so.
     19        A. Actually, I didn't see where you            19   BY MR. GASTEEL:
     20   are.                                                20         Q. Will you flip to -- I'm sorry.
     21        Q. It's the two last sentences of              21              Go back to the first page of the
     22   that paragraph, sir.                                22   email.
     23         A. Yes.                                       23              And then do you see that it
     24        Q. Do you know why this citizen's              24   attaches the FDA opinion granting in part and


                                              Page 267                                                 Page 268
      1   denying in part this citizen's petition?             1   statement?
      2         A. Where are you?                              2             MS. HILLYER: Objection to form.
      3         Q. It's on the attachments line                3             THE WITNESS: Sorry, can you
      4   of --                                                4        repeat your question?
      5         A. Oh, okay.                                   5   BY MR. GASTEEL:
      6         Q. Do you see that?                            6        Q. Do you agree or disagree with the
      7         A. Yes.                                        7   statement in this FDA ruling that "Abuse and
      8         Q. And then if you flip to the                 8   misuse of prescription opioids is a public health
      9   attachment, which I've included in your              9   epidemic"?
     10   Exhibit 24, you'll see the FDA decision.            10        A. I agree with that.
     11             Do you see that?                          11        Q. And that's going as far back as
     12         A. Yes.                                       12   2013. Right?
     13         Q. Will you flip to the second page,          13        A. That's when this is from, yes.
     14   and it says "Background"?                           14        Q. And it says, "According to the
     15         A. Yes.                                       15   Centers for Disease Control and Prevention...
     16         Q. And it begins with, "Abuse and             16   sales of prescription opioids in the United
     17   misuse of prescription opioids is a public health   17   States quadrupled from 1999 to 2010."
     18   epidemic."                                          18             Did I read that correctly?
     19             Did I read that correctly?                19        A. Yes.
     20         A. Yes.                                       20        Q. "Overdose deaths involving" those
     21         Q. So it sounds like you disagree             21   "products increased commensurately over the same
     22   with the FDA that abuse and misuse of               22   period, from 4,030 to 16,651."
     23   prescription opioids is a public health epidemic.   23             Did I read that correctly?
     24             Do you disagree with that                 24        A. Yes.


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                                              Page 269                                                 Page 270
      1        Q. "By 2010 prescription opioids                1   abuse-deterrent properties to be a public health
      2   were involved in more than 75 percent of all         2   priority and supports that priority in several
      3   prescription drug-related overdose deaths."          3   ways."
      4             Did I read that correctly?                 4             Did I read that correctly?
      5        A. Yes.                                         5        A. Yes.
      6        Q. Do those numbers trouble you,                6        Q. Did Teva also think that
      7   sir?                                                 7   abuse-deterrent properties was important -- was a
      8             MS. HILLYER: Objection to form.            8   public health priority in 2013?
      9             THE WITNESS: I've never                    9             MS. HILLYER: Objection to form.
     10        considered those numbers before. I never       10             THE WITNESS: I'm not certain.
     11        thought about it.                              11   BY MR. GASTEEL:
     12   BY MR. GASTEEL:                                     12        Q. But at that time it was not
     13        Q. Well, as you're presented with              13   manufacturing any opioids that had
     14   them today, do those numbers trouble you?           14   abuse-deterrent properties. Correct?
     15             MS. HILLYER: Same objection.              15             MS. HILLYER: Objection to form.
     16             THE WITNESS: Again, I don't have          16             THE WITNESS: I don't believe so.
     17        an opinion on it.                              17                 - - -
     18   BY MR. GASTEEL:                                     18             (Deposition Exhibit No.
     19        Q. Will you flip to the next page,             19        Teva-Tomsky-25, Email chain, top one
     20   beginning with section A, "Abuse-Deterrent          20        dated 1/14/2014, Bates stamped
     21   Opioids."                                           21        TEVA_MDL_A_10197053 and
     22        A. Okay.                                       22        TEVA_MDL_A_10197054, was marked for
     23        Q. And it says, "FDA considers the             23        identification.)
     24   development of opioid analgesics with               24                 - - -


                                              Page 271                                                 Page 272
      1   BY MR. GASTEEL:                                      1   filed the citizen's petition.
      2         Q. You've just been handed a                   2         A. Yes.
      3   document that we have marked as Exhibit 25. And      3         Q. And then the email from Mr.
      4   it's an email from January 2014 from Gary Buehler    4   Buehler to you and a variety of other people on
      5   to a variety of people, including you.               5   January 14, 2014 summarizes the citizen's
      6             Do you see that?                           6   petition.
      7         A. Yes.                                        7              Do you see that?
      8         Q. And it is also forwarding on an             8         A. Yes.
      9   email from Gina Elton from January 13, 2014.         9         Q. And do you see the last -- I'm
     10             Do you see that?                          10   sorry, the second to last paragraph, it says, "It
     11         A. Yes.                                       11   is clear that this CP is a protest by a highly
     12         Q. And then the email from Gina               12   principled organization against the approval of
     13   Elton on Monday, January 13, 2014 has another one   13   Zohydro ER because it did not contain
     14   of these tables that we saw in the previous         14   abuse-deterrent technology."
     15   document.                                           15              Did I read that correctly?
     16             Do you see that?                          16         A. Sorry, I didn't follow where you
     17         A. Yes.                                       17   are.
     18         Q. And it has formulated or                   18         Q. Sure. It's the third paragraph
     19   formatted it in the same way, and it again is       19   there, beginning "It is clear."
     20   tracking another citizen's petition that has been   20         A. Yes.
     21   filed with the FDA. Right?                          21         Q. And then Mr. Buehler -- am I
     22         A. Yes, it appears so.                        22   saying his name correctly?
     23         Q. And then this one is from the              23         A. Yes.
     24   Pharmacists Planning Services is the entity that    24         Q. It's like the character in the


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                                                     Page 273                                                    Page 274
      1   film?                                                  1             Do you see that?
      2        A. Yes.                                           2        A.    Yes.
      3        Q. He closes that paragraph with a                3        Q.    Do you know why he thought that
      4   claim that "Drug abuse in this country is an           4   this particular citizen's petition was not going
      5   epidemic."                                             5   to impact Teva?
      6            Did I read that correctly?                    6        A.    I'm not certain.
      7        A. Yes.                                           7        Q.    Do you know how often you receive
      8        Q. "I do not believe that                         8   these emails about citizen's petitions from the
      9   abuse-deterrent products will solve the problem,       9   FDA?
     10   but they would certainly be a start in addressing     10        A.    So when Gary was here, we'd
     11   the impact of this problem."                          11   receive them quite regularly. But since Gary has
     12            Did I read that correctly?                   12   left, I would say they're few and far between.
     13        A. Yes.                                          13   Although the legal team has started taking over
     14        Q. Do you share that view, that                  14   the responsibility for circulating these.
     15   abuse-deterrent products will be a start in           15        Q.    Okay. And best guess, about how
     16   addressing the impact of the drug abuse in this       16   often do you receive these types of emails about
     17   country that Mr. Buehler was describing in this       17   citizen's petitions at the FDA?
     18   email?                                                18             MS. HILLYER: Objection to form.
     19            MS. HILLYER: Objection to form.              19             THE WITNESS: Roughly a couple
     20            THE WITNESS: I haven't thought               20        times a month maybe.
     21        about it.                                        21                 - - -
     22   BY MR. GASTEEL:                                       22             (Deposition Exhibit No.
     23        Q. And then he closes that, "This CP             23        Teva-Tomsky-26, Email dated November 21,
     24   should not impact Teva."                              24        2017, Bates stamped TEVA_MDL_A_11731225


                                                     Page 275                                                    Page 276
      1        through TEVA_MDL_A_11731228, was marked           1   is the liaison between FDA and the company, I
      2        for identification.)                              2   send out similar emails for any guidances that
      3                 - - -                                    3   are issued.
      4   BY MR. GASTEEL:                                        4         Q. Sure. And then you also included
      5        Q.    Do you see that -- this, sir?               5   the statement from the FDA commissioner, Dr.
      6             This is an email that you sent on            6   Gottlieb. Right?
      7   November 21, 2017 to a variety of people I assume      7         A. Yes.
      8   at Teva. Correct?                                      8         Q. Is Dr. Gottlieb still the FDA
      9        A.    Yes.                                        9   commissioner today?
     10        Q.    And with the subject "FDA issues           10         A. For probably another couple of
     11   guidance on development of generic                    11   weeks maybe.
     12   abuse-deterrent opioids."                             12         Q. And the statement begins, "As we
     13        A.    Yes.                                       13   continue to confront the staggering human and
     14        Q.    And it says, "All, Please see              14   economic toll created by opioid abuse and
     15   below. Attached is the guidance. I have not"          15   addiction, we're focused on taking actions that
     16   reviewed yet, "but we will do so. Wanted to           16   reduce the scope of new addiction by decreasing
     17   share with everyone ASAP."                            17   unnecessary exposure to opioids."
     18             Did I read that correctly?                  18              Did I read that correctly?
     19        A.    Yes.                                       19         A. Yes.
     20        Q.    So when this came out, you                 20         Q. Did you agree when you forwarded
     21   thought that it was important to share to some of     21   this testimony or this statement on to your
     22   your team over at Teva. Correct?                      22   colleagues at Teva that there was a staggering
     23        A.    Sure. Any time any new guidances           23   human and economic toll created by opioid abuse?
     24   come out from FDA, again, as the regulatory team      24              MS. HILLYER: Objection to form.


                                                                             69 (Pages 273 to 276)
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                                             Page 277                                                Page 278
      1             THE WITNESS: I didn't think               1             MS. HILLYER: Objection to form.
      2         about it.                                     2             THE WITNESS: I believe so.
      3   BY MR. GASTEEL:                                     3   BY MR. GASTEEL:
      4         Q. And then again, this is talking            4         Q. And will you flip to the second
      5   again about abuse-deterrent formulations of         5   page of his statement.
      6   prescription opioids. And in the second             6             And there's the first full
      7   paragraph beginning with abuse with -- "Opioids     7   paragraph on that page beginning, "Transitioning
      8   with abuse-deterrent formulations."                 8   from the current market."
      9             Do you see that?                          9             Do you see that?
     10         A. Yes.                                      10         A. Yes.
     11         Q. His statement says, abuse --              11         Q. His statement says,
     12   "Opioids with abuse-deterrent formulations...are   12   "Transitioning from the current market, dominated
     13   intended to make certain types of abuse, such as   13   by conventional opioids, to one in which most
     14   crushing a tablet to snort or dissolving a         14   opioids have abuse-deterrent properties, holds
     15   capsule to inject, more difficult or less          15   significant promise for a meaningful public
     16   rewarding."                                        16   health benefit."
     17             Did I read that correctly?               17             Did I read that correctly?
     18         A. Yes.                                      18         A. Yes.
     19         Q. Was that a concern because the            19         Q. Did you agree with his statement,
     20   current versions of opioids on the market could    20   that a meaningful public health benefit could be
     21   be easily crushed or snorted or injected? Is       21   obtained by moving to abuse-deterrent property
     22   that part of the reason why the FDA is pushing     22   prescription opioids, as opposed to the
     23   for the development of abuse-deterrent             23   conventional opioids that have dominated the
     24   formulations of prescription opioids?              24   market for the last several years?


                                             Page 279                                                Page 280
      1             MS. HILLYER: Objection to form.           1   opioids.
      2             THE WITNESS: I didn't think               2             Do you recall that document and
      3         about it.                                     3   testifying?
      4   BY MR. GASTEEL:                                     4         A. Yes.
      5         Q. And when the FDA commissioner in           5         Q. As we review some of these
      6   this statement references "dominated by             6   documents about the FDA statements regarding
      7   conventional opioids," he's referencing the         7   prescription opioids abuse and misuse, does it
      8   prescription opioids that Teva has been             8   concern you at all that Teva has made these
      9   manufacturing for several years. Correct?           9   conventional opioids that are the source of this
     10             MS. HILLYER: Objection to form           10   problem, and continues to do so, without any
     11         and calls for speculation.                   11   abuse-deterrent properties?
     12             THE WITNESS: He's referring to           12             MS. HILLYER: Objection to form.
     13         opioids that do not have abuse-deterrent     13             THE WITNESS: No. These are
     14         properties.                                  14         FDA-approved products that when
     15   BY MR. GASTEEL:                                    15         prescribed according to the FDA-approved
     16         Q. And that would be the types of            16         label, and taking into consideration the
     17   opioids that Teva has been manufacturing for       17         FDA-approved warnings and precautions,
     18   several years. Correct?                            18         and when patients use them as directed,
     19         A. Sure, yes.                                19         and when licensed pharmacists dispense
     20         Q. You recall today that Mr.                 20         them as directed, these medicines still
     21   Crawford had asked you a lot of questions          21         serve a medical need to patients who need
     22   about -- I believe it's Exhibit 2, which is the    22         them.
     23   document that listed Teva's opioid products and    23   BY MR. GASTEEL:
     24   its share of -- market share of prescription       24         Q. Sure. But Teva is aware that


                                                                        70 (Pages 277 to 280)
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                                              Page 281                                                Page 282
      1   there is large-scale abuse and misuse, in other      1   market, sell and distribute those throughout the
      2   words, there's large scale use that is outside of    2   country, including in states like the state of
      3   the process of people taking them as directed        3   Tennessee. Right?
      4   when a licensed pharmacist dispenses them            4         A. I'm not certain, actually.
      5   pursuant to a valid prescription. Right?             5         Q. You're not certain as to whether
      6              MS. HILLYER: Objection to form.           6   or not Teva continues to market, sell, distribute
      7              THE WITNESS: Yes. And FDA is              7   and produce prescription opioids throughout the
      8         aware of that information as well, and         8   country?
      9         that's why there's risk mitigation             9         A. I don't know which products Teva
     10         strategies put in place as well.              10   is actively marketing right now, especially
     11   BY MR. GASTEEL:                                     11   specific to opioids, and as well as whether or
     12         Q. And those risk mitigation                  12   not they're sold in Tennessee or dispensed in
     13   strategies have been in place for several years.    13   Tennessee.
     14   Right?                                              14         Q. Were you ever on an FDA advisory
     15         A. Yes.                                       15   committee regarding Opana ER?
     16         Q. And we've seen, at least as of             16         A. No.
     17   2017, the commissioner of the FDA, in statements    17         Q. Do you recall whether or not --
     18   that you've forwarded to your colleagues at Teva,   18   do you recall -- let me back up.
     19   is continuing to talk about the staggering human    19             Do you know what Opana ER is?
     20   and economic toll created by opioid abuse and       20         A. Yes.
     21   addiction. Right?                                   21         Q. What is it?
     22         A. Correct. But FDA still hasn't              22         A. Oxymorphone extended release.
     23   pulled those products off the market yet.           23         Q. And that was a branded product
     24         Q. And then Teva continues to                 24   that was manufactured by Endo Pharmaceuticals.


                                              Page 283                                                Page 284
      1   Right?                                               1   BY MR. GASTEEL:
      2         A. I believe so.                               2         Q. Yes.
      3         Q. And then there was a generic                3         A. Nothing stands out in my mind
      4   version of that product that Teva also produced.     4   about it.
      5   Right?                                               5              MR. GASTEEL: Mr. Tomsky, I
      6             MS. HILLYER: Objection to form.            6        believe that's all the questions I have
      7             THE WITNESS: I believe so.                 7         for you.
      8         Again, I'm not certain whether or not we       8              MS. HILLYER: I just have one
      9         manufactured it.                               9         follow-up.
     10   BY MR. GASTEEL:                                     10                  - - -
     11         Q. Do you recall anything                     11                EXAMINATION
     12   specifically about the reformulation of Opana ER    12                  - - -
     13   that included an abuse-deterrent property?          13   BY MS. HILLYER:
     14         A. Vaguely.                                   14         Q. Mr. Tomsky, when you referenced
     15         Q. You don't recall anything                  15   that you received emails from Mr. Buehler
     16   specifically about that?                            16   concerning citizen's petitions, and you mentioned
     17         A. No.                                        17   that you would receive them perhaps a couple of
     18         Q. Do you recall that, at some                18   times a month, were those concerning all
     19   point, Teva pulled an ANDA related to oxymorphone   19   products, all generics?
     20   ER tablets that was pending in front of the FDA     20         A. Yes. Anything that Teva had
     21   in and around 2017?                                 21   pending or approved.
     22             MS. HILLYER: Objection to form.           22              MS. HILLYER: Okay. I have no
     23             THE WITNESS: Pulled meaning               23         further questions.
     24         withdrew?                                     24              THE VIDEOGRAPHER: Okay. That


                                                                         71 (Pages 281 to 284)
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                                             Page 285                                                       Page 286
      1         concludes today's deposition. The time         1
                                                               2              CERTIFICATE
      2         is 3:30 p.m.
                                                               3
      3              (Witness excused.)                        4
      4              (Deposition concluded at                  5             I HEREBY CERTIFY that the witness
      5         approximately 3:30 p m.)                           was duly sworn by me and that the deposition is a
                                                               6   true record of the testimony given by the
      6
                                                                   witness.
      7                                                        7
      8                                                                      It was requested before
      9                                                        8   completion of the deposition that the witness,
                                                                   SCOTT D. TOMSKY, have the opportunity to read and
     10                                                        9   sign the deposition transcript.
     11                                                       10
     12                                                       11
                                                              12
     13                                                       13
     14                                                                __________________________________
     15                                                       14       ANN MARIE MITCHELL, a Federally
     16                                                                Approved Certified Realtime
                                                              15       Reporter, Registered Diplomate
     17                                                                Reporter, Registered Merit Reporter and
     18                                                       16       Notary Public
     19                                                       17
                                                              18
     20
                                                              19             (The foregoing certification of
     21                                                       20   this transcript does not apply to any
     22                                                       21   reproduction of the same by any means, unless
     23                                                       22   under the direct control and/or supervision of
                                                              23   the certifying reporter.)
     24                                                       24


                                             Page 287                                                       Page 288
      1           INSTRUCTIONS TO WITNESS                      1            - - - - - -
      2                                                                      ERRATA
      3             Please read your deposition over           2            - - - - - -
      4   carefully and make any necessary corrections.        3

      5   You should state the reason in the appropriate       4   PAGE LINE CHANGE

      6   space on the errata sheet for any corrections        5   ____ ____ _____________________________________
                                                               6    REASON: _____________________________________
      7   that are made.
                                                               7   ____ ____ _____________________________________
      8             After doing so, please sign the
                                                               8    REASON: _____________________________________
      9   errata sheet and date it.
                                                               9   ____ ____ _____________________________________
     10             You are signing same subject to
                                                              10    REASON: _____________________________________
     11   the changes you have noted on the errata sheet,
                                                              11   ____ ____ _____________________________________
     12   which will be attached to your deposition.
                                                              12    REASON: _____________________________________
     13             It is imperative that you return
                                                              13   ____ ____ _____________________________________
     14   the original errata sheet to the deposing           14    REASON: _____________________________________
     15   attorney within thirty (30) days of receipt of      15   ____ ____ _____________________________________
     16   the deposition transcript by you. If you fail to    16    REASON: _____________________________________
     17   do so, the deposition transcript may be deemed to   17   ____ ____ _____________________________________
     18   be accurate and may be used in court.               18    REASON: _____________________________________
     19                                                       19   ____ ____ _____________________________________
     20                                                       20    REASON: _____________________________________
     21                                                       21   ____ ____ _____________________________________
     22                                                       22    REASON: _____________________________________
     23                                                       23   ____ ____ _____________________________________
     24                                                       24    REASON: _____________________________________



                                                                           72 (Pages 285 to 288)
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      1
      2          ACKNOWLEDGMENT OF DEPONENT
      3
      4            I,_____________________, do
      5   hereby certify that I have read the foregoing
      6   pages, 1 - 289, and that the same is a correct
      7   transcription of the answers given by me to the
      8   questions therein propounded, except for the
      9   corrections or changes in form or substance, if
     10   any, noted in the attached Errata Sheet.
     11
     12
     13   ________________________________________________
     14   SCOTT D. TOMSKY                     DATE
     15
     16
     17   Subscribed and sworn
          to before me this
     18   _____ day of ______________, 20____.
     19   My commission expires:______________
     20
          ____________________________________
     21   Notary Public
     22
     23
     24




                                                                      73 (Page 289)
